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          EXHIBIT 1
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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
                                                X
  RESHMA ABELL,

                                 Plaintiff,                      Civ. Action No.
         -against-
                                                               VERIFIED
                                                               COMPLAINT

  PACIRA PHARMACEUTICALS, INC.,
  DAVE STACK, individually and in his
  capacity as Chief Executive Officer of
  PACIRA PHARMACEUTICALS, INC.,
  And RICH KAHR, PETER MURPHY,
  DENNIS McLOUGHLIN, PAUL
  CIAVOLELLA, GLENN REISER, JOYCE
  DAVIS, and MATT LEHMANN, in their
  capacities as employees of PACIRA
  PHARMACEUTICALS, INC.

                                Defendants.
                                                X

         COMES NOW Plaintiff Reshma Abell ("Abell" or "Plaintiff'), by and through her

  undersigned counsel, The Law Offices of Neal Brickman, P.C., located at 420 Lexington

  Avenue, Suite 2440, New York, New York, 10170, and as and for her complaint against

  Defendants, Pacira Pharmaceuticals, Inc. ("Pacira"), Dave Stack, individually and in his capacity

  as Chief Executive Officer of Pacira ("Stack"), and Rich Kahr ("Kahr"), Pete Murphy

  ("Murphy"), Dennis McLoughlin ("McLoughlin"), Paul Ciavolella ("Ciavolella"), Glenn Reiser

  ("Reiser"), Joyce Davis ("Davis"), and Matt Lehmann ("Lehmann," and, collectively,

  "Defendants"), in their capacities as employees of Pacira, states and alleges as follows:

                                  NATURE OF THE ACTION

         This is an action for damages arising from the hostile work environment that Plaintiff

  experienced at Pacira, Defendants' illegal discriminatory treatment of, retaliation against, and



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  termination of Plaintiff under the New Jersey Law Against Discrimination ("NJLAD," N.J.S.A.

  §§ 10:5-1 to 10:5-49), and the New Jersey Conscientious Employee Protection Act ("NJCEPA,"

  N.J.S.A. §§ 34:19-1 to 34:19-8), for which she seeks compensatory damages, punitive damages,

  the costs of this action, and reasonable attorneys' fees. The factual basis for Plaintiffs claims,

  recounted in detail herein, includes a long history of discriminatory and retaliatory acts based, at

  least in part, on her sex and national origin, which ultimately led to her termination, after

  internally reporting various financial irregularities to, among others, Kahr, Murphy, McLoughlin,

  Ciavolella, Reiser, Davis, and Lehmann.

          This action also arises out of, inter alia, Plaintiff's complaint under Section 922(a) of the

  Dodd Frank Wall Street Reform and Protection Act ("Dodd Frank," 15 U.S.C. § 78u-

  6(h)(1)(B)(i)) as a Whistleblower, filed September 14, 2018.

                                           JURISDICTION

          Jurisdiction over the federal claims is invoked pursuant to 28 U.S.C. § 1331, in that these

  claims arise under the laws of the United States; pursuant to Section 922 of the Dodd Frank Act,

  15 U.S.C. § 78u-6(h)(1)(B)(i)); pursuant to 28 U.S.C. § 1332, in that plaintiff and defendants are

  citizens of different states; and over the state law claims pursuant to the doctrine of pendent

  jurisdiction as codified in 28 U.S.C. § 1367.

                                                  VENUE

          This action is properly laid in the District of New Jersey pursuant to 28 U.S.C. §

  1391(b)(1), because Defendants' principal offices are located in this District, and (b)(2), because

  a substantial part of the events and omissions giving rise to the claims occurred in this judicial

  District.




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                                                PARTIES

          1.     Abell is an individual citizen of the United States with a primary residence in the

  State of New York and a former employee of Pacira Pharmaceuticals. Abell is a female of Indian

  descent.

          2.     Upon information and belief, at all times relevant hereto, defendant Pacira was

  and is a domestic corporation duly authorized to conduct business in the State of New Jersey and

  subject to the laws and statutes thereof.

         3.      Upon information and belief, at all times relevant hereto, defendant Stack was and

  is the Chief Executive Officer of Pacira. Stack qualifies as an "employer" for purposes of

  individual liability under the NJLAD and the NJCEPA because he participated directly in the

  discriminatory and/or retaliatory conduct at issue in this case, and by virtue of his ability to affect

  the terms and conditions of Abell's employment.

         4.      Upon information and belief, at all times relevant hereto, defendant Kahr was and

  is the Vice President of Human Resources at Pacira. Kahr reports directly to Stack. Kahr

  qualifies as an "employer" for purposes of individual liability under the NJLAD and the

  NJCEPA because he participated directly in the discriminatory and/or retaliatory conduct at issue

  in this case, and by virtue of his ability to affect the terms and conditions of Abell's employment.

         5.      Upon information and belief, at all times relevant hereto, defendant McLoughlin

  was Abell's supervisor, and reported directly to Stack, among others. McLoughlin qualifies as

  an "employer" for purposes of individual liability under the NJLAD and the NJCEPA because he

  participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

  virtue of his ability to affect the terms and conditions of Abell's employment.




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          6.     Upon information and belief, at all times relevant hereto, defendant Ciavolella

  was Abell's supervisor, and Pacira's Senior Director of Business Analytics, Market Research and

  Operations, who reported directly to Stack, among others. Ciavolella qualifies as an "employer"

  for purposes of individual liability under the NJLAD and the NJCEPA because he participated

  directly in the discriminatory and/or retaliatory conduct at issue in this case, and by virtue of his

  ability to affect the terms and conditions of Abell's employment.

          7.     Upon information and belief, at all times relevant hereto, defendant Reiser was

  Abell's supervisor, and reported directly to Stack, among others. Reiser qualifies as an

  "employer" for purposes of individual liability under the NJLAD and the NJCEPA because he

  participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

  virtue of his ability to affect the terms and conditions of Abell's employment.

          8.     Upon information and belief, defendant Davis was Pacira's Vice President of

  Strategic Alliance, and reported directly to Stack, among others. Davis qualifies as an

  "employer" for purposes of individual liability under the NJLAD and the NJCEPA because she

  participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

  virtue of her ability to affect the terms and conditions of Abell's employment.

         9.      Upon information and belief, defendant Matt Lehmann was Pacira's Senior Vice

  President of Commercial, and reported directly to Stack, among othera. Lehmann qualifies as an

  "employer" for purposes of individual liability under the NJLAD and the NJCEPA because he

  participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

  virtue of his ability to affect the terms and conditions of Abell's employment.




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                                    FACTUAL BACKGROUND

                       Abell's Employment at Pacira Pharmaceuticals, Inc.

         10.     Pacira Pharmaceuticals, Inc. (Pacira) is a specialty pharmaceutical company

  which makes a non-opiod analgesic for post-surgical pain control called Exparel.

         11.     From May, 2014 through January, 2017, Abell worked for Pacira as a Surgical

  Account Specialist. From January 2017 until March 14, 2018, Abell worked for Pacira as a

  Senior Surgical Account Specialist.

         12.     At Pacira, Abell's job responsibilities as a Senior Surgical Account Specialist

  included, but were not limited to, the following: successfully promoting Exparel at all major

  hospitals in the five boroughs of New York City and in Westchester County, New York; growing

  and increasing the profitability of the pharmaceutical territory; and training and providing case

  coverage to anesthesiologists and surgeons in area hospitals in, inter alia, orthopedic,

  cardiovascular, podiatric, obstetrics/ gynecology, general surgery, colorectal, urology, oncology,

  plastics, and bariatric surgery departments.

         13.     Abell's overall pay for this position was ultimately determined by Ciavolella,

  who, starting in 2014, made the decisions as to how and whether to cap Abell's — and other

  similarly situated employees' — incentive compensation.

         14.     Abell was known at Pacira as a standout go-getter who regularly grew sales: by

  $2,363,920 between May and December 2014; by $4,462,750 in 2015; by $3,777,038 in 2016;

  and by $3,778,523 in 2017. These statistics indicate that Abell outperformed similar and

  competing markets at twice the average growth, consistently and for four years in a row.




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         15.     In fact, Reiser and Murphy nicknamed Abell "Jordan," as in Michael Jordan, as of

  the end of 2016 — due to her unprecedented success as a senior representative in generating

  revenue, fostering relationships, and growing Pacira's book of business.

         15.     Abell was so successful as a Senior Surgical Account Specialist that Pacira

  informed her that she was in line for a new position, Director of Post-Op Pain Management, and

  rewarded her with additional work without a commensurate bump in title or salary.

         16.     From approximately February 2017 until March 14, 2018 termination, in addition

  to her Senior Surgical Account Specialist duties, Abell actually performed the "unofficial" role

  of Pacira's Director of Post-Op Pain Management. These duties included, but were not limited

  to, developing and executing a national post-operative pain management training program;

  initiating and developing industry partnerships and strategic alliances with other pharmaceutical

  companies; launching "Field Block" training for anesthesia and various surgical services nation-

  wide; and creating a new specialty representative department, including recruiting, creating

  compensation and business plans, and executing territory designs.

         17.     At Pacira, Abell was a dedicated, productive, and valuable employee who got

  along well with her colleagues and had no issues with her supervisor or others. She always

  received positive performance evaluations and was generally respected by her coworkers for her

  experience and tenacity.

           A Pervasive Culture of Sexual Discrimination in a Male-Dominated Office

         18.     Abell achieved these significant accomplishments, and consistently outperformed

  her peers, and met or exceeded her sales quotas despite an overtly hostile, male-dominated office

  where raunchy, sexually-based jokes and innuendo were the norm.




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         19.      It was business as usual for Abell to hear in a typical workday, in sum or

  substance, that the reason she was so successful was because she was "sleeping with her clients,"

  or "blowing someone," or words to that effect.

         20.      Abell performed her job so diligently that she won coveted positions in Pacira's

  Circle of Excellence and President's Club in 2015, 2016, and 2017 — yet the assumption was that

  she was only successful due to her sex, and her alleged willingness to exploit her sex, in

  obtaining new business.

         21.      In addition, from at least February 2017, Abell was expected to do the work of

  two separate jobs, without additional compensation or official change in title, because she was

  required to be an accommodating female who was first and foremost a "team player."

         22.      Abell was regularly the recipient of sexually charged comments, jokes, and

  innuendo — but she understood that she was not to go to Human Resources to complain about the

  sophomoric, inappropriate, and sexually demeaning commentary — because to do so would break

  some kind of industry `code' among her male co-workers.

               Abell is Promised a Promotion, and is Summarily Terminated Instead

         23.      Starting in February 2017, Abell developed and executed a company-wide pilot

  program for Post-Operative Pain Management, approved by Reiser and Murphy.

         24.      On or about August 22, 2017, Abell successfully presented this pilot program to

  Pacira's Alibaba team, a group which included, inter alia, Pacira's commercial upper and middle

  management, Chief Operating Officer, legal team, National Accounts department, and Medical

  Affairs department.




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         25.     Shortly thereafter, Abell met with Reiser and Murphy, and they agreed on a

  promotion and change of title for Abell from Senior Surgical Account Specialist to Director of

  Post-Operative Pain Management, with a concomitant raise — to be effective January 2, 2018.

         26.     Reiser and Murphy repeatedly assured Abell that all was "on track" for her

  promotion, both the change of title and the corresponding raise in pay. However, Abell was also

  told by Reiser and Murphy that Stack had to officially "sign off" on the promotion, although they

  had already obtained his verbal approval.

         27.     Abell had two meetings with Reiser regarding this promotion and title change in

  November and December of 2017. The assurances that Abell's promotion was a "sure thing"

  kept coming.

         28.     Abell tried, unsuccessfully, to meet with Murphy three separate times between

  January 2, 2018, and January 30, 2018, when there was no forthcoming announcement regarding

  her promotion. Murphy cancelled each time.

         29.     On January 31, 2018, Abell was finally able to meet with Murphy. Abell asked

  Murphy when he would announce her promotion, and Murphy responded, in sum and substance,

  that it would happen when Stack "signed off."

         30.     Abell then confirmed with Murphy that the promotion had already been verbally

  approved by Stack. Murphy then explained that that he still needed "official" approval.

         31.     Abell then requested that Murphy obtain the approval by February 2, 2018, and he

  responded that we would need to "catch Stack in the right mood" due to his "explosive" temper.

         32.     Abell then suggested that perhaps the promotion could be approved by February

  10, 2018, in time for Pacira's National Sales Meeting ("NSM") which was scheduled from

  February 11 to February 15, 2018 in Florida.



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          33.     At the conclusion of the January 31, 2018 meeting, Murphy instructed Abell to

   "wait for his call within the next two weeks" so that Abell could go to the corporate office and

   present to Stack "if and when" he was in "good mood."

          34.     Abell did not receive any calls from Murphy in that two week period.

          35.     On February 10, 2018, Abell reached out to Murphy and Reiser and asked them to

   meet her upon their arrival at the NSM on February 11, 2018. They accepted, and on February

   11, 2018, they met — Abell thought, to finalize the announcement for the Abell's director position

   so that she could begin interviewing some of the representatives who would take part in her pilot

   program while at the NSM.

          36.     Instead, Murphy told Abell he needed more time due to a FDA Advisory Meeting

   that was scheduled on February 15, 2018, because Stack was preoccupied with preparing for that

   meeting, and might not be in the "right mood" until after then.

        Abell Opts Out of Optional "Women's Leadership Meeting" and is Excoriated for
                            Attending "Men's" Golf Event Instead

          37.     As part of the NSM, Pacira had scheduled a "Women's Leadership Meeting"

   from 6pm to 9:30pm on February 13, 2018. This meeting was explicitly designated as

  "optional."

          38.     Abell knew about this event, and decided not to attend because there was another

   event scheduled at Top Golf at the same time which she preferred to attend.

          39.     Abell was aware that while the "Women's Leadership Meeting" was discussing

   otherwise valuable topics like female empowerment in the workplace and maintaining a work-

   life balance, all of Pacira's male managers and decisionmakers in attendance at the NSM would

  be at the Top Golf event. Abell recognized this event as a professional networking opportunity

  that she believed she should attend.


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          40.     Specifically, Abell had been tasked by Murphy and Reiser with recruiting four

   new representatives for her new department. In order to do that, Abell required one-on-one

   conversations with Pacira's four Regional Sales Directors, all of whom were to be present at the

   Top Golf event.

          41.     The Top Golf event was, for Abell, the perfect opportunity to make these personal

   connections and recruit the best representative for her new team.

          42.     In fact, as early as February 1, 2018, she had asked one of the schedulers of the

   event, Gio Vendemia ("Vendemia," Pacira's Vice President for the Midwestern Region), if she

   could attend the upcoming Top Golf event on February 13, 2018. Vendemia had replied in the

   affirmative.

          43.     Nevertheless, as she was preparing to leave for the Top Golf event with her male

   coworkers, another Regional Sales Director, Rob Rock ("Rock"), approached Abell, in a hostile

   and threatening manner, and said "you're not going." Rock then followed this pronouncement

   with "it's a guy thing," "you should have asked permission," and other sexist comments.

          44.     Abell responded by saying it was a company-sponsored event, and not a social

   event, and that she had already asked and received permission from Vendemia.

          45.     Ultimately, the conversation ended in a yelling match on both sides, leaving Abell

   visibly distraught. Upon information and belief, one of the several witnesses to this

   discriminatory and harassing exchange told Reiser in detail what had transpired moments before.

          46.     Reiser had been present at the TopGolf event, but had not witnessed the

   interaction between Abell and Rock.




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            47.   Also present was Pacira's Area Director West, Vaughn Schouten. Schouten was

   the first supervisor Abell approached after the incident, because he had authority over Rock and

   Vendemia.

            48.   Pacira employees Pat Nolan ("Nolan"), Ken Wolfe ("Wolfe"), Jim Macarelli

   ("Macarelli"), and Mike Corn ("Corn") witnessed the entire episode between Rock and

   Vendemia.

            49.   Each of the above witnesses individually reported the incident between Abell and

   Rock, and Rock's completely inappropriate and discriminatory behavior, to Reiser.

            50.   Reiser then left the immediate area to contact Kahr at Pacira's Human Resources

   department.

            51.   Wolfe, Macarelli, Nolan, and Corn then accompanied Abell back to their hotel.

            52.   Another of the witnesses, Nolan, then escorted Abell to her room.

            53.   Upon information and belief, Reiser and Murphy began an "investigation" into

   the events on the morning of February 14, 2018.

            54.   On February 21, 2018, Kahr called Abell as part of his investigation into the

   February 13, 2018 incident with Rock.

            55.   On March 6, 2018, Abell spoke to Murphy regarding her upcoming appearance

   with Rock at the Miami Breast Surgery conference. Murphy instructed Abell to "stay away from

   everyone" and not be in the Pacira booth at the same time as Rock. Abell responded that she was

   a professional, and that she and Rock used to be friends and would be fine working together.

            56.   On March 13, 2018, Abell was called by Kahr and Murphy. Abell was told that

   the investigation regarding Rock was "inconclusive," and there would be no disciplinary action

   taken.



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     Abell is Told There is a Completely Unrelated, and Bogus, Employee Investigation Into
                                   Her Behavior at the NSM

            57.   On the same phone call, Abell was also informed of a new and completely

   unrelated investigation into her behavior at the NSM.

            58.   Specifically, Kahr told Abell that "someone" complained that they saw Abell

  "look at her phone for thirty minutes" during one of the NSM sessions, and it was a "kama sutra"

   website.

            59.   Kahr asked if these vague allegations were true, and Abell said that yes, she did

   look at her phone, but for seconds rather than minutes. Abell then explained that she had

   received a text from one of her physician clients on her personal phone, and that the text in

   question was neither pornographic nor offensive.

            60.   Abell then offered to apologize to anyone she may have unintentionally offended,

  and told. Kahr and Murphy that such an incident would never happen again.

            61.   Abell further stated that was the last time she would open any texts or other items

  on her phone in front of her coworkers. Abell then described the "kama sutra" message that the

  physician had sent as related to her Indian culture, and offered to send it on to Kahr for his

  review.

            62.   Kahr responded, "I'd rather you didn't," and said he would "investigate" and get

  back to Abell in a few days.

            63.   The same day, a mere three hours later, Abell received a conference call invite for

  an 8am call on March 14, 2018.

            64.   Kahr and Murphy were both present for the March 14, 2018 conference call.

  Kahr informed Abell that "the final decision to terminate her was concluded by the executive

  team" because she "did not meet the core values of the company."


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           65.    Prior to this phone call, there were no warnings, discussions of a performance

   plan, probation or other steps taken. Abell was summarily terminated based on these vague and

   conclusory allegations — for alleged conduct that, had a man engaged in the same or similar

   behavior, would have gone completely unnoticed in Abell's workplace.

          66.     This termination was also, at least in part, in retaliation for Abell's repeated

   reporting of business irregularities at Pacira.

          Abell Noticed, and Reported Upon, Unlawful Business Irregularities at Pacira

          67.     Soon after her hire, Abell noticed that at Pacira, there was a typical practice of

   providing monetary disbursements in the form of "grants" to obtain business and facility

   approvals. Pacira would provide "grants" to potentially high-revenue-generating hospital

   accounts based on volume (not patient type) to get their product included in the hospital's

   formulary and/or to encourage unwilling surgeons and anesthesiologists to use their product.

          68.     These "grants" were approved by Davis, the Vice President of Strategic Alliance,

   based on anticipated or potential sales. These sales were then reported and declared as revenue.

          69.     Abell observed, on a regular basis, that these grant amounts did not appear to be

   reported or offset against the declared revenue from these sales.

          70.     In addition, there were a number of accounts designated as "White Space,"

   meaning that there were no Account Specialists or other Sales personnel dedicated to those

   accounts. These sales numbers were not reported or recorded in the daily sales reports.

          71.     When Abell repeatedly asked to see the White Space numbers on various

   accounts, she was informed by her supervisors that she was only allowed to view the sales

   numbers on her own accounts — even if she was asked to cover a White Space account.




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           72.     Specifically, Murphy told Abell that he would not share with, or otherwise

   disclose, these numbers to her.

           73.    Abell also became aware that Pacira regularly allows Medical Affairs ("MA")

   staff, whom are legally only allowed to provide clinical medical information outside of the sales

   context, to work as sales liaisons generating revenue.

           74.    For example, Pacira regularly allowed sales representatives to work with a MA

   liaison since at least 2012.

           75.    However, pharmaceutical companies are required to keep MA and sales separate

   to avoid any conflicts between medical information providers and sales representatives. Pacira

   regularly ignored this distinction and allowed these non-sales and supposedly neutral MA

   employees to sell their product from their non-commission-based roles. Abell complained to her

  supervisors, and others, that Pacira's MA department functions as a disguised sales operation.

          76.     Another irregularity Abell observed was that Pacira allowed its highly salaried,

  non-sales Marketing, National Accounts, Strategic Alliance (and MA) departments to directly

  sell to customers, and to work directly with the sales representatives in doing so. However, these

  non-sales departments are billed as Pacira's infottnative and clinical resource and support

  system. Pacira's operating budget makes it look as if these departments are all separate and

  discrete; in reality, Pacira allows their functions to co-mingle and overlap despite budgeting for

   each department separately.

          77.     Abell also noticed that throughout the tenure of her employment, Pacira allowed

  staff from the same highly salaried, non-sales departments listed in ¶65, supra, to participate in

  incentive programs reserved for incentive-paid sales employees whose compensation is based on

  sales numbers and performance objectives.



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           78.    For example, Pacira allowed a group of these employees to participate in sales

   department "Circle of Excellence" ("COE") incentive and awards trips. This provides an

   inherent conflict between the resource and support functions of these departments and the

   incentive-based sales model.

           79.    Abell brought this issue, which she saw as an ethical and compliance violation, to

   Murphy and Reiser. They told her, in sum and substance, that it was the executive office's

   decision and she should keep her mouth shut.

           80.    In addition, Abell also learned that the majority of Pacira's Executive Team and

   Board of Directors are close personal friends of its Chief Executive Officer, David Stack. This

   nepotism is an issue because it ensures that David Stack remains in his position, as the group

   owns a significant quantity of equity holdings in Pacira and are therefore disincentivized from

   taking any action that could lower the share price or value of those holdings.

          81.     This was another issue which Abell shared with various of Pacira's supervisors

   and officers — with Vice President of Sales (2012-2016) David Kaplan ("Kaplan") as early as

   2014; with Murphy and Reiser repeatedly in 2016, 2017, and early 2018; and as late as the last

   week of February, 2018, with Pacira Board Member Mark Kronenfeld, MD ("Kronenfeld").

          82.     Abell's understanding is that former Chief Operating Officer Scott Braunstein,

   resigned abruptly at the end of March, 2018, because he was not comfortable with, inter alia,

   Pacira's methods of computing revenue or generating sales figures.

          83.     Since at least 2014, Abell noticed that Pacira's stock share prices decreased

   significantly. When Pacira initially offered its stock, it billed Exparel as the next new

   blockbuster drug on the market and relied on paid and sponsored studies. However, once

   Exparel was released, it became clear to the public that the product's effectiveness was largely



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   dependent on the vascularity of the individual patient. However, Abell realized that Pacira was

   aware of this issue with Exparel prior to selling its stock, and failed to disclose it, thus initially

   artificially inflating the price of Pacira's stock.

           84.     Abell reported these irregularities, which she believed were securities law and/or

   ethical violations, at various times between at least May 2014 and her termination on March 14,

   2018, to the following individuals: Chief Financial Officer (2008-2017) and President (2015-

   2017) James Scibetta ("Scibetta"); Kronenfeld; Kaplan; Vice President of Sales (2016-2017)

   Tom Sluby ("Sluby"); Chief Compliance Officer (2016) Bob Weiland ("Weiland"); and her

   immediate supervisors during the course of her employment, Murphy, McLoughlin, Ciavolella,

   Tanya Markvicka ("Markvicka"), and Reiser.

           85.     Each time Abell made a report of these unlawful irregularities over the course of

   her employment, whether via email or in person, she was told, in sum and substance, `to mind

   her own business,' to focus on her work, or was simply unanswered. In other words, Abell's

   concerns were rebuffed and ignored — just like the misogynistic and sexually charged

   commentary of her coworkers and supervisors, throughout her tenure at Pacira.

           86.     When Abell was unjustifiably terminated on March 14, 2018, for allegedly

   engaging in conduct that did not meet Pacira's "core values," it was conveniently two weeks

   before the end of the first financial quarter — so that Abell was not entitled to her incentive or

   commission compensation for that quarter, stock awards, or stock options as an additional

   punishment for reporting the above irregularities.

          87.      Abell also left Pacira with no severance pay, or any other benefits or

   compensation.




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           88.    The circumstances of Abell's unjustified termination have made it effectively

   impossible for Abell to secure permanent full-time employment in her field.

           89.    Upon information and belief, Pacira has perpetuated a rumor, now generally

   known to other companies in her field, that Abell was terminated for sharing a sexually

   inappropriate website at a national sales meeting and engaging in unacceptable behavior and

   conduct inconsistent with Pacira's core values.

           90.    The damage this has done to Abell's reputation within her industry — in which she

   is an expert, with an otherwise unblemished record — will take years to rebuild, if, and when,

   Abell is able to secure another comparable position at another company.

                 Abell Files a Complaint with the SEC Office of the Whistleblower

           91.    In or about August 2018, Abell prepared to report these irregularities to the

   relevant authorities.

           92.    On September 14, 2018, Abell filed a complaint under Section 922(a) of Dodd

   Frank, 15 U.S.C. § 78u-6(h)(1)(B)(i) as a Whistleblower.

                         AS AND FOR A FIRST CAUSE OF ACTION
    (Sex Discrimination under New Jersey Law Against Discrimination ("NJLAD"), N.J.S.A.
                                    §§ 10:5-1 to 10:5-49)

          93.     Plaintiff repeats, reiterates and realleges each and every allegation set forth in

   paragraphs "1" through "92" with the same force and effect as if fully set forth herein at length.

          94.     Plaintiff was terminated from a hostile work environment where she was regularly

   and overtly discriminated against on the basis of her gender, female.

          95.     The primary basis for the termination of Plaintiff was her sex.

          96.     The NJLAD prohibits discrimination on the basis of sex.




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           97.     As a direct result of this discrimination, Plaintiff suffered injury and harm in an

   amount to be determined at trial, and requests a judgment in no event less than $1,000,000 in

   compensatory damages; the costs and disbursements of this action, including reasonable

   attorneys' fees; all relevant interest; and any such other relief to Plaintiff as this Court deems just

   and proper.

                       AS AND FOR A SECOND CAUSE OF ACTION
         (Sexual Harassment Hostile Work Environment under New Jersey Law Against
                   Discrimination ("NJLAD"), N.J.S.A. §§ 10:5-1 to 10:5-49)

           98.    Plaintiff repeats, reiterates and realleges each and every allegation set forth in

   paragraphs "1" through "97" with the same force and effect as if fully set forth herein at length.

           99.    The NJLAD prohibits sexual harassment and a hostile work environment.

           100.     A hostile work environment is a workplace so ridden with discriminatory

   intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the condition of

   the victim's employment and create an abusive work environment.

          101.    The environment at Pacira was such that a reasonable employee in Plaintiff's

   shoes would perceive it as hostile.

          102.      As a direct result of this hostile work environment, Plaintiff suffered injury and

   harm in an amount to be determined at trial, and requests a judgment in no event less than

   $1,000,000 in compensatory damages; the costs and disbursements of this action; all relevant

   interest; and any such other relief to Plaintiffs as this Court deems just and proper.

                        AS AND FOR A THIRD CAUSE OF ACTION
   (Retaliation under New Jersey Law Against Discrimination ("NJLAD"), N.J.S.A. §§ 10:5-1
                                        to 10:5-49)

          103.    Plaintiff repeats, reiterates and realleges each and every allegation set forth in

   paragraphs "1" through "102" with the same force and effect as if fully set forth herein at length.



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           104.     The NJLAD prohibits workplace discrimination, adverse employment decisions

   and disparate treatment in retaliation for the submission of a complaint alleging discrimination

   on the basis of gender.

           105.     Directly after Plaintiff complained of discrimination, and in retaliation therefor,

   Defendants ratified and condoned Plaintiff's the discriminatory and hostile behavior by failing

   and refusing to stop that behavior, or to intervene in any way, to protect Plaintiff.

           106.     Instead, Defendants ratified and condoned this discrimination and retaliation by

   terminating Plaintiff after crediting vague, conclusory, and ultimately pretextual allegations of

   conduct that Plaintiff purportedly did not meet Pacira's "core values."

           107.     Unjustifiably terminating Plaintiff was the ultimate adverse employment action.

           108.     There was no legitimate non-discriminatory basis for these adverse employment

   actions.

          109.      As a direct result of this improper retaliation, Plaintiff has suffered injury and         I

   harm in an amount to be determined at trial, and requests a judgment in no event less than

   $1,000,000 in compensatory damages; the costs and disbursements of this action, including

   reasonable attorneys' fees; all relevant interest; and any such other relief to Plaintiff as this Court

   deems just and proper.

                       AS AND FOR A FOURTH CAUSE OF ACTION
    (NJ Conscientious Employee Protection Act ("NJCEPA"), N.J.S.A. §§ 34:19-1 to 34:19-8)

          110.       Plaintiff repeats, reiterates and realleges each and every allegation set forth in

   paragraphs "1" through "109" with the same force and effect as if fully set forth herein at length.

          111.      The NJCEPA prohibits the retaliatory termination of employees who disclose, or

   object to, certain actions that the employees reasonably believe are either illegal or in violation of

   public policy.


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           112.   Plaintiff reasonably believed that Pacira was violating a law, rule or regulation

   promulgated pursuant to law, or a clear mandate of public policy.

           113.   Specifically, Pacira was violating 12 U.S.C. § 53 et seq., the Dodd Frank Wall

   Street Reform and Consumer Protection Act, and various other securities laws, by engaging in

   these various business irregularities.


           114.   Plaintiff performed a "whistle-blowing activity" by internally reporting her

   concerns to corporate officers Kahr, Kaplan, Weiland, Lehmann, and Murphy as well as her

   immediate supervisors during the course of her employment, McLoughlin, Ciavolella,

   Markvicka, and Reiser.

           115.   Plaintiff was then terminated in whole or in part for her whistle-blowing

   activities.
                                                                                                             1
           116.   Specifically, because Plaintiff continually made internal report of various business

   irregularities and Dodd Frank violations, she was silenced by being summarily terminated.
                                                                                                             1
           117.   Termination is an adverse employment action.

           118.   Plaintiff also performed a whistle-blowing activity by reporting to the SEC, in

   filing a complaint under Section 922(a) of Dodd Frank, 15 U.S.C. § 78u-6(h)(1)(B)(i), as a

   Whistleblower.

           119.   As a direct result of this adverse employment action after engaging in a protected

   activity, Plaintiff has suffered injury and harm in an amount to be determined at trial, and

   requests a judgment in no event less than $1,000,000 in compensatory damages; the costs and

   disbursements of this action, including reasonable attorneys' fees; all relevant interest; and any

   such other relief to Plaintiff as this Court deems just and proper.




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                           AS AND FOR A FIFTH CAUSE OF ACTION
      (Section § 922(a) of the Dodd Frank Wall Street Reform and Consumer Protection Act
                           ("Dodd Frank")), 15 U.S.C. § 78u-6(h)(1)(B)(i)

            120.    Plaintiff repeats, reiterates and realleges each and every allegation set forth in

   paragraphs "1" through "119" with the same force and effect as if fully set forth herein at length.

            121.   Under Dodd Frank, 15 U.S.C. § 78u-6(h)(1)(B)(i), it is unlawful for an employer

   to discharge or retaliate against an employee for engaging in protected whistleblowing activities

            122.   Plaintiff engaged in protected activity by internally reporting to corporate officers

   Kahr, Kaplan, Weiland, Lehmann, and Murphy as well as her immediate supervisors during the

   course of her employment, McLoughlin, Ciavolella, Markvicka, and Reiser.

            123.   Specifically, Plaintiff reported to the corporate officers of Pacira, and supervisors

   named in ¶96 supra, numerous allegations of unlawful activity under Dodd Frank. See ¶¶ 66-72

   supra.

            124.   Pacira had actual knowledge of Plaintiff's reporting to the individuals named

   above, and thus engaging in the protected activity

            125.   Pacira had already engaged in an adverse employment action by terminating

   Plaintiff, in whole or in part, in retaliation for her internal complaints, a protected activity.

            126.   This adverse employment action was a result of Plaintiff engaging in protected

   activity.

            127.   As a direct result of this adverse employment action after engaging in a protected

   activity, Plaintiff has suffered injury and harm in an amount to be determined at trial, and

   requests a judgment in no event less than $1,000,000 in compensatory damages; the costs and

   disbursements of this action, including reasonable attorneys' fees; all relevant interest; and any

   such other relief to Plaintiff as this Court deems just and proper.



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                                             JURY DEMAND

          128.     Plaintiff hereby demands a jury trial of all the facts and allegations set forth

   herein under Fed. R. Civ. P. 38(b)(1) and 38(c).



                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for the following relief:

          a.      actual, compensatory, and statutory damages in an amount to be determined at

                  trial;

          b.      punitive damages as allowed by law;

          c.      reasonable attorneys' fees as allowed by law;

          d.      an award of all costs;

          e.      any and all such further relief as this Court deems just and proper.




   Dated: New York     NEW York
          November         2018



                                                L
                                           Milena Pi          sally, Esq. (DNJ Bar ID: 013942012)
                                           Neal Brickman, Esq.
                                           The Law Offices of Neal Brickman, P.C.
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                                           New York, New York 10170
                                           (212) 986-6840



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                                            VERIFICATION

   State of New York
                               ss.:
   County of New York }

          Reshma Abell, being duly sworn, deposes and says:

          I am the Plaintiff herein. I have read the foregoing Complaint, and know the contents

   thereof. The same are true to my own knowledge, except as to matters alleged on information

   and belief, and as to those matters, your affiant believes them to be true.




                                                                 Reshma Abell

   Sworn to before me this
    nth day of November, 2018.


                                )       1
   NOTARY PUBLIC

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           Qualified in Dutchess County
         Commission Expires July 20, 2021




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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


       RESHMA ABELL,

             Plaintiffs,

                     v.                                             Civil Action No. 18-16509

       PACIRA PHARMACEUTICALS, INC.,                                          ORDER
       DAVE STACK, individually and in his
       capacity as Chief Executive Officer of
       PACIRA PHARMACEUTICALS, INC., and
       RICH KAHR, PETER MURPHY, DENNIS
       McLOUGHLIN, PAUL CIAVOLELLA,
       GELNN REISER, JOYCE DAVIS and
       MATT LEHMANN, in their capacities as
       employees of PACIRA
       PHARMACEUTICALS, INC.,
              Defendants.


            This matter having come before the Court on Defendant Pacira Pharmaceuticals, Inc.’s

   (“Pacira”) and Dave Stack’s, Rick Kahr’s, Peter Murphy’s, Dennis McLoughlin’s, Paul

   Ciavolella’s, Glenn Reiser’s, Joyce Davis’s, and Matt Lehmann’s (collectively, “Individual

   Defendants” and with Pacira, “Defendants”), Motion to Dismiss,1 ECF No. 26;

            and it appearing that Plaintiff Reshma Abell (“Abell” or “Plaintiff”) opposes the motion,

   ECF No. 32;




   1
     In considering a motion to dismiss under Rule 12(b)(6), the Court accepts as true all of the facts
   in the complaint and draws all reasonable inferences in favor of the nonmoving party. Phillips v.
   County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008). The facts alleged must be “more than
   mere labels and conclusions, and a formulaic recitation of the elements of a cause of action will
   not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A complaint will survive a motion
   to dismiss if it provides a sufficient factual basis such that it states a facially plausible claim for
   relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

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          and it appearing that Plaintiff has alleged federal jurisdiction based on diversity of

   citizenship pursuant to 28 U.S.C. § 1332;2

          and it appearing that Plaintiff alleges discrimination on the basis of sex (Count 1), a hostile

   work environment (Count 2), and retaliation (Count 3), all in violation of the New Jersey Law

   Against Discrimination (“LAD”), N.J.S.A. § 10:5-1 et seq., and one count of retaliatory discharge

   in violation of the New Jersey Conscientious Employee Protection Act (“NJCEPA”), N.J.S.A.

   § 34:19-1 et seq., (Count 4), both against Pacira and the Individual Defendants;3

          and it appearing that Defendants seek to dismiss Count 1 (sex discrimination) on the

   grounds that Plaintiff admits that she was dismissed for a legitimate non-discriminatory reason,

   for “viewing sexually explicit material at a work conference,” Def. Mem. at 13, ECF No. 26.1;

          and it appearing that to withstand a motion to dismiss under the LAD, a plaintiff must

   allege sufficient factual allegations to support the prima facie elements of the claim, Connelly v.

   Lane Const. Corp., 809 F.3d 780, 789 (3d Cir. 2016); Schurr v. Resorts Int'l Hotel, Inc., 196 F.3d

   486, 498 (3d Cir. 1999);

          and it appearing that to state a prima facie case of sex discrimination under the LAD, “a

   plaintiff must first establish that: (1) she is a member of a protected class; (2) she was qualified for

   the position in question; (3) she suffered an adverse employment action; and (4) that adverse

   employment action gives rise to an inference of unlawful discrimination,” Tourtellotte v. Eli Lilly

   & Co., 636 F. App’x 831, 842 (3d Cir. 2016);




   2
     While Plaintiff has pled her citizenship and that of Pacira, she has not pled the citizenship of the
   Individual Defendants. She is directed to advise the Court of such citizenship by letter within 14
   days.
   3
    Plaintiff has dismissed Count 5, which alleges violations of the Dodd-Frank Wall Street Reform
   and Consumer Protection Act. Pl. Mem. at 2 n. 1, ECF No. 32.
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          and it appearing that to state a claim for a hostile work environment under the LAD, “a

   plaintiff must show: (1) she suffered discrimination based on a protected class (e.g., gender); (2)

   the discrimination was severe or pervasive; (3) the discrimination detrimentally affected her; (4)

   the discrimination would detrimentally affect a reasonable person in like circumstances,” Reynolds

   v. Jersey City Dep’t of Pub. Works, 2019 WL 117976, at *5 (D.N.J. Jan. 4, 2019);

          and it appearing that in her Complaint, Plaintiff does not allege that she was terminated for

   viewing sexually explicit materials at a work conference;

          and it appearing that Plaintiff has sufficiently alleged sex discrimination in Count 1 against

   Pacira insofar as she alleged that she belongs to a protected class (female), Compl. ¶ 1, that she

   was qualified for her position, id. ¶¶ 14-17, that she suffered an adverse employment action, (she

   was terminated), id. ¶¶ 64-65, and that the adverse action occurred under circumstances that could

   give rise to an inference of intentional discrimination, particularly the events surrounding the

   National Sales Meeting as described in her Complaint, id. ¶¶ 37-56;

          and it appearing that Plaintiff has sufficiently alleged a hostile work environment against

   Pacira, insofar as she alleged that she suffered discrimination based on her gender, that the

   discrimination was severe and pervasive, in that she would hear sexually demeaning commentary

   in a “typical workday,” id. ¶ 19, and that she “was regularly the recipient of sexually charged jokes,

   commentary and innuendo,” id. ¶ 22, and that the discrimination detrimentally affected her as she

   was terminated on the basis of her gender, id. ¶¶ 64-65;

          and it appearing that the Individual Defendants seek dismissal of the claims asserted against

   them in Counts 1 through 4;

          and it appearing that to state a prima facie case of discrimination against individual

   defendants under the LAD, a plaintiff must plead sufficient facts to support that “‘(1) the party

   whom the defendant aids must perform a wrongful act that causes an injury; (2) the defendant must
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   be generally aware of his role as part of an overall illegal or tortious activity at the time that he

   provides the assistance; [and] (3) the defendant must knowingly and substantially assist the

   principal violation,’” Tarr v. Ciasulli, 181 N.J. 70, 84, (2004) (quoting Hurley v. Atl. City Police

   Dep’t, 174 F.3d 95, 127 (3d Cir. 1999));4

           and it appearing that the same standard applies to determine individual liability in a hostile

   work environment claim, Reynolds, 2019 WL 117976, at *5;

           and it appearing that under the LAD, “a harassing supervisor [may] be [held] individually

   liable for aiding and abetting the actionable conduct of his employer, when the challenged conduct

   is failing to stop the supervisor’s own harassment,” Hurley, 174 F.3d at 126;

           and it appearing that Plaintiff has stated a claim under the LAD against Individual

   Defendants Kahr, Murphy, and Reiser, because she has alleged that each of these defendants was

   her supervisor, each was aware of their role in Pacira’s cursory investigation into an altercation

   between Plaintiff and a male employee at the National Sales Meeting, and that each substantially

   assisted the principal violation by actually participating in it;

           and it appearing that because Plaintiff has not alleged that Stack, McLaughlin, Ciavolella,

   Davis or Lehmann had any involvement in discriminating against Plaintiff on the basis of her sex,

   her claims under Count 1 as to these defendants are dismissed, without prejudice;

           and it appearing that Plaintiff has not sufficiently alleged that any of the Individual

   Defendants aided and abetted the alleged hostile work environment and the claims against them in

   Count 2 are therefore dismissed, without prejudice;



   4
    Courts assess five factors in determining whether an employee “substantially assisted” a violation
   of the LAD: “(1) the nature of the act encouraged, (2) the amount of assistance given by the
   supervisor, (3) whether the supervisor was present at the time of the asserted harassment, (4) the
   supervisor's relations to the others, and (5) the state of mind of the supervisor.” Tarr, 181 N.J. at
   84 (quoting Restatement (Second) of Torts § 876(b) comment d).

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           and it appearing that Defendants next argue that Plaintiff has failed to state a claim for

   retaliation under the LAD against the Individual Defendants, Def. Mem. at 22;5

           and it appearing that to “establish a prima facie case of discriminatory retaliation, plaintiffs

   must demonstrate that: (1) they engaged in a protected activity known by the employer; (2)

   thereafter their employer unlawfully retaliated against them; and (3) their participation in the

   protected activity caused the retaliation,” Longo v. Purdue Pharma, L.P., 2014 WL 2800817, at *2

   (D.N.J. June 19, 2014) (quoting Craig v. Suburban Cablevision, Inc., 140 N.J. 623, 629–30

   (1995));

           and it appearing that Plaintiff has alleged that she protested her exclusion from an event at

   the National Sales Meeting on account of her sex, Compl. ¶¶ 43-45, that other witnesses to that

   incident reported it to Reiser, id. ¶¶ 48-49, and that Reiser, Murphy and Kahr investigated the

   incident, id. ¶¶ 50, 55-56, and that Murphy and Kahr later called Plaintiff to inform her that not

   only would no action be taken against other Pacira employees arising from the National Sales

   Meeting, id., but that Plaintiff would be terminated, and thus she has stated a claim for retaliation

   in violation of the LAD against Pacira, and has further stated a claim for individual liability as

   against Reiser, Murphy and Kahr, as she has alleged that these individuals assisted the primary

   violation, were aware of their role in doing so, and knowingly and substantially assisted the

   violation by participating in it;

           and it appearing that because Plaintiff has not alleged any facts that McLaughlin,

   Ciavolella, Davis or Lehmannn substantially participated in her termination in any way, she has

   failed to allege a claim for retaliation against them;



   5
    Defendants do not independently seek dismissal of the LAD retaliation claim against Pacira
   beyond their argument that Plaintiff’s Complaint pled that she was terminated for a legitimate
   non-discriminatory reason, which the Court has already rejected, supra.

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          and it appearing that although Plaintiff has alleged that Stack was a member of the

   executive team that approved Plaintiff’s termination, Plaintiff has not alleged that Stack was aware

   of his role in the retaliatory conduct and therefore Count 3 is also dismissed as to him;

          and it appearing that the Individual Defendants seek dismissal of Count 4 because Plaintiff

   failed to allege that they participated in an adverse employment action, Def. Mem. at 24-27;

          and it appearing that to state a claim under NJCEPA, a plaintiff must allege (1) that she

   reasonably believed that her employer was violating either a law, rule or regulation promulgated

   pursuant to law, or a clear mandate of public policy; (2) that she performed a whistle blowing

   activity; (3) that an adverse employment action was taken against the plaintiff; (4) and that a causal

   connection exists between the whistle blowing activity and the adverse employment action,

   Tonkinson v. Byrd, 2018 WL 1919829, at *4 (D.N.J. Apr. 24, 2018);

          and it appearing that to state a claim for individual liability under NJCEPA, a Plaintiff must

   plead that defendants were individually involved in the conduct amounting to a violation, Michel

   v. Mainland Reg’l Sch. Dist., 2009 WL 2391293, at *3 (D.N.J. July 30, 2009), but at the pleading

   stage a plaintiff may allege that a group of defendants were involved in a decision to terminate the

   plaintiff, and that discovery will determine how each defendant was involved, Tonkinson, 2018

   WL 1919829, at *4;

          and it appearing that Plaintiff has alleged that she reasonably believed her employer was

   violating regulations governing revenue sharing between sales and medical employees, Compl. ¶¶

   73-79, revenue recognition rules, id. ¶¶ 67-72, and securities laws, id. ¶¶ 81-83, that she reported

   these violations, id. ¶¶ 84-85, and that she was terminated following her reports, id. ¶¶ 64-65, she

   has stated a claim under NJCEPA against Pacira;




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          and it appearing that Plaintiff has alleged she reported various allegedly unlawful conduct

   to Murphy, Reiser, McLoughlin, and Ciavolella prior to her termination, and therefore, at this

   stage, has stated a claim against them individually for violations of NJCEPA;6

          and it appearing that while Plaintiff has further alleged that the final decision to terminate

   her employment was made by the “executive team,” id. ¶ 64, there is no allegation that Stack was

   involved in the decision to terminate her, and Plaintiff therefore has not plausibly alleged that he

   is individually liable under NJCEPA;

          and it appearing that Plaintiff’s only allegations regarding Davis and Lehman are that they

   reported to Stack, id. ¶¶ 8-9, and that Davis was allegedly involved in unlawful conduct that

   Plaintiff reported, id. ¶ 68, but because she has not alleged that they were in any way involved in

   her termination, she has failed to state a claim under NJCEPA against these defendants;

          IT IS on this 31st day of July, 2019,

          ORDERED that, Defendants Motion to Dismiss is DENIED on all counts as against

   Pacira, but is GRANTED as to Count 1 against Stack, McLaughlin, Ciavolella, Davis and

   Lehmann, and further GRANTED as to Count 2 against all Individual Defendants, and further




   6
     The text of NJCEPA precludes Plaintiff from asserting both an NJCEPA claim and a LAD
   retaliation claim, if the two claims “require[] the same proofs.” Estate of Oliva ex rel. McHugh v.
   New Jersey, 604 F.3d 788, 803 (3d Cir. 2010); see also N.J.S.A. § 34:19-8. This provision does
   not prevent Plaintiff from asserting both LAD retaliation claims and NJCEPA claims here because
   she pleads the two differently: her LAD retaliation claim is based on her reporting of the
   discriminatory treatment at the National Sales Meeting, while her NJCEPA claim is based on her
   numerous other reports of potentially unlawful business practices. Compare Compl. ¶¶ 104-08
   (LAD retaliation claim based on reporting of discriminatory treatment at National Sales Meeting)
   with id. ¶¶ 110-15 (NJCEPA claim based on Plaintiff’s reporting of various other alleged business
   irregularities).
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   GRANTED as to Count 3 against Stack, McLaughlin, Ciavolella, Davis and Lehmann, and further

   GRANTED as to Count 4 against Stack, Davis and Lehmann.

                                                   /s/ Madeline Cox Arleo           .




                                                   Hon. Madeline Cox Arleo
                                                   UNITED STATES DISTRICT JUDGE




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          EXHIBIT 3
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   ATTORNEYS FOR DEFENDANTS

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

    RESHMA ABELL,                                     :
                                                      :   Civil Action No.:
                           Plaintiff,                 :   2:18-cv-16509-MCA-LDW
                                                      :
                           v.                         :
                                                      :
    PACIRA PHARMACEUTICALS, INC.,                     :
    DAVE STACK, individually and in his               :   STIPULATION OF VOLUNTARY
    capacity as Chief Executive Officer of            :   DISMISSAL PURSUANT TO F.R.C.P.
    PACIRA PHARMACEUTICALS, INC.,                     :   41(a)(1)(A)(ii)
    and RICH KAHR, PETER MURPHY,                      :
    DENNIS       McLOUGHLIN,        PAUL              :
    CIAVOLELLA, GLENN REISER, JOYCE                   :
    DAVIS AND MATT LEHMANN, in their                  :
    capacities as employees of PACIRA                 :
    PHARMACEUTICALS, INC.,                            :
                                                      :
                           Defendants.                :


                  IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff

   Reshma Abell and Defendants Pacira Pharmaceuticals, Inc., Rich Kahr, Peter Murphy, Dennis

   McLoughlin, and Paul Ciavolella, through their undersigned counsel who are authorized to enter

   this stipulation, that pursuant to Rule 41 of the Federal Rules of Civil Procedure, that this action

   and all claims asserted against individual Defendants Dennis McLoughlin and Paul Ciavolella, are

   hereby dismissed in their entirety, with prejudice, and without costs or attorneys’ fees to any party.
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    The GrayBar Building                         766 Shrewsbury Avenue, Suite 101
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    New York, New York 10170                     Attorneys for Defendants
    Attorneys for Plaintiff
                                                 /s/ James J. Panzini
    /s/ Jason A. Stewart                         James J. Panzini, Esq.
    Jason A. Stewart, Esq.                       Pooja Bhutani, Esq.
    Attorneys for Plaintiff

                                                 Dated: May 6, 2021
    Dated: May 6, 2021
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          EXHIBIT 4
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                                                 Page 54                                                   Page 56
 1     to what the target range and position, I am          1         A      HR Vice President.
 2     pretty sure.                                         2         Q      What are the duties and
 3           Q      So that would be information            3   responsibilities of the HR Vice President?
 4     that would be conveyed to, for example, the          4         A      Basically to lead the HR
 5     recruiters?                                          5   strategy for the company, to lead the team of HR
 6           A      Correct.                                6   professionals that we have on the team. And to
 7           Q      Were you involved in the                7   ensure that, you know, we support the business
 8     interview process for Reshma Abell?                  8   strategy, that HR is aligned with the business
 9           A      No.                                     9   strategy.
10           Q      When was Reshma Abell hired?           10         Q      How many HR professionals are a
11           A      I am not 100 percent certain           11   member of the HR Department?
12     about that.                                         12         A      As of today, 12.
13           Q      Do you know who was involved in        13         Q      And back in the years between
14     the hiring process that hired Reshma Abell?         14   2014 and 2018, was it approximately the same?
15           A      Not 100 percent about that             15         A      No, it's gotten -- as our
16     either. My guess is on the HR side it probably      16   business has grown, it's gotten larger. When I
17     would have been a recruiter at HR and probably      17   joined, it was roughly six. So, yeah, it's -- we
18     the HR Business Partner that was with Pacira at     18   have almost doubled in size, we have doubled in
19     the time.                                           19   size now.
20           Q      Is an HR Business Partner, is          20         Q      In addition to providing
21     that a role within the HR Department?               21   leadership in terms of HR strategy, as HR Vice
22           A      It is.                                 22   President, do you have any other duties and
23           Q      And back in 2014, who would have       23   responsibilities?
24     been the HR Business Partner?                       24         A      Well, I think it all kind of for
25           A      Her name was Leslie Hyman.             25   me trails back to that. I mean at the end of the
                                                 Page 55                                                   Page 57
 1          Q       Does Leslie Hyman remain                1   day my primary responsibility is to ensure we are
 2     employed with Pacira?                                2   putting HR strategies in place to help the
 3          A       No.                                     3   company succeed and meet the growth targets for
 4          Q       When did her employment come to         4   the organization. Beyond that everything is
 5     an end?                                              5   secondary.
 6          A       I am not -- off the top of my           6         Q      As part of your role as HR Vice
 7     head, can't confirm the specific date, it would      7   President, do you from time to time become
 8     have been probably in the 2017 timeframe.            8   involved in the day-to-day affairs of the HR
 9          Q       Between 2014 and 2017, did              9   Department?
10     Leslie Hyman hold the same title of HR Business     10         A      Hopefully so but, you know, I
11     Partner?                                            11   try not to get bogged down in the details but I
12          A       I joined the company in some           12   don't think I would be doing my job if I wasn't
13     stage of 2014. Prior to when I got there, they      13   pretty much in the loop in terms of some of the
14     were called HR Managers or HR Directors,            14   key things going on in the company, yeah.
15     depending on which job you are talking about and    15         Q      So what would be some of the
16     put a new organization design in place of which     16   duties and tasks that you would undertake in that
17     those same -- those same jobs are referred to now   17   capacity?
18     as HR Business Partners.                            18         A      I mean any of the folks working
19          Q       So not including the time prior        19   for me right now, whether they are HR Business
20     to your employment at Pacira, but from then         20   Partners or center of excellence leaders, any of
21     forward, did Leslie Hyman maintain the same title   21   the things going on in their area would be things
22     as HR Business Partner?                             22   that would be things that I am probably involved
23          A       Correct.                               23   in, and, you know, have some say in.
24          Q       Mr. Kahr, your role within the         24         Q      So are you at times involved in
25     HR Department is what?                              25   the hiring process?




                                                                                    15 (Pages 54 to 57)
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                                                Page 58                                                  Page 60
 1          A       At times, yeah, not in every            1   whatever.
 2     case, but in many cases, yes.                        2         Q     So earlier you told us about a
 3          Q       And in the event where there is         3   review process whereby compensation
 4     complaints, are you at times involved in the         4   recommendations were made and promotions,
 5     investigatory process?                               5   recommendations were made and that's done on an
 6          A       Same answer, not in every case,         6   annual basis with a roll up process. Correct?
 7     but in many cases, yes.                              7         A     Correct.
 8          Q       And where there are adverse             8         Q     And then would it be changes or
 9     employment actions taken against an employee, are    9   adjustments that are made outside of that process
10     you involved at times in those circumstances?       10   would be considered off cycle adjustments?
11          A       At times.                              11         A     Correct.
12                MR. PANZINI: Object to form.             12         Q     What is the process by which
13          Q       At times where there are               13   Pacira goes into developing a new job description
14     corrective actions taken against an employee, are   14   or new role within the company?
15     you at times involved in that process?              15         A     Typically it would start with
16          A       Same answer, at times.                 16   the immediate supervisor or manager, you know, if
17          Q       And has that been the same since       17   they want to advocate to fill a new position,
18     you were first employed in 2014 to present?         18   they would, you know, fill out a job description
19          A       Yes.                                   19   and submit it through the review process for
20          Q       And what role, if any as HR Vice       20   approval with their immediate manager and
21     President do you have with respect to employee      21   functional leadership and ultimately it goes into
22     promotions?                                         22   a review process that, you know, goes into
23          A       As part of our year end                23   headquarters but that's how it normally is
24     compensation process, all of our managers are       24   initiated.
25     asked to go ahead and make recommendations around   25         Q     Is that ultimately signed off
                                                Page 59                                                  Page 61
 1     potential promotions. Those get captured just        1   upon by the CEO of the company?
 2     like the compensation recommendations, as part of    2         A      As a matter of fact, he does
 3     that whole process, they get captured in the         3   review all open positions, whether they are
 4     tool, the compensation tool, ultimately go           4   replacements or new positions, ultimately get
 5     through the same level of approvals and roll up      5   captured on a weekly basis and reviewed with him.
 6     to the final level of approval which would be,       6   So yes, in our case, we are a smaller
 7     you know, a combination of the executive team        7   organization, he does have final sign off on
 8     leader for that area, myself and the CEO. So I       8   filling any open positions.
 9     would see an overall summary of promotions at the    9         Q      When you say final sign off, is
10     end of the process.                                 10   that mean upon his sign off, there is no further
11           Q       You used the phrase earlier an        11   sign offs that are required?
12     off cycle adjustment and I just want to be clear,   12         A      No.
13     what did you mean by an off cycle adjustment with   13         Q      Does Pacira maintain a process
14     respect to compensation?                            14   by which they set forth development plans for
15           A       I mean as moves happen during         15   their employees?
16     the year, if somebody moves from one area to        16         A      Development plans?
17     another, if there is a promotion as a result of     17         Q      Yes.
18     somebody taking an open position, that would be     18         A      Yes.
19     what I would refer to as an off cycle. It           19         Q      And what is the process with
20     wouldn't -- most promotions are managed at year     20   respect to development plans?
21     end but there are those odd cases where during      21         A      Well, it's as simple as part of
22     the year somebody moves to a higher level           22   the performance review process, you know, people
23     position and they get promoted accordingly or,      23   pull their objectives together, they get assessed
24     you know, based on their performance, you know,     24   against those objectives and then at year end,
25     it's deemed that an adjustment should be made for   25   based on the outcomes from that performance




                                                                                   16 (Pages 58 to 61)
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                                                Page 166                                                 Page 168
 1     of John Park where there was a reported              1   evening that there was an issue.
 2     occurrence at the national sales meeting, did the    2         Q      Were you made aware the evening
 3     HR representative that was present participate in    3   that the issue occurred?
 4     any fact finding concerning any complaints made      4         A      Yes.
 5     at that meeting?                                     5         Q      And you were first made aware by
 6           A     No, I handled that myself.               6   Leslie?
 7           Q     And what about with respect to           7         A      Yes.
 8     the complaints that arose out of the February        8         Q      Were you made aware by email or
 9     2018 national sales meeting, was there any -- HR     9   telephone or something else?
10     representatives other than yourself involved in     10         A      Both.
11     the investigation or fact finding process?          11         Q      After you were made aware by
12           A     No.                                     12   Leslie about what occurred, were you also
13           Q     Did there come a point in time          13   informed by anybody else?
14     that you were made aware of an -- of a certain      14         A      Well, I asked Leslie to have
15     series of events that transpired at the national    15   Pete and Glen call me to provide me with more
16     sales meeting in February of 2018?                  16   specifics on the conflict.
17                MR. PANZINI: Object to form.             17         Q      Did that call take place that
18     Go ahead.                                           18   same evening?
19           A     Yes.                                    19         A      No, I mean that I think happened
20           Q     And how were you first made             20   the following morning.
21     aware of the occurrences at the national -- at      21         Q      What did you learn during that
22     the 2018 national sales meeting?                    22   call on the following morning?
23           A     Actually I initially heard it           23         A      Simply that Rob and Reshma
24     from Leslie who told me that a number of the        24   reportedly had a run in between each other that
25     senior leaders had come to her and voiced           25   reportedly started at the hotel when Rob and
                                                Page 167                                                 Page 169
 1     concerns around an issue down there.                 1   members of his team were going to go over to an
 2           Q      And what was it that Leslie told        2   event that they had planned at Top Golf, that
 3     you?                                                 3   there was an ensuing conflict between the two of
 4           A      She told me that there was an           4   them at Top Golf and that there was further
 5     inappropriate conflict between Reshma and Rob        5   issues upon return to the hotel.
 6     Rock.                                                6         Q       At that point did you provide
 7           Q      Did she provide you any details         7   either Pete or Glen with any instructions?
 8     concerning that conflict?                            8         A       I asked them that, you know, if
 9           A      She -- she told me that that was        9   I were to look into this, and we agreed that I
10     reported to her by both Glen Riser and Pete. And    10   was the right person to do that since Leslie was
11     that, you know, there had been reportedly some      11   there and we needed somebody to do -- given the
12     conflict or confrontation between the two of them   12   fact that it involved a Region Business Director
13     at the meeting, beyond that she didn't know much    13   or somebody more senior, I asked them to provide
14     more than that at the time.                         14   me any facts or witnesses that could help, you
15           Q      When in time was that report           15   know, do an orderly investigation into what
16     made by Leslie to you?                              16   happened and I think they, at least Glen turned
17           A      Well, I don't remember exactly         17   around and maybe sent me an email with some
18     without reviewing my records, I would say that it   18   people that he thought were present in all three
19     was -- I think I heard about it on Monday night     19   of those situations, that either he had witnessed
20     and the meeting starts on I think Sunday night.     20   himself or heard from other people but it was a
21     So it was literally a day into the meeting when     21   list of, you know, other sales resources and some
22     something happened. I think, you know, the          22   other managers.
23     events were on a Monday night, if I'm not           23         Q       Did you ask Pete or Glen to have
24     mistaken, could be wrong, it could be Tuesday but   24   any conversations with anybody at the national
25     I think it was Monday and I was made aware that     25   sales meeting concerning what transpired between




                                                                                43 (Pages 166 to 169)
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                                              Page 190                                                  Page 192
 1     would have been in the position to confirm to me     1   standpoint in that.
 2     was there an issue between the two of them and if    2        Q       Were there any issues from Rob
 3     so, what did they see and what did they hear.        3   Rock's standpoint in Reshma doing that?
 4          Q       Was part of your investigation          4        A       No, I think Rob's primary
 5     looking into whether or not Reshma's gender          5   concern was, again, I am paraphrasing, she
 6     played any part in the conflict between Rob and      6   crashed his meeting with his guys when she wasn't
 7     Reshma?                                              7   invited.
 8          A       No.                                     8        Q       And none of the women from Rob
 9          Q       You didn't look into that at            9   Rock's team was present at the Top Golf event.
10     all?                                                10   Correct?
11          A       What was -- I don't understand         11        A       I don't believe so but I'm not
12     the question.                                       12   100 percent certain, I don't believe there was
13          Q       So I'll ask it a little bit            13   any other women there but I'm not 100 percent
14     differently.                                        14   certain of that.
15                As part of your investigation,           15        Q       When you say it was Rob's event
16     was there any focus paid on whether or not Rob      16   with Rob's guys, are there certain individuals
17     Rock's action and comments towards Reshma were in   17   you are referring to as Rob's guys?
18     anyway motivated by the fact that Reshma was a      18        A       His team.
19     woman?                                              19        Q       The males on his team?
20          A       You know, during my                    20        A       Yeah, because the women were all
21     investigation, first of all, I didn't get that      21   in the women's event.
22     sense from talking to Reshma that that was the      22        Q       And the -- back in February of
23     basis for her complaint against him, it was his     23   2018 Rob Rock is a Regional Sales Director.
24     inappropriate behavior and how he talked to her     24   Correct?
25     and how he projected to her in front of other       25        A       Correct.
                                              Page 191                                                  Page 193
 1     people. That's what I got from Reshma, I didn't      1         Q       Regional Business Director?
 2     get that he was in anyway harassing her based on     2         A       Yes.
 3     the fact she was a woman.                            3         Q       And he's in the southeast
 4           Q      What was it that you understood         4   Florida region. Correct?
 5     from Reshma that Rob's words were conveying, what    5         A       Correct.
 6     were his words and actions conveying?                6         Q       Do you know how many Surgical
 7           A      He was not professional. I mean         7   Account Specialists were members of his team?
 8     I am -- I am summarizing the take away from what     8         A       I don't.
 9     she told me, basically said that he was over the     9         Q       Do you know if the -- if the
10     top, animated, unprofessional, and, you know, she   10   gender breakout between the number of members of
11     didn't deserve that behavior, especially from a     11   Rob Rock's team, how many were men, how many were
12     manager, that's the take away I had from my         12   women?
13     conversation with Reshma.                           13         A       I don't.
14           Q      Was there any consideration paid       14         Q       Do you know how many Surgical
15     to the portion of the commentary made by Rob Rock   15   Account Specialists generally are assigned
16     that Reshma should be attending the women's         16   underneath the Regional Business Director?
17     leadership dinner?                                  17         A       Eight to ten as a norm.
18                MR. PANZINI: Object to form but          18         Q       Were you involved in anyway in
19     go ahead.                                           19   preparing the defendant's response to plaintiff's
20           A      I don't know if he ever told me        20   first set of Interrogatories?
21     that. You know, it clearly came up as part of       21         A       Can you please repeat that?
22     the investigation of why Reshma ended up going to   22         Q       Were you involved in, in the
23     Top Golf and not -- is because she didn't want to   23   course of this litigation, the plaintiff's served
24     go to the women's event and she had reasons for     24   a demand for a set of Interrogatories which were
25     not doing that. And there was no issue from my      25   required to be responded to. Were you involved




                                                                                49 (Pages 190 to 193)
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                                               Page 226                                                   Page 228
 1           Q      And does Mr. Rock attach the            1   women's leadership, the fact that she didn't go?
 2     same document that was sent to you on February 17    2         Q      Any portion of what transpired
 3     to this email correspondence?                        3   concerning the women's leadership meeting?
 4           A      Yes.                                    4         A      Well, they were made aware of
 5           Q      And within the body of the              5   the fact that the initial investigation into the
 6     email, is there an indication that incidents were    6   incident between Rob and Reshma --
 7     reported to Leslie Hyman on February 13 and on       7               MR. PANZINI: Go ahead.
 8     February 14?                                         8               MR. STEWART: Just -- he's in
 9           A      That was his, you know, his             9   the middle of an answer.
10     statement, yeah.                                    10               MR. PANZINI: Yeah, well --
11           Q      Do you have any reason to              11   there is a privilege issue here, it's
12     believe that's inaccurate?                          12   communication with counsel. So just -- he's
13           A      Well, I have every reason to           13   talking about his conversations, when I believe,
14     believe that not everything Rob said was            14   when he said they, with Anthony Malloy who is
15     accurate, yeah.                                     15   in-house counsel and I believe Kristen Williams,
16           Q      Did Leslie Hyman ever discuss          16   also in-house counsel that -- I am going to put a
17     with you any complaint being made to her on         17   -- those are privileged conversations. So that's
18     February 13 by Rob Rock concerning claims of        18   what I wanted to put on record, that's why I
19     sexual harassment, hostile work environment or      19   interrupted in the middle, I normally wouldn't do
20     bullying and that these claims were protected by    20   that, you have sat through enough depositions
21     whistleblower laws?                                 21   with me to understand that, but I thought he was
22           A      Not to my knowledge, no.               22   going into an area where he's talking about
23           Q      Who made the decision to               23   privileged conversation between counsel and the
24     terminate Reshma Abell?                             24   client regarding legal advice.
25           A      That was a collective decision         25         Q      What is Kristen Williamson's
                                               Page 227                                                   Page 229
 1     by legal and HR.                                     1   title at Pacira?
 2           Q      When you say collective decision        2         A       Chief Administrative Officer,
 3     by legal and HR, is there certain individuals        3   legal and HR report to her.
 4     that were involved in that decision making           4         Q       What is Anthony Malloy's title
 5     process?                                             5   at Pacira?
 6           A      Yes.                                    6         A       He's Associate General Counsel,
 7           Q      Who were those individuals?             7   he's the chief -- doesn't have the chief legal
 8           A      Kristen Williams, Chief                 8   officer title but he's the head of legal.
 9     Administrative Officer, and Tony Malloy, our         9         Q       In the course of having
10     Chief Legal Officer and myself.                     10   conversation with Kristen Williamson, were any
11           Q      And what was the process by            11   conversations held directly between yourself and
12     which the determination to terminate Reshma was     12   Kristen Williamson concerning the termination of
13     arrived at?                                         13   Reshma Abell? The question was not about what
14           A      Simply providing a summary of          14   you were talking about, the question --
15     the facts regarding the situation with Reshma       15                MR. PANZINI: He's not asking
16     opening up an inappropriate site at the meeting,    16   you what the conversation, what was said, but --
17     the confirmation of such, her acknowledgement of    17         A       Did I have a conversation with
18     that and the fact that that behavior was            18   Kristen, yeah.
19     unwarranted and unacceptable in our environment,    19         Q       Directly with just Kristen?
20     in our culture, could not be tolerated.             20         A       With what?
21           Q      Were Reshma's comments                 21         Q       Just with Kristen?
22     concerning the women's leadership meeting taken     22         A       With Kristen and Tony.
23     into account in determining whether or not the      23         Q       Did you ever have any
24     termination was appropriate?                        24   conversations with Kristen outside the presence
25           A      What part of her words on the          25   of Tony?




                                                                                 58 (Pages 226 to 229)
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                                                Page 230                                                Page 232
 1           A      No.                                     1   Michael Massicottee and Dave Heritage were also
 2           Q      How many conversations were             2   viewing and sharing these same Kama Sutra
 3     held?                                                3   materials at the national sales meeting?
 4           A      One.                                    4         A      No, I don't know who those
 5           Q      How long did that conversation          5   individuals are.
 6     last?                                                6         Q      Did Roxanne Doherty provide you
 7           A      Half an hour.                           7   specific details about what transpired in the
 8           Q      Was Kristen Williams provided an        8   moments surrounding Reshma purportedly showing
 9     opportunity to review your investigative notes       9   Kama Sutra materials?
10     before your conversation?                           10         A      Ask that question again.
11           A      She was sent those in advance,         11         Q      Did Roxanne Doherty provide
12     yes.                                                12   specific details concerning the happenings around
13           Q      And what was the basis upon            13   Reshma viewing Kama Sutra materials at the
14     which Reshma was ultimately terminated?             14   national sales matter meeting?
15           A      I thought you already asked that       15         A      She said she was creating a
16     question.                                           16   distraction among a number of sales employees and
17           Q      Forgive me, we have been doing         17   was viewing an inappropriate website and asked
18     this for awhile, if you can just give me an         18   her to shut it down.
19     answer?                                             19         Q      Did you ask the name of those
20           A      Basis was that the behavior that       20   other sales associates that were present?
21     she exhibited at the national sales meeting with    21         A      She didn't recall.
22     opening up an inappropriate site that made others   22         Q      My question was a little bit
23     feel uncomfortable at the meeting was not           23   different, did you ask the name of --
24     something we could support in our culture and       24         A      I did, yeah.
25     that it was an egregious violation of our, you      25         Q      And the response you received
                                                Page 231                                                Page 233
 1     know, values and our, you know, anti-harassment      1   was?
 2     policy in our handbook.                              2         A      She couldn't recall who the
 3           Q     And was any consideration given          3   people were that were standing there.
 4     to Reshma's disciplinary history before making       4         Q      The women's leadership meeting
 5     that determination?                                  5   that occurred at the national sales meeting in
 6           A     No. Pretty sure she didn't have          6   2018, do you know who planned that event?
 7     any disciplinary history.                            7         A      I think it was Kristen Williams.
 8           Q     That's the point.                        8   She's the -- basically the executive sponsor of
 9                Was there a specific policy               9   basically what they call Power which is the
10     within the Employee Handbook pertaining to the      10   women's, you know, basically a women's affinity
11     viewing of materials on personal cell phones?       11   group at Pacira.
12           A     No, I don't think there is              12         Q      Have there since been other
13     anything that specific in the handbook, no.         13   women's leadership meetings at subsequent
14           Q     At any point in time were you           14   national sales meetings?
15     made aware of any other individuals at the          15         A      I am not 100 percent certain but
16     national sales meeting viewing the same Kama        16   I believe there was at the last meeting, yes.
17     Sutra material?                                     17         Q      And is that a program or a
18           A     No.                                     18   meeting series which Kristen Williamson continues
19           Q     At any point in time were you           19   to remain involved with?
20     ever made aware of any other individuals showing    20         A      Yes.
21     other people the same Kama Sutra material that      21         Q      Was Joyce Davis at all involved
22     Reshma was alleged to have been showing other       22   in the 2018 national sales meeting?
23     individuals?                                        23         A      I believe so but I am not 100
24           A     No.                                     24   percent certain. I mean she's a senior leader in
25           Q     Were you ever made aware that           25   the organization and she normally does play some




                                                                                59 (Pages 230 to 233)
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                                                Page 238                                                 Page 240
 1           A      As a record of who attended the         1         A      Based on a further evaluation
 2     leadership team meeting?                             2   into what transpired with him leaving the meeting
 3           Q      Yes, you do recognize what's            3   with out authorization, that decision by senior
 4     been marked as Plaintiff's 50?                       4   leadership in sales was that he be terminated for
 5           A      You know, I vaguely remember it,        5   that because not receiving authorization to leave
 6     I don't --                                           6   the meeting.
 7           Q      Have you seen this document             7         Q      And who made the determination
 8     before today?                                        8   with respect to Rob Rock's firing?
 9           A      Probably at the time that it was        9         A      That would have been the head of
10     sent over to counsel, yeah, I don't know if I       10   sales, Pete.
11     looked at it close because I just assumed           11         Q      Other than Pete Murphy, did
12     whatever they pulled together here was an           12   anybody else weigh in with respect to Rob Rock's
13     accurate listing of who was there.                  13   termination?
14           Q      And do you believe -- withdrawn.       14         A      It would have been the same
15                Is Plaintiff's 50 a true and             15   folks that I mentioned to you earlier that are
16     accurate representation from your perspective of    16   involved in decisions like this, legal and HR,
17     the individuals who attended the women's            17   the legal leadership and HR. So I was part of
18     leadership meeting in the Pacira 2018 national      18   that decision making process as with Tony.
19     meeting?                                            19         Q      Was Pete Murphy involved in the
20           A      I have no reason to dispute it         20   decision making process of terminating Reshma?
21     but I mean I am not 100 percent certain. I mean     21         A      No.
22     I wasn't part of pulling it together.               22         Q      Is Pete Murphy still employed by
23           Q      Do you know who pulled it              23   Pacira?
24     together?                                           24         A      No.
25           A      No, it probably would have been        25         Q      How did Pete Murphy's employment
                                                Page 239                                                 Page 241
 1     somebody, you know, in the sales organization        1   come to end at Pacira?
 2     that was associated with that -- with that           2         A      He found another job.
 3     dinner.                                              3         Q      Did he resign his position at
 4           Q     Are you aware of -- withdrawn.           4   Pacira?
 5                What were the -- what was the             5         A      He did.
 6     determination made with respect to the outcome of    6         Q      When was that?
 7     the investigation concerning Rob Rock and his        7         A      I am going to say a year ago.
 8     conduct at the 2018 national sales meeting?          8   Not even that long ago, six, nine months ago,
 9           A     With the incident that happened          9   maybe.
10     between he and Reshma?                              10         Q      Does Matt Lehmann remain
11           Q     However you want to describe it         11   employed by Pacira?
12     to me.                                              12         A      No, he also is no longer with
13           A     No, I think there was no                13   the company.
14     conclusive information that I was able to get my    14         Q      And what was Matt Lehmann's role
15     hands around that could confirm that, you know,     15   at Pacira?
16     either one of them did anything that was -- that    16         A      At the time I believe he was --
17     would rise to a level of, you know, any form of     17   I don't remember what his title was but he had
18     discipline so as far as we were concerned, you      18   marketing, all of marketing and all of commercial
19     know, the case was basically being set aside.       19   training, he did not have sales I don't believe
20           Q     And thereafter was Rob Rock             20   at that time. So it was marketing, commercial
21     caused to be terminated by Pacira?                  21   training and maybe the sales analytics function,
22           A     He was terminated, yes.                 22   to the best of my recollection.
23           Q     For what reason?                        23         Q      I'd like to show you what we
24           A     Sorry?                                  24   will be marking as Plaintiff's 51 and here is a
25           Q     For what reason?                        25   copy for counsel. This is Pacira1261 and 1262.




                                                                                61 (Pages 238 to 241)
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                                                Page 246                                                  Page 248
 1     appealing to Scott because he probably had, you      1   CROSS EXAMINATION BY MR. PANZINI:
 2     know, previously had a quasi relationship with       2
 3     Scott in some manner and hopes that Scott to help    3         Q      Mr. Kahr, in your capacity as
 4     him navigate through this is why he did it.          4   head of HR, would you generally be looped into
 5     Because he sent several similar notes to several     5   the creation of a new position at Pacira?
 6     people.                                              6         A      Yes, I would.
 7           Q      And Plaintiff's 23, is this a           7         Q      Okay.
 8     true and accurate representation of an email sent    8         A      The process normally has, when
 9     from Scott Braunstein to yourself on February 15     9   managers want to get approval for a new position,
10     of 2018?                                            10   they create a requisition, attach a job
11           A      Yeah, he sent it to me as an           11   description, it's submitted within the system and
12     FYI.                                                12   it routes through successive managerial levels,
13           Q      Did you have any conversation          13   myself and the CEO. They all need to approve it.
14     with Scott Braunstein concerning this email?        14         Q      Were you aware -- strike that.
15           A      No, Scott was not involved in          15               Were you ever contacted
16     this situation at all. He got pulled it into it     16   regarding the creation of a new position called
17     obviously by Rob because Rob was looking for some   17   the Director of Postop Pain Management?
18     supporters but, I mean, Scott was not even          18         A      No.
19     tangentially involved in this.                      19         Q      Would it be fair to say you
20                 (Whereupon, Exhibit 53, Email           20   never saw any --
21     from Matt Lehman dated March 13, 2018, is           21         A      No requisition, no job
22     received and marked for Identification by the       22   description, never got brought to my attention.
23     reporter.)                                          23               MR. PANZINI: I have nothing
24           Q      Do you recognize what's been           24   further.
25     marked as Plaintiff's 53?                           25               THE VIDEOGRAPHER: The time is
                                                Page 247                                                  Page 249
 1          A       Uh-huh, yes.                            1   now 5:17. This will end this evening's
 2          Q       And what do you recognize               2   deposition.
 3     Plaintiff's 53 to be?                                3             (Whereupon, the deposition is
 4          A       Just that Rob sent a farewell           4   concluded at 5:18 p.m.)
 5     note to Matt about him being terminated and Matt     5
 6     acknowledging to me that he got this note from       6
 7     Rob and it sounds like both he and Kristen were      7
 8     in the room with Rob.                                8
 9          Q       And where he's making reference         9
10     to being in the room with Rob, that's dating back   10
11     to the conversation that transpired following Rob   11
12     Rock leaving the sales meeting and returning.       12
13     Correct?                                            13
14          A       That's correct.                        14
15          Q       And again Rob Rock within this         15
16     correspondence makes mention concerning             16
17     allegations that were made to Leslie Hyman on       17
18     February 13. Correct?                               18
19          A       Well, that's what he alleges,          19
20     but, you know, yeah.                                20
21                 MR. STEWART: Subject to any             21
22     follow-up, I have no further questions. Thanks      22
23     for your time today.                                23
24                 MR. PANZINI: Just a couple.             24
25                                                         25




                                                                                63 (Pages 246 to 249)
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          EXHIBIT 5
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                                                  Page 14                                                    Page 16
 1          A. I'm sorry. Yes.                               1        sign-off with the area sales
 2          Q. And were you part of the --                   2        manager above me.
 3     withdrawn.                                            3   BY MR. STEWART:
 4               Did you hire or were you                    4        Q. And back in 2014, who would
 5     part of the hiring process that brought               5   that have been?
 6     Reshma onto the team?                                 6        A. Dennis McLoughlin.
 7          A. Yes.                                          7        Q. And what was his title at
 8          Q. And what did that process                     8   the time?
 9     entail, the hiring process?                           9        A. To the best of my
10          A. Conducting interviews,                       10   recollection, it was area sales -- area
11     working with recruiters to identify                  11   sales director for the east.
12     potential employees. And I conducted a               12        Q. And was that the position
13     number of interviews, and ultimately --              13   that ultimately you were promoted into in
14     you know, conducted interviews to                    14   approximately July of 2017?
15     establish who would be the best fit                  15        A. Correct.
16     potentially.                                         16        Q. And from 2014 until 2017,
17          Q. And how did you first come                   17   was Dennis McLoughlin the area sales
18     to become acquainted with Reshma?                    18   director above you for the entire time?
19          A. Through a recruiter who                      19        A. To the best of my
20     provided me with her information.                    20   recollection, yes.
21          Q. And did you ultimately                       21        Q. During the time that you
22     interview Reshma?                                    22   were in the northeast regional manager
23          A. I did.                                       23   from when Reshma was hired until you were
24          Q. Do you know if you met with                  24   promoted, did she report directly to you
             MAGNA LEGAL SERVICES                                      MAGNA LEGAL SERVICES
                                                  Page 15                                                    Page 17
 1     her on more than one occasion to                      1   during that entire time?
 2     interview with her?                                   2        A. Yes.
 3          A. I believe it was once.                        3        Q. Were you involved with a
 4          Q. Does the recruiting process                   4   process of preparing her -- withdrawn.
 5     entail there being multiple interviews?               5             Did Pacira have a process
 6          A. Sometimes.                                    6   that -- a process for doing employee
 7          Q. Do you have a recollection                    7   reviews on an annual and biannual basis?
 8     of Reshma's hiring process and whether                8        A. Yes.
 9     she was interviewed on more than one                  9        Q. And were you involved with
10     occasion?                                            10   the preparation of Reshma's biannual and
11          A. I don't recall.                              11   annual reviews from 2014 to 2017?
12          Q. When the decision was made                   12        A. Yes.
13     to move forward with Reshma as a                     13        Q. Was there anyone else that
14     candidate, were there other stakeholders             14   would have been involved in that process?
15     that were involved that had approval of              15        A. The area sales manager for
16     her being hired or was the decision                  16   the east would be involved.
17     ultimately yours?                                    17        Q. And that would have been
18              MR. PANZINI: Objection to                   18   Dennis McLoughlin?
19          form. But go ahead and answer.                  19        A. Correct.
20              THE WITNESS: I believe at                   20        Q. And when you were promoted
21          the time there was -- there needed              21   to area sales manager, did somebody come
22          to be an approval from my superior              22   and fill the role eventually of the
23          in order to -- I don't know if --               23   northeast regional manager?
24          yeah, there was definitely a                    24        A. Yes.
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                                                                                      5 (Pages 14 to 17)
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                                                  Page 22                                                    Page 24
 1     withdrawn.                                            1        A. Surgical account specialist.
 2               Can you describe to me, I                   2        Q. And did there ever come a
 3     guess, what the circle of excellence and              3   point in time where she was nominated for
 4     president's club is?                                  4   a promotion to the senior surgical
 5           A. Circle of excellence club is                 5   account specialist position?
 6     a reward trip for the top -- I believe                6        A. I don't recall specifically
 7     it's the top ten sales representatives                7   with her.
 8     from a performance perspective. They                  8        Q. Do you know if she ever
 9     were -- they received an award trip                   9   received a promotion to senior surgical
10     annually.                                            10   account specialist?
11           Q. And do you recall if Reshma                 11        A. I believe she did, but I
12     received or was honored in the circle of             12   don't know if it was under my direct --
13     excellence during the course of her                  13   if I was at the northeast regional
14     employment at Pacira?                                14   manager position at the time.
15           A. She was.                                    15        Q. Other than the promotion
16           Q. Do you know if she was                      16   from surgical account specialist to
17     honored in that regard in each year that             17   senior surgical account specialist, do
18     she was employed there?                              18   you know if Reshma was ever nominated for
19           A. I don't recall if it was                    19   any other positions?
20     each year. I know -- I believe it was                20        A. Not to my knowledge.
21     more than once.                                      21        Q. Are you aware of any
22           Q. Did Pacira -- during the                    22   discussions concerning any development
23     time that you were employed with Pacira,             23   programs for Reshma?
24     did Pacira maintain any kind of leader               24        A. Yes, Glenn Reiser, I
              MAGNA LEGAL SERVICES                                     MAGNA LEGAL SERVICES
                                                  Page 23                                                    Page 25
 1     board, whether it's on a quarterly basis              1   believe, when he became the area sales
 2     or an annual basis, reporting on the                  2   director, was working on a development
 3     various results of either sales of units              3   program, development project -- I don't
 4     or growth of regions with respect to                  4   know the exact definition of it, or at
 5     various sales reps?                                   5   least title of it -- development plan,
 6          A. Yes, there was a circle of                    6   development program for Reshma.
 7     excellence update that went out to the                7        Q. And what did that program
 8     field that showed where the individual                8   consist of?
 9     sales reps, or surgical account                       9        A. Reshma proposed that she
10     specialists, where they sat during that              10   would work outside of her immediate
11     particular time of year, when it went                11   territory to help colleagues expand their
12     out. I don't recall how often it went                12   anesthesia business and kind of teach
13     out though.                                          13   them how to be successful in the
14          Q. And again, you would                         14   anesthesia space, anesthesia market.
15     say just -- I don't want to                          15        Q. How was that proposal
16     mischaracterize your testimony, but                  16   received?
17     Reshma was among the tops on that leader             17        A. I thought it was a good
18     board; is that correct?                              18   idea.
19          A. Depending on the year, yes.                  19        Q. And did it ultimately go --
20          Q. Did there ever come a point                  20   did that proposal move forward?
21     in time where Reshma was nominated for a             21        A. I'm not sure I understand
22     promotion from -- or withdrawn.                      22   your question.
23              Do you know what position                   23        Q. Well, what came of that
24     Reshma was initially hired in at?                    24   proposal? Was there then -- was that the
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                                                                                       7 (Pages 22 to 25)
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                                                   Page 26                                                    Page 28
 1     genesis that started the program, the                  1   specifically recall where else it was, to
 2     development program that Glenn was                     2   use your term, successful.
 3     working on with Reshma?                                3        Q. Did there come a point in
 4          A. Yes, I think she ultimately                    4   the time where the pilot program came to
 5     went to Glenn with the idea, and he spoke              5   an end?
 6     to me regarding it. I don't recall if I                6        A. I don't recall.
 7     had a specific conversation at that time               7        Q. Was the pilot program
 8     with Reshma and Glenn. But Reshma                      8   continuing on a forward basis from the
 9     proposed that she would start to do this               9   time Reshma was terminated?
10     to see if -- kind of a proof of concept               10        A. I believe it was. You know,
11     idea to see if it would have an impact.               11   Glenn was more involved with running kind
12     And that's it.                                        12   of the day-to-day pilot program than I
13          Q. Would that proof of concept                   13   was.
14     be called a pilot program?                            14        Q. Are you aware of there being
15          A. That's another way to                         15   any discussions about the pilot program
16     characterize it, yes.                                 16   evolving into a permanent role for
17          Q. And did the pilot program --                  17   Reshma?
18     what was the outcome of the pilot                     18        A. Yes.
19     program?                                              19        Q. And what was the nature of
20              MR. PANZINI: Object to                       20   those discussions?
21          form. Go ahead, you can answer.                  21        A. Well, that was the genesis
22              THE WITNESS: Could you                       22   around doing the pilot program -- I'll
23          repeat that?                                     23   just call it pilot program moving
24     BY MR. STEWART:                                       24   forward -- was that her intention was to
             MAGNA LEGAL SERVICES                                       MAGNA LEGAL SERVICES
                                                   Page 27                                                    Page 29
 1          Q. Sure. The question was, you                    1   demonstrate that there was a need and
 2     know, what became of the pilot program?                2   that this would be ultimately successful.
 3          A. She worked with individuals,                   3   And if she could prove out that it indeed
 4     colleagues, other surgical account                     4   was successful, that she -- her idea or
 5     specialists. To the best of my                         5   her proposal would be that she would be
 6     recollection, it was in the surrounding                6   promoted to, I believe, a director role,
 7     geographic areas to limit the travel                   7   where she would identify individuals in
 8     expenditure of her potentially, you know,              8   the sales team that were also successful
 9     flying to the other coast, or things that              9   in the anesthesia space or market. And
10     have nature from an expense perspective,              10   that they would replicate what she was
11     since it was a proof of concept pilot.                11   doing during the pilot program in their
12     So I knew she did work with a couple of               12   respective, I don't recall if it was
13     individuals, I believe, in the northeast              13   specific to their regions or if it was
14     and in the region, I believe it was                   14   specific to individuals that she would
15     called, the mid-Atlantic area on                      15   identify to work -- that they would work
16     occasion.                                             16   with on the sales team.
17          Q. Did the pilot program prove                   17        Q. Was there a timeline for the
18     to be successful?                                     18   anticipated promotion into that director
19          A. In certain areas, yes.                        19   role?
20          Q. In which areas was the                        20        A. I don't recall if there was
21     program successful?                                   21   a specific timeline. I believe -- I
22          A. To the best of my                             22   don't recall when it actually started,
23     recollection, I believe in the                        23   what time of years it started. But I
24     Washington, DC area market. But I don't               24   think we were hoping to look at it for I
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                                                                                        8 (Pages 26 to 29)
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                                               Page 126                                                    Page 128
 1     no concrete agreement, other than we                1        A. I believe Dave became aware
 2     would do a three- to six -- six-month               2   of it during -- at some point during the
 3     plan. I do know that we got -- or I got             3   -- Dave became aware of what Reshma was
 4     delayed, we got delayed in kind of                  4   doing. Dave was not ultimately aware
 5     presenting the plan, you know, for                  5   that she was seeking a, you know,
 6     ultimate approval up to the executive               6   promotionary role or we were going to,
 7     team towards the end of the year. So I              7   you know, put forth a plan for the new
 8     think it definitely dragged -- you know,            8   position in this kind of anesthesia team
 9     it took longer than we hoped for, or I              9   type thing, which Reshma had proposed.
10     hoped for. I know Reshma hoped for and             10   But he was aware -- he was made aware
11     Glenn hoped for as far as getting -- you           11   that she was working outside of her
12     know, understanding if it was working,             12   territory helping others in the
13     getting feedback from the reps, you know,          13   anesthesia space.
14     and then ultimately trying to get an               14               - - -
15     audience, you know, for approval from --           15            (Whereupon, Exhibit
16     you know, from the executive group.                16        Plaintiff-19 was marked for
17           Q. And so, that approval would               17        identification.)
18     have been the approval necessary in order          18               - - -
19     for Reshma to assume the promotion and             19   BY MR. STEWART:
20     title to the role of director of post-op           20        Q. I'd like to show you what
21     pain management?                                   21   we'll mark as Plaintiffs-19.
22           A. Correct.                                  22            MR. PANZINI: What's the
23           Q. And when you say the                      23        Bates on that, Jason?
24     executive team, is it one individual in            24            MR. STEWART: Pacira 001213.
              MAGNA LEGAL SERVICES                                    MAGNA LEGAL SERVICES
                                               Page 127                                                    Page 129
 1     particular or was it multiple members of            1            MR. PANZINI: 1213. It's
 2     the executive team that a sign off or               2        just the one page, right?
 3     approval was still needed?                          3            MR. STEWART: This is a
 4          A. It was ultimately the CEO                   4        single page document, yes.
 5     would have had to sign off on it, but we            5            MR. PANZINI: Okay.
 6     would have also had to get -- you know,             6            THE WITNESS: Yep, okay.
 7     but once that occurred, we would have had           7   BY MR. STEWART:
 8     to, you know, work with human resources,            8        Q. And do you recognize this
 9     you know, create a new position. It                 9   document that's been marked as
10     wasn't like she was moving into, you               10   Plaintiffs-19?
11     know, an already listed position or                11        A. Yes.
12     whatever you call it, as far as, you               12        Q. What do you recognize
13     know, it being a current job. And then I           13   Plaintiffs-19 to be?
14     think probably legal as well, just to              14        A. It's an e-mail from -- a
15     make sure that it was -- you know, it was          15   response e-mail from myself to Matt
16     also that it was a compliant position.             16   Lehmann, who was chief commercial
17     But Dave was ultimate -- David stack,              17   officer, I believe, or VP of marketing, I
18     CEO, was the ultimate person I would have          18   don't remember what his title was at the
19     had to -- I had to have gotten a sign off          19   time. No, it was VP of marketing. With
20     from in order to create the position.              20   a copy of Glenn Reiser around
21          Q. So was Dave Stack made aware               21   clarification around TAP clarification.
22     of the pilot program itself when it was            22        Q. And this was pertaining
23     commenced or at some point during its              23   to -- when they say TAP, are they -- TAP,
24     existence?                                         24   does that refer to Reshma's pilot
             MAGNA LEGAL SERVICES                                     MAGNA LEGAL SERVICES




                                                                               33 (Pages 126 to 129)
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                                                   Page 146                                               Page 148
 1          Q. Do you recall when you                          1   and we made sure everything was good.
 2     arrived, what date or what time you                     2   And we told her to have -- you know, have
 3     arrived into Florida for that meeting?                  3   her iPad on her or computer, so that if
 4          A. I don't know the specific                       4   we, you know, would find a good time but
 5     day, but it was definitely a day,                       5   also be prepared that we might have to --
 6     potentially two, prior to the meeting                   6   you know, if we don't get a formal
 7     officially starting.                                    7   sitdown, we might have to, you know, grab
 8          Q. And do recall when Reshma                       8   Dave either in the hallway or at some
 9     arrived to that 2018 national sales                     9   point and sit down with him and request
10     meeting?                                               10   some time with him, which was not out of
11          A. I believe she arrived on --                    11   the norm at those meetings, to present --
12     at some point just prior to the welcome                12   formally present the plan to him to get
13     dinner on the 11th.                                    13   sign off on it.
14          Q. And when she arrived on the                    14            And then we all agreed that
15     11th, did there come an occasion where                 15   that was a good plan. And that we would
16     you met with her in person along with                  16   be opportunistic, and to get with him at
17     Glenn Reiser before the welcome dinner?                17   some point during the meeting, and that I
18          A. Yes.                                           18   would also look and try to set up more of
19          Q. Where did that meeting take                    19   a formal get together. But be prepared
20     place?                                                 20   to do it on the fly, you know, duck into
21          A. The meeting took place at                      21   a conference room or something, or step
22     her demand at the -- in the lobby of the               22   out of a breakout, if I could get him,
23     hotel shortly after she checked in at the              23   you know, for ten minutes, half an hour.
24     front desk.                                            24            And then as we wrapped up
             MAGNA LEGAL SERVICES                                        MAGNA LEGAL SERVICES
                                                   Page 147                                               Page 149
 1          Q. And what was discussed                          1   the meeting, we all agreed that that was
 2     during that meeting?                                    2   going to -- that we all would be ready,
 3          A. She demanded a meeting for                      3   and the last thing that, you know, I
 4     Glenn and I to come down and speak to                   4   communicated to Reshma, and Glenn did as
 5     her, you know, really as soon as                        5   well, was we said, look, this your -- you
 6     possible, right away, down in the lobby.                6   know, you're asking for a promotion,
 7     We met in the lobby area at a table. She                7   you're asking for a leadership position,
 8     came over to us with her luggage. She                   8   you know, you've certainly improved and,
 9     sat down, and she wanted to discuss the                 9   you know, the pilot program seems to be
10     plan to roll out the -- get in front of                10   going well from all accounts, but these
11     Dave Stack to present her -- you know,                 11   meetings are not where you do well. You
12     the pilot program, her business plan for               12   historically misbehave, you historically
13     the position that we were trying to get                13   drink too much, and you historically have
14     for her, the director of post-op pain, I               14   some type of an HR issue at these
15     think it was called.                                   15   meetings.
16              So we -- I'm sorry, did you                   16            So you need to do everything
17     ask when that meeting took place and the               17   you can to demonstrate and show that you
18     discussion around it?                                  18   are a leader, and you are capable of
19          Q. Yes, exactly.                                  19   staying out of the fray, staying out of
20          A. Yes. So she asked, you                         20   the bar, staying out of misbehaving,
21     know, when exactly were we going to meet               21   because you're now asking to be a leader
22     with Dave, you know, what's the plan.                  22   of the company. And, you know, Glenn
23     And we reviewed the business plan that I               23   went as far to say, if you feel like, you
24     had already reviewed with her in person,               24   know, you're having a hard time
             MAGNA LEGAL SERVICES                                        MAGNA LEGAL SERVICES




                                                                                   38 (Pages 146 to 149)
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                                               Page 150                                                    Page 152
 1     controlling yourself, you're having a               1   could get dinner with a group of friends,
 2     hard time, you know, or someone is                  2   get dinner with whoever you wanted to,
 3     getting under your skin, or if something            3   but there was no required events for you
 4     is not going well, you know, call me, we            4   to go to.
 5     can just, you know, grab five minutes and           5        Q. And what was the women
 6     talk through it. But, you know, this is             6   leadership event?
 7     it.                                                 7        A. Women leadership event was
 8               This is your -- you know,                 8   an event hosted by Kristen Williams, who
 9     this is your opportunity to change your             9   is the chief administrative officer of
10     behavior from years past. Pay attention            10   the company. I believe this might have
11     in the breakouts. Be a leader in the               11   been the second or third type of event
12     breakouts. Don't get yourself in                   12   that she hosted, and she generally had a
13     trouble, don't drink, and don't get in             13   kind of a keynote speaker. I don't know
14     fights, and that'll set you up for, you            14   if this was a dinner event or if it was a
15     know, a very good potential of, you know,          15   cocktail event. But it was an
16     sitting down with Dave.                            16   opportunity for females in the company to
17               And we gave her that advice              17   gather and to listen to -- it actually --
18     extremely sternly and extremely --                 18   yeah, it was an event for females in the
19     extremely caring, because we all invested          19   company to gather together. And again, I
20     a lot of time in the pilot and in her,             20   don't know if there was a speaker or if
21     for that matter. And, you know, that was           21   it was just a cocktail hour, I don't
22     our one ask, was that she conduct herself          22   know.
23     as a leader and not get -- you know, not           23        Q. Do you understand that this
24     behave the way she had in the past. So             24   event was explicit for female Pacira
              MAGNA LEGAL SERVICES                                    MAGNA LEGAL SERVICES
                                               Page 151                                                    Page 153
 1     we all agreed on that and we all went our           1   employees?
 2     own separate ways.                                  2        A. I don't know if this
 3          Q. From that point forward,                    3   particular one was exclusive. I have
 4     were there any -- withdrawn.                        4   attended one. I did attend one in my
 5              Moving forward into the                    5   tenure at Pacira, but I don't know if
 6     meeting, were there any issues reported             6   this -- I did not attend this one, and I
 7     to you during the first day of the                  7   don't know if this was a female-only
 8     national sales meeting concerning Reshma?           8   event.
 9          A. I don't believe so. I don't                 9        Q. You had mentioned that you
10     recall. I don't believe so.                        10   believe there might have been prior
11          Q. And just turning your                      11   women-in-leadership-type events
12     attention to the agenda here, and the              12   coordinated by Kristen Williams. When
13     date indicate, Tuesday, February 13th of           13   would those have occurred, at prior sales
14     2018. Listed on the agenda there's a               14   meetings or some other occasion?
15     number of items there: Breakfast,                  15        A. I believe at the national
16     meetings, lunch, meetings, night on own,           16   sales meetings or the mid-year meetings.
17     and women in leadership event.                     17   There may have been. Or that might have
18              What do you understand night              18   been the first one. I don't -- I believe
19     on own to mean in the context of this              19   this was not the first one, but I could
20     document?                                          20   be wrong.
21          A. You didn't have any Pacira                 21        Q. Could there have been
22     responsibility or required events, you             22   subsequent ones in the years that
23     could sit in your hotel room, or you               23   followed?
24     could get dinner on your own, or you               24        A. Correct, yes.
             MAGNA LEGAL SERVICES                                     MAGNA LEGAL SERVICES




                                                                               39 (Pages 150 to 153)
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                                                 Page 154                                                    Page 156
 1          Q. And did you know that -- did                  1         Q. Did there come a point in
 2     you understand the women in leadership                2   time when you learned about a scheduled
 3     event to be a mandatory event, an                     3   Topgolf event that was scheduled to take
 4     optional event or something else?                     4   place on Tuesday, February 13th of 2018?
 5          A. Optional.                                     5         A. Yes, I believe I -- I
 6          Q. Was it an event which the                     6   believe I was invited by Geo Van
 7     individuals were invited to?                          7   Dellomini [ph], who was a regional
 8          A. Yes.                                          8   manager at the time. I think he invited
 9          Q. Do you know if Reshma                         9   me to go join his team, and I believe he
10     declined the invitation to that event?               10   -- I believe the initial conversation
11          A. I don't know.                                11   was, was it okay to do, and would I like
12          Q. Did she have any discussions                 12   to join them. And I said I would not be
13     with you about whether or not the event              13   able to join them, but certainly if they
14     was optional or mandatory?                           14   want to do a team building event, that's
15          A. I don't know if we had a                     15   encouraged.
16     conversation before or after the event.              16         Q. Did you understand that
17     And it might have been at a different                17   event to be specific to any particular
18     meeting. But I know she indicated to me              18   region?
19     at some point that she was not going to              19         A. I don't know if it was -- I
20     go a women's only event, didn't see the              20   know it was his region, and I know it was
21     value in it.                                         21   another region, I don't remember -- I
22          Q. And from your standpoint,                    22   think it might have been Rob Rock's
23     was that problematic in any way?                     23   region. I don't recall specifically, but
24          A. No, I didn't care.                           24   I didn't -- you know, at the time I
             MAGNA LEGAL SERVICES                                       MAGNA LEGAL SERVICES
                                                 Page 155                                                    Page 157
 1          Q. Were you in any way involved                  1   didn't get too involved in the -- you
 2     in planning the women's leadership event?             2   know, that was more Glenn's area as sales
 3          A. No.                                           3   directors purview to, you know, kind of
 4          Q. Did anyone discuss the                        4   understand that people were doing things
 5     women's leadership meeting with you                   5   on a regional basis, you know, who was
 6     before it took place?                                 6   doing what. I wasn't -- it wasn't fair
 7          A. I don't believe so.                           7   for me to attend one region's event and
 8          Q. Did anyone discuss the                        8   not anothers. So I just simply removed
 9     women's leadership meeting with you after             9   myself from those events, and just was
10     it took place?                                       10   visible during the general sessions.
11          A. I think there were -- I                      11        Q. Prior to the event, the
12     believe there were individuals. I don't              12   Topgolf event, were you aware of any of
13     recall who, but I believe I asked a                  13   the details of the event other than what
14     couple individuals how it was and what               14   you've already spoken about?
15     was it like. You know, was there a                   15        A. Not that I recall.
16     speaker? What did you guys do? What did              16        Q. Do you know the number of
17     you talk about? Just general questions.              17   participants that were invited?
18          Q. Do you have a recollection                   18        A. No.
19     of any of the feedback you might have                19        Q. Did you understand the
20     received?                                            20   business purpose of the Topgolf event to
21          A. I believe there were some                    21   generally be a team building event?
22     that enjoyed it. I believe there were                22        A. Yes.
23     some that could have                                 23        Q. And it was Geo Van Dellomini
24     take-it-or-leave-it-type opinions.                   24   who planned the event?
             MAGNA LEGAL SERVICES                                      MAGNA LEGAL SERVICES




                                                                                 40 (Pages 154 to 157)
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                                              Page 158                                              Page 160
 1               MR. PANZINI: Object to                   1   know, Glenn was going to work with human
 2          form.                                         2   resources to, you know, communicate what
 3               THE WITNESS: I don't know                3   he thought had happen and human resources
 4          if it was him. I believe he shot              4   was going to go, I guess, investigate the
 5          me either an e-mail or phone call             5   circumstances around it.
 6          asking me if it was okay that they            6        Q. Did you come -- did you
 7          did a regional activity.                      7   become involved in that investigation --
 8     BY MR. STEWART:                                    8   withdrawn.
 9          Q. And previously you testified               9            Did you come to learn that
10     that you had authorized that, correct?            10   HR commenced an investigation in relation
11          A. Correct.                                  11   to this incident?
12          Q. At some point in time did                 12        A. Yes.
13     you come to learn about an occurrence             13        Q. Were you in any way involved
14     that transpired between Reshma and Rob            14   in that investigation?
15     Rock at that Topgolf event?                       15        A. Not in that I was asking
16          A. Yes. The next day there was               16   people questions, more around I was kept
17     a -- Glenn Reiser had informed me that            17   abreast of that Glenn was connecting the
18     there was an altercation, verbal                  18   dots of, you know, who was there, who
19     altercation, between Reshma and Rob Rock          19   witnessed things. He kept me abreast of
20     about her attendance at the event. And            20   who was -- you know, had visibility to
21     that there was -- yeah, that there had            21   it, who was involved. And then I believe
22     been a verbal altercation, a fight,               22   he was communicating that to human
23     between the two of them at the event.             23   resources, so they could conduct their
24          Q. And you were made aware of                24   investigation.
              MAGNA LEGAL SERVICES                                  MAGNA LEGAL SERVICES
                                              Page 159                                              Page 161
 1     this by Glenn?                                     1        Q. So was Glenn more hands-on
 2          A. I believe it was Glenn. I                  2   in terms of factfinding than you were
 3     believe also -- I think Rob may have               3   with respect to the occurrence?
 4     texted me, but I don't specifically                4        A. I don't -- well, I guess
 5     recall.                                            5   factfinding from who was there, and
 6          Q. And what was it that you                   6   probably who was -- you know, what
 7     were -- or withdrawn.                              7   transpired. But more on the
 8              Do you recall any of the                  8   investigation around -- yeah, more on
 9     details that were conveyed to you                  9   communicating to HR who was -- who was
10     concerning this altercation?                      10   witness to the events or party to the
11          A. In the beginning Glenn had                11   events.
12     communicated to me that there was an              12        Q. Did you ever come to learn
13     altercation and that there was a fight            13   the specific details of, for example,
14     between her and Rob Rock at the Topgolf.          14   what was said between Rob Rock and Reshma
15     And that there was also an issue that             15   at the event?
16     Reshma had come back and was, you know,           16        A. I had learned that -- or I
17     visibly upset at the bar area of the              17   had understood that -- that Rob made a
18     hotel, and that dinner was -- I believe           18   comment or questioned why she was there.
19     an issue where there was a conversation           19   That this was a regional type event, and
20     between Reshma and one of the marketing           20   I think he made a comment -- again, this
21     people, who I think was trying to console         21   is from what I heard -- about why she
22     her. And then, you know, we -- Glenn              22   wasn't at the women's only event, and
23     had, I think, called human resources to           23   that's when things -- I believe things
24     let them know this transpired. And, you           24   got heated. But I don't know once things
              MAGNA LEGAL SERVICES                                   MAGNA LEGAL SERVICES




                                                                             41 (Pages 158 to 161)
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                                               Page 174                                                Page 176
 1     promoted to, had you obtained the sign              1         Q. Mr. Murphy, I'd like to show
 2     off from the CEO?                                   2   you what we're going to mark as
 3              MR. PANZINI: Objection.                    3   Plaintiffs-22. This is a series of a
 4              THE WITNESS: That's our                    4   six-page document beginning Pacira 1236
 5          idea, yeah.                                    5   through 1242. And I'm going to draw your
 6     BY MR. STEWART:                                     6   -- I'll allow you to scroll through the
 7          Q. Was there any chance that                   7   whole thing and read through it as you
 8     the position would have been announced at           8   like. But before you do that, I want to
 9     the national sales meeting if the CEO has           9   draw your attention to the portion where
10     given his approval?                                10   I'll be asking you questions about.
11          A. I don't know. Potentially.                 11   There's an indication here at the bottom
12          Q. Would that have been a                     12   of 1238, and additionally there's an
13     decision for Dave Stack to make?                   13   indication here up at the top of that
14          A. Not necessarily.                           14   same page.
15          Q. Who would -- who could have                15              So just to kind of point you
16     or who would have had the authority to             16   in the right direction, I'll be happy to
17     make that decision?                                17   scroll through it. Just let me know.
18          A. To announce the position?                  18         A. Can you --
19          Q. Yes.                                       19         Q. Zoom in?
20          A. I could have made that                     20         A. No. Is the order of this --
21     decision ultimately.                               21         Q. From the bottom up is
22          Q. Were you ever able to gain                 22   probably a more appropriate way to read
23     an audience with Dave Stack to discuss             23   it, if you want to follow the chronology.
24     the post -- director of post-op pain               24         A. Yes, if you don't mind.
             MAGNA LEGAL SERVICES                                      MAGNA LEGAL SERVICES
                                               Page 175                                                Page 177
 1     management position?                                1        Q. Not a problem.
 2           A. No.                                        2        A. Okay. Okay. Okay. Okay.
 3           Q. Why not?                                   3   Okay.
 4           A. Because we had targeted the                4        Q. And I'll represent to you,
 5     national sales meeting to do it, that's             5   portions of this is redundant, but I'll
 6     why we had the meeting with Reshma. She             6   scroll through and just let me know as
 7     had the meeting. You know, we sat down              7   you move up.
 8     the first night of the meeting or the               8        A. Okay. Okay. I think you
 9     first afternoon of the meeting. But then            9   went through these, right. Okay.
10     the altercation occurred with Rob Rock,            10        Q. Yes, some of it is the same.
11     and all of the events subsequent to that,          11        A. Yep, okay.
12     so that was the last thing I was going to          12        Q. The only thing different is
13     propose to Dave.                                   13   at the top here.
14               MR. STEWART: If we don't                 14        A. Okay.
15           mind a quick break?                          15        Q. So do you recognize what has
16                  - - -                                 16   been marked here as Plaintiffs-22?
17               (Whereupon, a discussion was             17        A. Yes.
18           held off the record.)                        18        Q. And what do you recognize
19                  - - -                                 19   this document to be?
20               (Whereupon, Exhibit                      20        A. It was an e-mail exchange
21           Plaintiff-22 was marked for                  21   between myself and Rob, and then it looks
22           identification.)                             22   like Rob and Glenn.
23                  - - -                                 23        Q. And so, just first drawing
24     BY MR. STEWART:                                    24   your attention to the section at the very
              MAGNA LEGAL SERVICES                                   MAGNA LEGAL SERVICES




                                                                               45 (Pages 174 to 177)
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                                               Page 194                                                    Page 196
 1     regarding the events. I don't know if               1   to the lobby.
 2     that was before or after I sat down with            2        Q. And how long did that
 3     Rob though. But I know I had a sit down             3   conversation last?
 4     with Reshma and Glenn as well.                      4        A. About -- to my recollection,
 5          Q. And what did you takeaway                   5   about 30 minutes, 45 minutes maybe.
 6     from your conversation with Pat Nolan               6        Q. Following those
 7     regarding the events that transpired at             7   conversations that you had with Reshma,
 8     the Topgolf event?                                  8   Rob and Pat Nolan, did you communicate
 9          A. Nothing specific other than                 9   back to anyone within Pacira regarding
10     he witnessed a, you know, heated                   10   the occurrences?
11     altercation verbally between the two of            11        A. I know Glenn -- I know we
12     them. He didn't -- he couldn't hear the            12   communicated with Rich Kahr about our
13     content, other than he could tell that             13   conversations with them, with both Rob
14     there was a verbal exchange and that it            14   and Reshma. As well as communicated to
15     was heated, emotional and something had            15   him people that we had learned were also
16     happened.                                          16   witnesses to the altercation or issue.
17          Q. And what about after your                  17        Q. Did you learn the name of
18     conversation with Reshma, did you have             18   any other witnesses aside from Patrick
19     any takeaways concerning what transpired?          19   Nolan?
20          A. She communicated, to the                   20        A. I believe Ken Wolf was
21     best of my recollection, that Rob did not          21   named, and then I believe Sharon
22     welcome her to the event, and thought              22   McCarroll, who was in marketing, I
23     that it was, you know, a regional event            23   believe she and Reshma spoke to one
24     only. And that she was not included, nor           24   another after the altercation, when
              MAGNA LEGAL SERVICES                                   MAGNA LEGAL SERVICES
                                               Page 195                                                    Page 197
 1     invited. And that she should have gone              1   Reshma came back to the hotel and was
 2     to the women's in surgery event and not             2   visibly upset. I believe Sharon, you
 3     been at their event. And she was not                3   know, pulled her aside to try and console
 4     invited. That it was capped. There were             4   her and try to figure out what was going
 5     reservations made. She never asked to be            5   on. To the best of my recollection, I
 6     invited. And that's what Rob had                    6   think that transpired.
 7     communicated to her, basically that she             7        Q. Once you spoke with Rich
 8     was not welcomed at the event.                      8   Kahr, did you effectively handoff the
 9          Q. And what about after your                   9   situation to HR or did you continue to
10     conversation with Glenn, did you form any          10   remain involved in the process?
11     impressions about what occurred after              11            MR. PANZINI: Object to
12     speaking with Glenn?                               12        form. Go ahead.
13          A. No, because Glenn didn't                   13            THE WITNESS: I remained --
14     realize what was going on, what had                14        well, we handed it off to Rich
15     transpired either. Glenn and I met with            15        Kahr, but he communicated that if
16     Reshma together, so, you know, there was           16        we had learned anything -- if we
17     no -- you know, there was no discussion            17        did learn anything or any more
18     one way or the other of was somebody               18        people during the event -- during,
19     telling the truth, not telling the truth.          19        you know, the next day or two,
20          Q. Where did the conversation                 20        please, you know, forward those
21     with you, Glenn and Reshma take place?             21        names on to him, which we did. I
22     Did that also take place at the hotel?             22        believe Roxanne Doherty was
23          A. It took place at the hotel                 23        someone we spoke to later on in
24     in one of the vacant breakout rooms next           24        the day.
             MAGNA LEGAL SERVICES                                    MAGNA LEGAL SERVICES




                                                                                50 (Pages 194 to 197)
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           EXHIBIT 6
                                                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 58 of 268 PageID: 446

                      Sales Leadership = February 2018
                                                                                             Murphy, Peter
                                                                                          Vice President, Sales
                                                            East Area                                                    West Area
                                                                 1                                 E
                              Slade, Bradley
                                                               Reiser, Glenn               McKnelly, Th omas             Schouten, Vaughn           urchil I, Lawrence Winston
                      Assoc. Dir., Field Effectiveness
                                                             Area Sales Director      Director, Government Affairs                                               rnment Affai
                              & Operations
                  L



                                                                        Charles                                         Borsa, Christopher
                                                          egional Business Director                                  Regional Business Director




                                                           Smith,       Eldridge
PACIRA - 000104




                                                         Regional Business Director                                  Regional Bus ine ss Director




                                                            Vendemia, Giovanni                                         McKerracher, Robert
                                                             onal Business Director                                  Regional Business Director




                                                               Rock, Robert                                                Ellis, E dward
                                                         Regional Business Director                                  Regiona l Business Director




                                                           Doherty, Roxanne M.
                                                         Regional Business Director
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              East Area Regions = February 2018



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                                                                                                                                                                    schleba, Nicole
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                                            Surgical Account Specialist                                                                                             Account Specialist
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PACIRA - 000108
                                 Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 60 of 268 PageID: 448
                  East Area Regions = February 2018
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                                 Macarelli, 17ffies M                                                                            Abell, Reshma 5
                              Surgical Account Specialist                                         Surgical Account Specialist                        is list


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                                                                     Heritage, David                 Massicotte, Michael        O'Brien, Terrence)
                                                            Sr. Sur gical Account Specialist      Surgical Account Specialis'
PACIRA - 000109
                             Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 61 of 268 PageID: 449
              West Area Regions = February 2018
                                                                                 Borsa, Christopher
                                                                              Regional Business Director




                                        Linda                  Sherman, Linda M                       Nol
                                     :ount Specialist
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PACIRA - 000110




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                                                                                               Surgical Account Specialist
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          EXHIBIT 7
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                                                   Page 10                                                       Page 12
 1     A. Yes. Mainly, it was a top-down approach to             1   A. Okay. So she had a manager that she directly
 2       customers. Whereas, the bottom up would be account      2     reported to. But ultimately, you're still, from a
 3       managers like Reshma and working with surgeons and      3     hierarchy standpoint, over the manager who she
 4       anesthesiologists, my role tried to get to the          4     reports to, as well. So not a direct reporting in
 5       C-suites of hospitals and -- and systems to work        5     to me, but through -- through a -- a front-line
 6       from a top-down approach with administration.           6     manager.
 7     Q. And what was the interplay between you as national     7   Q. Understood. And who was that front-line manager?
 8       accounts director and Reshma as the surgical            8   A. Roxanne Doherty.
 9       account specialist? Would she introduce you to          9   Q. And through your tenure at Pacira, did you form an
10       individuals? Would she ride along with you to          10     impression about Reshma Abell as an employee?
11       hospitals? Or something else?                          11   A. Can you -- in what -- in what sense?
12           MR. PANZINI: Object to form.                       12   Q. Can you speak to Reshma -- was Reshma a strong
13           Go ahead.                                          13     performing employee as a surgical account
14     A. We would -- a lot of -- a lot of that. It was her     14     specialist?
15       helping me gain access to folks that could get us      15         MR. PANZINI: Object to form.
16       up to the C-suites, or if she had contacts directly    16   A. From a --
17       with administrators, putting us -- using that as an    17         MR. PANZINI: You can answer. Just also, let
18       introduction.                                          18     me -- Glenn, from time to time, I'm going to say
19     Q. And as regional sales director, what was the nature   19     something called "Object to form." I'm just
20       of the relationship between you and Reshma Abell?      20     objecting to the form of the question. You can go
21     A. She was one of the reps that I worked with. So at     21     ahead and answer it unless I specifically say to
22       that point, it was a direct relationship; she          22     you "Don't answer it," if it's a privilege issue or
23       reported to me.                                        23     something like that. But 99 out of 100 times, I'm
24     Q. And so she reported directly to you in her role as    24     just going to say "Object to form," but go ahead
25       surgical account specialist in your role as            25     and answer.
                                                   Page 11                                                       Page 13
 1       regional sales director?                                1          THE WITNESS: No worries. I'll try to pause
 2     A. Correct.                                               2     more. I'll try to pause better, as well.
 3     Q. In the course of that -- what was the duties and       3          Can you repeat the question, Jason?
 4       responsibilities of a regional sales director?          4   Q. (BY MR. STEWART) Sure. Absolutely. So I'll ask
 5     A. Was to work with the teams to receive sales goals      5     it a little bit differently.
 6       and coach and develop them.                             6          In terms of while Reshma was your direct
 7     Q. As the national account director, how frequently       7     report, did you form any impressions about her
 8       would you interface with Reshma? Would you --           8     performance as a surgical account specialist?
 9     A. It depends. No set kind of frequency, but where        9   A. From a sales perspective, she was generally a high
10       the business dictated it, then we would.               10     performer.
11     Q. And how about as a regional sales director?           11   Q. What do you mean by that?
12     A. That was more frequently.                             12   A. She most often exceeded her -- her sales goals.
13     Q. Can you describe to me the duties and                 13     She was a good salesperson.
14       responsibilities of an area sales director?            14   Q. And did you have occasion to go on field rides with
15     A. Yes. Similarly, but at a different level. At that     15     Reshma?
16       point, the company split in half, east and west.       16   A. Yes.
17       So I ran the eastern half of the country from a        17   Q. And did you form any impressions about her skills
18       sales perspective and worked with managers in a        18     in front of clients during these field rides?
19       similar fashion to receive sales goals and coach       19   A. Similarly, yes, from a -- from a sales perspective.
20       and develop them and their team.                       20   Q. During any of these field rides, did you ever have
21     Q. And in your position as the area -- the East area     21     any reason to believe that Reshma was acting
22       sales director, did you supervise or oversee           22     unprofessionally in front of clients?
23       Reshma?                                                23   A. Not necessarily. Well, to varying degrees, at
24     A. I'm sorry. East area sales director?                  24     times she could be confrontational, what I observed
25     Q. Yes.                                                  25     as confrontational with customers.




                                                                                           4 (Pages 10 to 13)
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                                                   Page 26                                                      Page 28
 1       specialist.                                            1     different department other than sales that puts it
 2     Q. Presently you don't recall when that promotion        2     together.
 3       occurred?                                              3   Q. Do you know who would have provided you with that
 4     A. I do not.                                             4     PDF to attach on this e-mail?
 5     Q. Do you know if Reshma was nominated for promotion     5   A. This one came to me from Peter Murphy.
 6       on more than one occasion?                             6   Q. In what role would Peter Murphy have been serving
 7     A. I don't recall.                                       7     in February of 2017?
 8     Q. Let me show you what we'll be marking as              8   A. He would have been area sales director of the East.
 9       Plaintiff's 27. Please just let me know when           9   Q. Can you describe to me the process by which the
10       you've had an opportunity to review this document     10     promotion nomination -- how that works?
11       in full. It is a single-page document,                11   A. Yes. I would put in -- it's at a -- a regional
12       Pacira-1005.                                          12     sales director level where you nominate someone for
13     A. Yes.                                                 13     a promotion that's based on criteria that he or she
14     Q. Have you had an opportunity to review in its         14     meets. And that's submitted through your boss; in
15       entirety what's been marked as Plaintiff's 27?        15     my case, this instance, for Reshma and through Pete
16     A. Yes, I have.                                         16     Murphy.
17     Q. And do you recognize the document that's marked as   17   Q. Understood. And who would have had authority to
18       Plaintiff's 27?                                       18     approve -- or withdrawn.
19     A. I do.                                                19          Who would have had to approve that nomination
20     Q. What do you recognize that document to be?           20     in order for the promotion to take effect?
21     A. It's informing Reshma of a merit increase and a      21   A. It goes through various checks and balances that go
22       promotion.                                            22     all the way up through the executive leadership
23     Q. And does this refresh your recollection as to when   23     team.
24       Reshma was promoted from surgical account             24   Q. When you say "executive leadership team," are there
25       specialist to senior surgical account specialist?     25     certain individuals which comprise that team?
                                                   Page 27                                                      Page 29
 1     A. Yes, it does.                                         1   A. There are. Generally speaking, it would have went
 2     Q. And so when would the promotion have taken place?     2     from me to Pete, through the VP of sales;
 3     A. It was based on -- having read this now, it was       3     potentially chief commercial officer, if there was
 4       based -- it would have been based on 2016. The         4     one at the time; and ultimately, I believe, as far
 5       promotion went into effect 2017.                       5     as I know, CEO even has ultimate -- at least -- I
 6     Q. And Plaintiff's 27, is this a true and accurate       6     don't know if -- ultimate checkoff or he would have
 7       representation of the e-mail correspondence between    7     seen all the -- all the nominations.
 8       yourself and Reshma Abell on February 16th of 2017?    8   Q. As you sit here today, do you recall the amount of
 9     A. Yes.                                                  9     compensation that was attached to the promotion
10     Q. I'd like to draw your attention to the portion of    10     that Reshma received in 2017?
11       this document where it indicates "Attachments" and    11   A. Not that I can recall.
12       then it says "Abell, Reshma_2016 Comp                 12   Q. Do you know if that promotion came with any other
13       Statement.pdf." Do you see that?                      13     variable compensation benefits in addition to an
14     A. Yes.                                                 14     increase in salary?
15     Q. Can you describe to me what that attachment would    15   A. It may have, but not that I can recall offhand.
16       have contained?                                       16   Q. Following that -- withdrawn.
17     A. Yes. That would contain her comp statement that      17         Do you know if this -- the CEO for Pacira is
18       she was awarded based on 2016.                        18     Dave Stack, correct?
19     Q. And can you describe the comp statement? Is it a     19   A. Yes.
20       single page? Multiple pages? Something else?          20   Q. And do you know if Dave Stack signed off on
21     A. It's typically a page. And it goes through any       21     Reshma's promotion in 2017?
22       merit increase and/or promotion that's awarded.       22   A. I do not know.
23     Q. Is that a document that's prepared by human          23   Q. Had you had -- in or around February of 2017, had
24       resources or some other department?                   24     you had any conversations with Dave Stack regarding
25     A. I'm not sure of the department, but it's a           25     Reshma Abell?




                                                                                          8 (Pages 26 to 29)
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                                                   Page 30                                                        Page 32
 1     A. I don't recall.                                        1   A. If my memory serves me right, it was around this
 2     Q. Do you have a recollection of Dave Stack ever          2     time. This is documented February 17th of 2017.
 3       making commentary to the effect that he wished          3   Q. So we just took a look at Plaintiff's 27, which was
 4       there were more sales reps like Reshma on the           4     an e-mail dated February 16th of 2017 which spoke
 5       staff?                                                  5     to Reshma's promotion.
 6     A. Not that I can recall.                                 6         This document is -- Plaintiff's 28 is dated
 7     Q. Do you recall ever being told that he wished that      7     February 17th, the following day, correct?
 8       you could recreate or replicate Reshma?                 8   A. Yes.
 9     A. Not that I can recall.                                 9   Q. And contained within this e-mail -- well,
10     Q. At some point in time, was there discussions          10     withdrawn.
11       between yourself and Reshma concerning a pilot         11         The e-mail that's been marked as
12       program?                                               12     Plaintiff's 28, that was from Reshma to Peter
13     A. Yes.                                                  13     Murphy and yourself, correct?
14     Q. And how did those discussions arise?                  14   A. You cut out there. I think you said from Reshma to
15     A. They were part of her development planning process.   15     me?
16     Q. Do you know when the notion of a pilot program was    16   Q. To Peter Murphy and yourself, correct?
17       first raised?                                          17   A. Yes.
18     A. I don't recall exactly, but it would be after that    18   Q. And is Plaintiff's 28 a true and accurate
19       2017 promotion.                                        19     representation of that e-mail sent from Reshma to
20     Q. Do you know how far after? Would it have been very    20     Peter and yourself on February 17th, 2017?
21       close in time or -- or something else?                 21   A. As far as I know, yes.
22     A. I'm not sure exactly when, but it was kind of a       22   Q. Within the e-mail, there's reference made to a
23       next step after she got promoted.                      23     conversation that took place on February 6th in
24     Q. I'd like to show you what we're going to be marking   24     Nashville. Do you see that in the e-mail?
25       as Plaintiff's 28. This is a single-page document,     25   A. Yes.
                                                   Page 31                                                        Page 33
 1       Pacira-1008. I'll ask that you read through this        1   Q. What -- withdrawn.
 2       document in entirety and let us know when you've        2         Had a national sales meeting taken place in
 3       done so.                                                3     Nashville in 2017?
 4     A. I'm sorry. Can I bother you just to zoom in one        4   A. Yes.
 5       more time, please?                                      5   Q. And would you have had occasion to be present at
 6     Q. No problem.                                            6     that national sales meeting in February of 2017?
 7           MR. STEWART: And off the record.                    7   A. Yes.
 8           (Recess taken 11:00 a.m. to 11:05 a.m.)             8   Q. Was Reshma also present at that meeting?
 9           MR. STEWART: So we'll go back on the record.        9   A. Yes.
10     Q. (BY MR. STEWART) Mr. Reiser, I've asked you to        10   Q. And to your knowledge, was Peter Murphy present at
11       take a look at what's been marked as                   11     that national sales meeting in Nashville?
12       Plaintiff's 28, which is a single-page document        12   A. Yes.
13       Bates stamped Pacira-1008.                             13   Q. And do you recall having a conversation with Reshma
14           Have you had an opportunity to review this         14     in Nashville at the national sales meeting
15       document in its entirety?                              15     concerning her pilot program?
16     A. Yes.                                                  16   A. Yes.
17     Q. And do you recognize Plaintiff's 28?                  17   Q. And what was discussed at that time?
18     A. Yes.                                                  18   A. Similar to what she had here; what she was
19     Q. What do you recognize Plaintiff's 28 as?              19     looking -- how she was looking to carry out the
20     A. Reshma's proposed pilot concept.                      20     pilot.
21     Q. And does this document refresh your recollection as   21   Q. And in the course of the conversation, did you and
22       to when Reshma first raised the proposal concerning    22     Pete support the proposed pilot program?
23       her pilot program?                                     23   A. We did.
24     A. Yes.                                                  24   Q. How did the proposed pilot program develop from
25     Q. And when was that pilot first raised?                 25     this proposal that was sent on February 7th, 2017?




                                                                                            9 (Pages 30 to 33)
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                                                    Page 34                                                      Page 36
 1       What came next?                                         1   Q. What was your role in that process?
 2     A. Yeah, that's where my memory goes a little bit         2   A. As her manager, it was to co-create her development
 3       gray. I forget exactly the chronological order of       3     plan with her.
 4       how things transpired there, because to get the         4   Q. And do you have a recollection of drafting or
 5       pilot lifted, it was a matter of timing, but I just     5     putting together a development plan for Reshma?
 6       don't -- I don't remember exactly what the timing       6   A. That I can remember, I do. Yes.
 7       was.                                                    7   Q. And do you know approximately when that development
 8     Q. Well, taking the timing aside, do you know what the    8     plan first -- was first drafted?
 9       next step was taken by -- by you, Reshma, or Pete       9   A. Not -- not with a particular time stamp, but it's
10       to further the pilot program?                          10     something we generally do with all the employees.
11     A. I remember -- I remember we needed to have            11   Q. And just to follow up on that, are development
12       discussions with leadership to gain their approval.    12     plans put together for every employee within
13       I just don't remember exactly what the time frame      13     Pacira, or is it only at certain intervals when an
14       was.                                                   14     employee -- when it seems appropriate for a given
15     Q. I just had a couple of questions about some of the    15     employee?
16       acronyms contained within this e-mail. I'd like to     16   A. No. It's -- it's part of their -- their annual --
17       draw your attention to Plaintiff's 28 and the          17     it's connected to -- it runs -- it runs in line
18       paragraph that begins with "This idea came about."     18     with the performance review, there's also a
19       And there's the acronym "KOLs" on the second line.     19     development plan.
20       Do you see that?                                       20   Q. Are development plans done every year?
21     A. Yes.                                                  21   A. Yes.
22     Q. What does "KOLs" stand for?                           22   Q. I'd like to show you what we're going to be marking
23     A. Key opinion leaders.                                  23     as Plaintiff's 29. It's a two-page document,
24     Q. And is that a term of art? Is that a term that you    24     Pacira 1081 and 1082. The same as before, just let
25       use within the industry?                               25     me know when you've had an opportunity to review.
                                                    Page 35                                                      Page 37
 1     A. Yes.                                                   1   A. I did.
 2     Q. And what does that mean?                               2   Q. And the second page now.
 3     A. Those are customers that are influencers.              3   A. Okay. I'm at the "Pilot" with the bullet. Okay.
 4     Q. In the world of pharmaceutical sales, are there        4   Q. Have you had an opportunity to read Plaintiff's 29
 5       certain customers that have, I guess, the effect of     5     in its entirety?
 6       influencing other customers nationwide?                 6   A. Yes.
 7     A. Generally speaking, these are well-respected           7   Q. Do you recognize what is marked as Plaintiff's 29?
 8       within -- within their specialty. These are folks       8   A. Yes.
 9       that are thought leaders.                               9   Q. What do you recognize Plaintiff's 29 to be?
10     Q. The acronym "NASA," also contained in                 10   A. An e-mail between Pete and I, Pete Murphy and I.
11       Plaintiff's 28, can you describe to us what that       11   Q. And the second page of this exhibit, is that the
12       means or what that abbreviation represents?            12     attachment from that e-mail, which is labeled as
13     A. It represents our national account team.              13     "2017 Development Plan.docx"?
14     Q. At some point in time did you -- withdrawn.           14   A. As far as I can tell, yes.
15            Did Pacira have a process by which they put       15   Q. And is Plaintiff's 29 a true and accurate
16       together development plans?                            16     representation of the e-mail exchange between
17     A. Yes.                                                  17     yourself and Peter Murphy from April 18th of 2017?
18     Q. And what is a development plan within the context     18   A. Yes.
19       of Pacira?                                             19   Q. And is the second page of this exhibit,
20     A. It's a plan to develop skills necessary to further    20     Plaintiff's 29, a true and accurate representation
21       someone's career, whether that's in their current      21     of the attachment to that e-mail?
22       role and/or for potential of other roles.              22   A. Yes.
23     Q. Did you play any part in putting together a           23   Q. Just drawing your attention to the second page of
24       development plan with respect to Reshma Abell?         24     the exhibit. First, a couple of questions about
25     A. Yes.                                                  25     the abbreviation at the top where it says "ST




                                                                                          10 (Pages 34 to 37)
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                                                   Page 38                                                       Page 40
 1       Area."                                                  1     one -- one of those things. So it would -- it
 2           What does that "ST" abbreviation stand for          2     would be Pete's boss as a -- as a starting point.
 3       there?                                                  3   Q. And so where you just indicated that the next step
 4     A. The "ST" would be soft tissue.                         4     would have been to gain the approval of leadership,
 5     Q. And in the context of this development plan, what      5     would Pete Murphy have been the first person on
 6       does -- "ST," or soft tissue "Area/National             6     that leadership -- on the list of leaders that
 7       Expert," what does that mean?                           7     would have had to approve this moving forward?
 8     A. In the reference of this document, it's describing     8   A. Yes.
 9       kind of her role -- what her role would be.             9   Q. And then, after obtaining Pete's endorsement, were
10     Q. And did you author any portion of this development    10     there other individuals that also would have had
11       plan?                                                  11     to, to use your words, green light it to move
12     A. What do you mean by -- by "author"?                   12     forward?
13     Q. I mean did you -- did you draft or type some of the   13   A. Yes.
14       words that are contained in here? Did you prepare      14   Q. And who else, aside from Pete Murphy, would have
15       this document in its entirety? Or something else?      15     had to give the green light for the pilot program
16     A. Most of it came from Reshma, but I -- I helped put    16     to go forward?
17       some of it together, yes, or package it.               17   A. If my memory serves me right, I think ultimately
18     Q. And did you review this document before it was        18     this went to Dave Stack even.
19       forwarded on to Pete Murphy?                           19   Q. And do you recall, did Dave Stack authorize the
20     A. Yes.                                                  20     pilot program to go forward?
21     Q. And were you in support of this development plan      21   A. If my memory serves me right, I think we were
22       when you sent it to Pete Murphy?                       22     nearing that point. We were getting there.
23     A. Yes.                                                  23   Q. Did the pilot program ever move forward such that
24     Q. Can you describe what the -- what the goal was or     24     Reshma performed some of the tasks described in
25       what the development plan sought to accomplish?        25     this development plan?
                                                   Page 39                                                       Page 41
 1           MR. PANZINI: Object to form.                        1   A. As far as I can remember, I do recall there was one
 2           Go ahead.                                           2     or two or a couple of -- of field rides that she
 3     A. Yes. It's in context to a time within the company      3     did to do a proof of concept for this pilot. That
 4       where a lot of our business was in orthopedics, and     4     part, yes.
 5       we were trying to transition or take on or develop      5   Q. Was it the design of this development plan that
 6       more business in what's labeled here, soft tissue       6     Reshma would ultimately receive a promotion into a
 7       and anesthesiology.                                     7     new position if the pilot succeeded?
 8     Q. And how was the pilot program supposed to have         8   A. As far as I can recall, potentially, yes.
 9       worked?                                                 9   Q. And what would -- that position which Reshma sought
10           MR. PANZINI: Object to form.                       10     the promotion to, what would have been the title of
11           Go ahead.                                          11     that position?
12     A. As it's stated here, she was going to be a resource   12   A. That, I don't recall.
13       to take best practices that she developed in soft      13   Q. Do you have a recollection of discussing the
14       tissue and bring others along and work with them in    14     position of a director of post-op pain management?
15       their territories to do so.                            15   A. Not that I can recall. I don't remember
16     Q. After the development plan was put together, what     16     specifically speaking of a title.
17       was the next step in the process of moving the         17   Q. What is -- within Pacira, what is the Ali Baba
18       pilot program forward?                                 18     group?
19     A. The next step was gaining the green light from --     19   A. That was the group by its reference of -- it was a
20       from leadership.                                       20     group of -- I believe it was around 30 people, give
21     Q. And when you say "leadership," are there certain      21     or take, that were invited to the Ali Baba group,
22       individuals that you're referring to?                  22     which was to determine how to move things forward,
23     A. If my memory serves me right, this was at the time    23     of which this was one particular item that came
24       where there was a group of -- of folks that were       24     about.
25       exploring different things we could do. This was       25   Q. Were you a member of the Ali Baba group?




                                                                                          11 (Pages 38 to 41)
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                                                   Page 86                                                        Page 88
 1       business plan.                                          1     know exactly.
 2     Q. And so the top header of the e-mail is from Reshma     2   Q. From your vantage point, there was certain
 3       to herself, but it's a forward of an e-mail from        3     approvals that were still needed from the
 4       February 4th, 2018, correct?                            4     leadership team?
 5     A. Yes.                                                   5   A. Yes.
 6     Q. And as an attachment to that e-mail, there is a        6   Q. And that would have included Dave Stack and you're
 7       PowerPoint slideshow, correct?                          7     not sure exactly who else?
 8     A. Yes.                                                   8   A. I'm not sure, yes.
 9     Q. And before today, had you ever seen that PowerPoint    9   Q. Do you recall, was there a -- withdrawn.
10       slideshow?                                             10         Did Pacira host a national sales meeting in
11     A. I believe Pete shared it with me. Yes.                11     2018?
12     Q. And when you say "Pete," you're referring to Pete     12   A. Yes.
13       Murphy, correct?                                       13   Q. Do you know where that national sales meeting was
14     A. Sorry. Yes, Pete Murphy.                              14     held?
15     Q. And what was the context in which Pete shared this    15   A. I got confused when you mentioned Nashville
16       slideshow with you?                                    16     earlier, so I forget where the 2018 was. Might
17     A. It was at this point within this pilot that they      17     have been Florida.
18       were looking to put something together formally in     18   Q. And do you remember the dates on which that
19       terms of a position opportunity. And it was at         19     national sales meeting in 2018 was held?
20       that point where I was -- not purposely, but I was     20   A. I'd have to look it up.
21       kind of out of the loop, and it was something that     21   Q. I'd like to show you a document that we marked at a
22       Pete was working more directly with Reshma on.         22     prior deposition as Plaintiff's 20. This is an
23     Q. In terms of the timeline, would -- would this be      23     eight-page document Bates stamped beginning
24       consistent with the e-mail where it's indicated        24     Pacira-001546.
25       February 4th of 2018? Is that your recollection of     25   A. Yes.
                                                   Page 87                                                        Page 89
 1       when you would have viewed this slideshow               1   Q. Does this document refresh your recollection with
 2       presentation?                                           2     respect to where the 2018 national sales meeting
 3     A. Yes.                                                   3     was held?
 4     Q. And it would have been around that time where the      4   A. It does.
 5       development of the pilot program -- your role had       5   Q. And it was in Orlando, Florida, correct?
 6       then been less and Pete was taking more of the lead     6   A. Correct.
 7       on that; is that fair?                                  7   Q. And that meeting was held between February 11th,
 8     A. That's fair, yes.                                      8     2015 -- withdrawn.
 9     Q. And does -- Plaintiff's 21, does this refresh your     9         The meeting was held between February 11th
10       recollection about whether or not the title of         10     and February 15th of 2018, correct?
11       director of post-op pain management had ever been      11   A. Correct.
12       discussed concerning Reshma's position?                12   Q. Were you physically present at that meeting?
13     A. Yeah. I think in this instance, that's why, 'cause    13   A. Yes.
14       at that point, I was still -- you know, Pete came      14   Q. And do you recall when you first arrived in Orlando
15       to me probably as a second set of eyes and ears,       15     for that meeting?
16       but they were working more directly. But, yeah,        16   A. I believe, to the best of my recollection, I would
17       that's why it wasn't a recollection at that time.      17     have arrived earlier than the 11th. So probably
18     Q. And do you know what, if anything, was needed in      18     that -- that Saturday, the 10th.
19       order for the pilot program to take the next steps     19   Q. Did you have any -- withdrawn.
20       to finalize and formalize that title?                  20         Within the context of the national sales
21            MR. PANZINI: Object to form.                      21     meeting, did you have any duties or
22            Go ahead.                                         22     responsibilities or roles that you had to fulfill?
23     A. I'm not totally sure, but I think that was            23   A. Yes.
24       something Pete was working on with -- with other --    24   Q. And what were some of the -- what were some of
25       other departments and/or Dave. I don't -- I don't      25     those responsibilities that you had for the meeting




                                                                                          23 (Pages 86 to 89)
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                                                   Page 90                                                      Page 92
 1       specifically?                                          1     and that Pete reinforced it, what was that plan
 2     A. Different -- lead on different workshops. There       2     you're referencing?
 3       might have been times that, you know, there's --       3   A. That's where I -- you know, I was out of the loop a
 4       you do so many of these, you confuse them at times.    4     little bit. But we had talked about when -- and
 5       But might have been speaking engagements on -- on      5     I'm not even sure -- I think it was Dave, but who
 6       main stage, workshop facilitation, things of that      6     he had to speak to to get this thing green lighted.
 7       nature.                                                7   Q. And when you say "this thing," you mean the
 8     Q. And I'd like to just give you a chance to scroll      8     promotion to the new title of director of post-op
 9       through this national sales meeting agenda in          9     pain management, correct?
10       detail. So I'll zoom in, and you can just let me      10   A. I think so. I think that's what they were looking
11       know to move through at your leisure.                 11     to do.
12     A. Okay. Okay. Okay. Okay. Okay. Okay. Okay.            12   Q. And was it your expect- -- withdrawn.
13     Q. So I'd like to draw your attention to the portion    13          Was it part of the plan that Reshma would
14       of Plaintiff's 20 which focuses on the tentative      14     present the document we looked at at Plaintiff's 21
15       agenda at the bottom of 1546 and the top of 1547.     15     to Dave in order to explain to him the role that
16           Do you recall having any meetings or              16     she was seeking?
17       conversations with Reshma in Orlando, Florida,        17   A. I don't know if that would have been her or that
18       before the welcome dinner at 6:30 p.m. on             18     would have been Pete Murphy or both.
19       February 11th, 2018?                                  19   Q. Was it your understanding that, upon receiving Dave
20     A. Yes.                                                 20     Stack's approval, that the position would be
21     Q. And what do you recall?                              21     finalized?
22     A. She, Pete, and I met in the lobby of the hotel       22   A. As far as I know, yes; but, like, again I said, I
23       before anything officially started from the           23     was somewhat disconnected at this point.
24       meeting -- or the meeting agenda.                     24   Q. Referencing -- referring to the top of 1547 there,
25     Q. Do you know what date that meeting took place?       25     which is the continuation of Tuesday,
                                                   Page 91                                                      Page 93
 1       Would that have been on the 11th?                      1     February 13th, 2018's, agenda. There's an
 2     A. I believe it would have been on the 11th, yes.        2     indication regarding "Night on Own" next to a
 3     Q. Do you know approximately how long that meeting       3     bullet point. And then there's an indication
 4       lasted?                                                4     "Women in Leadership Event."
 5     A. I don't remember. I'd say 15 minutes, maybe half      5          What did you understand "Night on Own" to
 6       an hour.                                               6     mean on the agenda?
 7     Q. Do you recall what was discussed during that          7   A. That there wasn't -- there weren't any agenda items
 8       meeting?                                               8     for the night, so people could do as they see fit
 9     A. I'm sorry. I didn't hear you.                         9     if they're so inclined to.
10     Q. Do you recall what was discussed during that         10   Q. And what did you understand the "Women in
11       meeting?                                              11     Leadership Event" to mean in that agenda item?
12     A. Yes.                                                 12   A. That was an event that was taking place that
13     Q. And what do you -- what was discussed at the         13     Tuesday evening, as well. And it was all around
14       meeting?                                              14     women in leadership, empowerment, et cetera.
15     A. She was -- Reshma wanted to discuss this pilot,      15   Q. Did you attend the Women in Leadership Event?
16       which there was already a plan in place for. And      16   A. I did not. I was working on -- I forget what it
17       so Pete reinforced what that -- what that was.        17     was for the meeting. Because I only remember this
18            And we also encouraged her to show her best      18     'cause Vaughn and I, who was my counterpart out
19       at this meeting, so attend all -- everything that     19     West, were late to a dinner that we were going --
20       she's supposed to, get there on time, be engaged,     20     that we were going to because we had to finish some
21       be positive; that, you know, she was very much on     21     stuff.
22       display given that she was on the cusp of -- of       22          But we had some sort of debrief that
23       this new opportunity. That was the general gist of    23     something happened at the meeting that we had to --
24       the meeting.                                          24     we had to do some work on one -- I forget which
25     Q. And when you said that there was a plan in place     25     agenda item it was, one of the workshops or




                                                                                         24 (Pages 90 to 93)
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                                                   Page 94                                                      Page 96
 1       something.                                              1     Tuesday night on your own.
 2     Q. Do you know, was the women's leadership event a        2   Q. Were you -- withdrawn.
 3       by-invitation event or an open event, an optional       3          Do you know who coordinated or put together
 4       event, or something else?                               4     the Topgolf event?
 5           MR. PANZINI: Object to form.                        5   A. It was two regions. One was Rob Rock. And the
 6     A. I believe it was optional.                             6     other, I believe, was Gio Vendemia.
 7     Q. You had mentioned earlier that you had                 7   Q. And both of those regional directors would have
 8       encouraged -- that you and Pete had encouraged          8     been under your purview as the area director,
 9       Reshma to attend what she was supposed to attend.       9     correct?
10       Was she -- was the women's leadership event one of     10   A. Yes.
11       the things that Reshma was supposed to attend?         11   Q. Did these regional directors discuss the Topgolf
12     A. I don't know that that -- I don't recall that event   12     event with you before planning it?
13       being a mandatory one.                                 13   A. Yes.
14     Q. From your perspective of Reshma being on display      14   Q. When were you first approached or when were you
15       and being put up for a promotion, was it inferred      15     first made aware of their intent to plan this
16       that she should have been attending this Women in      16     event?
17       Leadership Event?                                      17   A. If my memory serves me right, it was before the
18     A. Not that I can recall.                                18     meeting, because I don't know if -- I think it was
19     Q. Do you know if Reshma, in fact, attended the Women    19     Gio that questioned -- because he had to make a
20       in Leadership Event?                                   20     reservation for it, and it was on their own, so he
21     A. I'm not sure. I don't think she did, or she didn't    21     just wanted to make sure that this would be
22       attend the whole event.                                22     something that people could use their -- their --
23     Q. Do you know who was in charge of or -- or --          23     their -- that they could budget for within their
24       withdrawn.                                             24     T&E.
25           Do you know who put together the Women in          25          (Court reporter requested clarification.)
                                                   Page 95                                                      Page 97
 1       Leadership Event?                                       1          THE WITNESS: Travel and expenses, just the
 2           MR. PANZINI: Object to form.                        2     normal way they would budget a dinner.
 3           Go ahead.                                           3   Q. (BY MR. STEWART) Was permission sought from you so
 4     A. I think the corporate sponsor for it was Kristin       4     that this event could be scheduled?
 5       Williams.                                               5   A. I guess indirectly. It wasn't -- it wasn't -- it
 6     Q. Was Joyce Davis involved in the coordination or        6     was more of a heads-up that this is something they
 7       planning of the women's leadership event?               7     were planning. And -- 'cause there wasn't any --
 8     A. She could have been. I -- I don't remember.            8     you know, I wouldn't tell them they could or
 9     Q. At some point in time, were you made aware of an       9     couldn't do something like that.
10       event taking place at a Topgolf facility?              10          I think it was more from the standpoint of --
11     A. Yes.                                                  11     I guess the permission was around making sure it
12     Q. And that was happening during the national sales      12     fell within the guidelines of what people could
13       meeting down in Florida in February of 2018?           13     budget their travel and expenditures towards. So
14           MR. PANZINI: Object to form.                       14     that, yes.
15           THE WITNESS: Can I still answer?                   15   Q. Were you made aware about the total number of
16           MR. PANZINI: Yeah. Go ahead. I'm sorry.            16     anticipated participants?
17       Unless I tell you don't answer, just go ahead and      17   A. I think I was in terms of -- 'cause whatever Gio
18       just answer.                                           18     was talking about, there had to be a deposit. And
19           THE WITNESS: Got it.                               19     so they had to guarantee a certain amount or
20     A. Yes, I am aware of a Topgolf event that a couple      20     something like that.
21       regions were putting together.                         21   Q. And do you know how many people were -- planned to
22     Q. Do you know why the Topgolf event is not listed on    22     attend the Topgolf event?
23       the agenda here?                                       23   A. I don't remember, but at least two regions' worth
24     A. It wasn't a -- yes. It wasn't a formal event.         24     of number, I'd say. I don't know exactly, but I
25       This was -- I believe that one happened that           25     mean, there were two regions that were doing it.




                                                                                         25 (Pages 94 to 97)
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                                                   Page 98                                                     Page 100
 1       That gives you a kind of a guesstimate.                 1     range that has a gaming to it and targets. And
 2     Q. Do you know if this event was planned as an invite     2     they also have food and refreshments, as well.
 3       only event?                                             3   Q. And the facility that you had -- that the event
 4     A. No. Not that I'm aware of.                             4     took place at in Florida, was it -- was it one
 5     Q. Were you personally invited to attend the event?       5     level, two levels, three levels, or something else
 6     A. He asked -- I remember Gio asked me if I -- if I       6     in terms of the number of floors that the facility
 7       wanted to go. I told him I'd definitely stop by.        7     consisted of?
 8       Now, the only -- it wasn't necessarily that I           8   A. It was at least -- there were two levels that I
 9       remember an invite, but like I said, they had to        9     remember.
10       guarantee a certain amount of people going. And        10   Q. Is the facility indoors or outdoors?
11       then there would be probably a limit of -- of how      11   A. Both.
12       many people it could have been or not based on         12   Q. At some point in time, did you come to learn about
13       Topgolf.                                               13     an altercation between Reshma and Rob Rock that
14     Q. At some point in time, did you arrive at the          14     transpired at the Topgolf event?
15       Topgolf event?                                         15   A. I did.
16     A. Yes.                                                  16   Q. And when was it that you -- withdrawn.
17     Q. Do you recall, did the event take place in the        17         Were you present when that occurrence
18       afternoon, the evening, or something else?             18     transpired?
19     A. It was evening, dinnertime.                           19   A. No. I believe I came in after it happened.
20     Q. Do you know what time you arrived at the Topgolf      20   Q. And how did you first come to learn of this
21       event?                                                 21     occurrence between Rob and Reshma?
22     A. I don't remember exactly, but it was already going    22   A. I'd gotten there and, if I remember correctly,
23       on.                                                    23     Reshma was seated at a table and she was
24     Q. And so other Pacira employees were already present    24     emotionally distraught. So I -- if I remember
25       at Topgolf when you arrived?                           25     right, then I approached her to find out what --
                                                   Page 99                                                     Page 101
 1     A. Yeah. Like I mentioned earlier, my counterpart and     1     what was going on.
 2       I had some stuff we had to do for the meeting, and      2   Q. And what did Reshma tell you when you approached
 3       then we -- we went together late.                       3     her?
 4     Q. And did you take an Uber or a cab to the Topgolf       4   A. This isn't verbatim; it's best as I can recall.
 5       event?                                                  5     But she talked about how they were trying to
 6     A. Yes.                                                   6     blackball her from coming here and she wasn't
 7     Q. And did you ride in the cab with your -- withdrawn.    7     invited and this is a guys only event.
 8            Is your counterpart you're referring to, is        8         And she got here and her and Rob had a fight.
 9       that the West area director, Vaughn Schouten?           9     And I forget exactly -- exactly what the fight was
10     A. Yes.                                                  10     around, but it -- I guess the context of it anyway
11     Q. And did you arrive in the cab at the same time as     11     was her, in her mind, in her perception, that this
12       Vaughn did?                                            12     was some sort of guys only event.
13     A. Yes. We took the cab together.                        13         And she did mention something to the effect
14     Q. Do you recall approximately how long you remained     14     that he said, Shouldn't you be at the -- the Women
15       at the Topgolf event for?                              15     in Leadership Event, or something like that,
16     A. I don't remember for exactly how long. I'm            16     according to her. I remember that.
17       guessing hour, hour and a half.                        17   Q. Do you remember the other individuals -- the other
18     Q. Do you recall who you left the event with?            18     Pacira employees that were present at the Topgolf
19     A. I -- I don't -- I believe I left with Vaughn, but I   19     event on that evening?
20       don't -- I don't remember for sure, but I -- I         20   A. They were mostly from both of those regions, but I
21       think so.                                              21     don't remember in particular everyone specifically
22     Q. And can you describe to me what Topgolf is?           22     who might have been there.
23            MR. PANZINI: Object to form.                      23   Q. Do you know if Rob Rock was there?
24            But go ahead.                                     24   A. Yes.
25     A. Yeah. It's a -- it's a -- kind of a golf driving      25   Q. What about Isaac Smolko?




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          EXHIBIT 8
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                             EMPLOYEE HANDBOOK




                              PACIRA
                               PHARMACEUTICALS,                       INC.




                                                                 January 2017
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                                                                                                PACIRA
                                                                                                PHARMACEUTICALS, INC.



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                                                                                      PACIRA
                                                                                      PHARMACEUTICALS, INC.



  Welcome to the Pacira Pharmaceuticals, Inc., Team!

   You have joined an organization that values teamwork, accountability and a passion for doing
   the right thing. We expect to succeed in our endeavors, and our environment supports and
   empowers employees to perform at their best. We encourage and applaud innovation,
   creativity and initiative. We walk our talk here.

   At Pacira, we strive to create value efficiently through high-end, innovative products and
   knowledge of the acute care market, all within a culture that attracts hardworking and
   passionate people who are dedicated to serving our customers.

   We hope that, as a new Pacira employee, you will find this Employee Handbook a useful tool. It
   has been designed to provide answers to many of your questions about our company policies
   and preferred behaviors.

   If you have any questions or need additional clarification, please feel free to ask your manager
   or any member of the Human Resources team.

   We are pleased to have you with us here at Pacira where we take care of our customers, we
   take care of each other and we have fun!

   Dave Stack
   Chief Executive Officer
   Pacira Pharmaceuticals, Inc.




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                                                                                     PHARMACEUT ICALS, INC.




   Pacira Pharmaceuticals has a number of corporate policies that provide a framework of what
   employees can expect from the Company as well as what the Company expects from its
   employees.

   This Employee Handbook ("Handbook") provides summaries of many of our policies in an easily
   understood, user-friendly way. The policies in this Handbook are guidelines only and are subject
   to change from time to time at the discretion of Pacira to address changes in the law or
   changing business needs. Additionally, this Handbook is not a contract for employment, either
   expressed or implied. It is our hope that this Handbook will serve as a resource to answer your
   questions about policy areas and serve as a guideline for the equitable implementation of
   benefits that many of these policies offer.

   Of course, if you have any questions about these policies or anything contained in the Pacira
   Pharmaceuticals Handbook, please do not hesitate to contact your Human Resources
   representative for clarification.

   We recognize that you have options regarding where you work — we are glad you have chosen
   to work for Pacira!

   Rich Kahr
   Vice President
   Human Resources
   Pacira Pharmaceuticals, Inc.




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                                                                                  PACIRA
                                                                                  PHARMACEUTICALS, INC.



   Introduction

  This Handbook explains the Pacira Human Resources policies as well as the specific
  opportunities and responsibilities that exist for you within our company. All previously issued
  Handbooks and any inconsistent policy statements — oral or written — are superseded by this
  Handbook. The Company reserves the right, at any time, to revise, delete or add to any and all
  policies, procedures, work rules, or benefits stated in this Handbook. Any changes to this
  Handbook will be communicated to all employees so that employees will be aware of the new
  policies or procedures. No oral statement or representation can, in any way, change or alter
  the provision of this Handbook.

  Nothing in this Handbook or in any other personnel document creates or is intended to create
  a contract, promise or representation of continued employment for any employee. No
  supervisor or manager has any authority to enter into a contract of employment, expressed or
  implied, with any employee. Only the Chief Executive Officer (CEO) of the Company has the
  authority to enter into an employment agreement, and then only in writing. Any binding
  commitments regarding your employment being anything other than at will must be in writing
  and signed by the CEO of the Company.

  Not all Company policies and procedures are set forth in this Handbook. These policies will be
  reasonably interpreted in light of our varied work schedules in our manufacturing operations.
  We have summarized many of the more important and significant policies here. If you have any
  questions or concerns about this Handbook or any other policy or procedure, please ask your
  manager or a member of the Human Resources team.


  Employment at Will

  Employment at Pacira Pharmaceuticals is at will. This means that employment with the
  Company may be terminated for any or no reason, with or without cause or notice, at any time
  by you or the Company.

  Changes that may occur during employment over time, such as performance evaluations,
  changes in compensation, receipt of bonuses, promotions or other changes, will not change the
  at-will nature of employment at Pacira Pharmaceuticals and will not create any implied promise
  of continuing employment. Nothing in the Handbook is meant to change the at-will nature of
  employment with the Company, which is and will remain at will.

                                                 3


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                                                                                        PACIRA
                                                                                         PHARMACEUTICALS, INC.



  Code of Business Conduct and Ethics

   Pacira Pharmaceuticals has adopted a Code of Business Conduct and Ethics (the "Code") to
   promote honest and ethical conduct, including fair dealing and the ethical handling of conflicts of
   interest; promote full, fair, accurate, timely and understandable disclosure in the periodic
   reports required to be filed by the Company; promote compliance with applicable laws and
   governmental rules and regulations; ensure the protection of the Company's legitimate business
   interests, including corporate opportunities, assets and confidential information; and deter
   wrongdoing. All employees of the Company are expected to be familiar with the Code and to
   adhere to those principles and procedures set forth in the Code.

   Any questions regarding how this Code should be interpreted or applied should be addressed
   to the employee's manager, the Compliance Department or the Vice President of Human
   Resources. Contact can also be made through our Confidential Hotline at 800-799-6371. Please
   refer to the Pacira Pharmaceuticals, Inc., Code of Business Conduct and Ethics for more
   detailed information.


  Non-Retaliation and Hotline Policy

   Consistent with applicable laws and regulations, any employee who has a Good Faith belief that
   any other employee or representative of the Company has engaged in or is engaging in conduct
   that violates applicable law or any Company policies may report such conduct openly or
   anonymously without fear of retaliation.

   •   To act in "Good Faith" means that you have given specific information regarding an activity
       or practice that you reasonably believe to be a violation of law or Company policy and
       which is provided without malice or consideration of personal benefit.

   •   While complaints may be made anonymously, and no attempt will be made to identify the
       person who raised the issue, the Company cannot guarantee anonymity with regard to a
       Good Faith report of any violation, if there is an investigation. Only the fewest number of
       people required to investigate and resolve an issue will be informed of the report and every
       effort will be made to keep it confidential, however, the Company cannot guarantee
       confidentiality, as the Company may need to disclose certain information in connection with
       any investigation, and as may be required by applicable law or regulation.

   Employees should familiarize themselves with the Company's bulletin boards that may, in
   certain jurisdictions, include notices relating to protections available for reporting certain
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   occurrences concerning the workplace, including, for New Jersey employees, the Conscientious
   Employee Protection Act (CEPA).
   Employees wishing to make a Good Faith report should notify a member of the Human
   Resources team, the Legal Department or the Executive Director of Compliance. In addition,
   employees may make anonymous reports through our Confidential Hotline at 800-799-6371 or
   email ethics pacira.com or compliance@pacira.com. Please note that while you have the right
   to make anonymous reports, doing so may deprive the Company of its best opportunity to fully
   investigate the report.

  This Non-Retaliation and Hotline Policy is not intended to apply to complaints pertaining to
  sexual and other unlawful harassment. If you believe that you have been subjected to sexual or
  other unlawful harassment or have witnessed or otherwise become aware of such an incident,
  please follow the complaint procedure described in the Company's "Policy Against Sexual and
  Other Unlawful Harassment."


  Equal Employment Opportunity

  The Company provides equal employment opportunities to all employees and applicants for
  employment without regard to race, color, national origin, ancestry, creed, religion, age, sex
  (including pregnancy), affectional or sexual orientation, gender identity or expression, disability
  or atypical hereditary cellular or blood trait, genetic information, marital status, civil union or
  domestic partner status, refusal to submit to a genetic test or make available the results of a
  genetic test to an employer, liability for service in the Armed Forces of the United States,
  veteran status, status as a Vietnam-era or special disabled veteran or any other characteristic
  protected under any applicable federal, state or local law. It is the obligation of every employee
  to adhere to the spirit as well as the letter of these practices. This policy applies to all terms
  and conditions of employment including, without limitation, hiring, placement, promotion,
  termination, lay-off, recall, transfer, leaves of absence, compensation and training.

  The Company will not tolerate discrimination and expressly prohibits any form of unlawful
  employee harassment based on race, color, national origin, ancestry, creed, religion, age, sex
  (including pregnancy), affectional or sexual orientation, gender identity or expression, disability
  or atypical hereditary cellular or blood trait, genetic information, marital status, civil union or
  domestic partner status, refusal to submit to a genetic test or make available the results of a
  genetic test to an employer, liability for service in the Armed Forces of the United States,
  veteran status, status as Vietnam-era or special disabled veteran or any other characteristic
  protected under any applicable federal, state or local law. It is a condition of employment that
  employees cooperate in all of the Company's investigations, including those involving a

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  complaint of unlawful discrimination or harassment. If you believe that you have been subjected
  to unlawful discrimination or harassment or have witnessed such an incident, please follow the
  procedures set forth in the Company's "Policy Against Sexual and Other Unlawful
  Harassment."

  No retaliation will be taken against an employee who makes a good faith report of unlawful
  discrimination or harassment.

  As is true with respect to all other Company policies, violation of this policy will result in
  disciplinary action, up to and including termination.


  Policy Against Sexual and Other Unlawful Harassment

  The purpose of this policy is to maintain a workplace free from unlawful harassment of any kind
  (such as oral, written, visual or electronic) for any reason, including freedom from sexual
  harassment and freedom from other unlawful harassment on the basis of race, color, national
  origin, ancestry, creed, religion, age, sex (including pregnancy), affectional or sexual orientation,
  gender identity or expression, disability or atypical hereditary cellular or blood trait, genetic
  information, marital status, civil union or domestic partner status, refusal to submit to a genetic
  test or make available the results of a genetic test to an employer, liability for service in the
  Armed Forces of the United States, veteran status, status as a Vietnam-era or special disable
  veteran or any other characteristic protected under any applicable federal, state or local law.
  Without limitation, this policy governs conduct in the workplace (including all work-related
  travel) and at any other location where a Company-sponsored event takes place, as well as
  interactions between employees occurring during non-working hours.

  Sexual and other unlawful harassment, whether committed by or against management or fellow
  employees, is strictly prohibited. In addition, the Company will not tolerate sexual and other
  unlawful harassment committed by or against the Company's clients, customers, vendors or
  visitors.


  Definition of Prohibited Conduct

  Sexual harassment
  Unwelcome sexual advances, requests for sexual favors and other verbal, physical or visual
  expressions of a sexual nature may constitute sexual harassment when:


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   a) Submission to or rejection of such advances, requests or conduct is made a term or
      condition of the individual's employment, either explicitly or implicitly;

   b) Submission to or rejection of such advances, requests or conduct is used, either explicitly
      or implicitly, as a basis for employment or compensation decisions affecting the individual;
      or

   c) Such advances, requests or conduct have the purpose or effect of unreasonably interfering
      with an individual's work performance by creating an intimidating, hostile, humiliating or
      sexually offensive work environment.

   While it is difficult to define precisely what types of conduct might constitute sexual
   harassment, examples of prohibited behavior include, without limitation, unwelcome sexual
   advances, requests for sexual favors, obscene gestures, displaying sexually graphic materials,
   sending sexually explicit e-mail or voice mail and other unwelcome verbal or physical conduct
   of a sexual nature, such as uninvited touching or sexually related comments. Depending on the
   circumstance, such conduct also can include sexual or offensive conversation or jokes,
   comments about an employee's or another individual's physical appearance, conversation or
   teasing about one's own or someone else's sex life or other conduct directed toward a person
   because of his/her gender that is sufficiently severe or pervasive to create a hostile work
   environment.

   Other unlawful harassment
  It also is difficult to define precisely what conduct constitutes "other unlawful harassment."
  However, prohibited conduct includes slurs or epithets, threats, derogatory comments,
  unwelcome jokes and teasing, touching and abuse and other kinds of verbal or physical conduct
  that is based on race, color, national origin, ancestry, creed, religion, color, national origin, age,
  sex (including pregnancy) , disability or atypical hereditary cellular or blood trait, genetic
  information, refusal to submit to a genetic test or make available the results of a genetic test to
  an employer, religions, affectional or sexual orientation, gender identity or expression, marital
  status, civil union or domestic partner status, military status or any other characteristic
  protected by applicable federal or state laws.

   Complaint procedures
   If you believe that you have been subjected to sexual harassment or other unlawful harassment
   or have witnessed or otherwise become aware of such an incident, you should consider making
   it clear to the offender that such behavior is offensive, if you are comfortable in doing so. You
   must also immediately notify your supervisor or manager, the Vice President of Human

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   Resources, a member of the Human Resources team or any other member of senior
   management. Managers and supervisors who receive complaints of sexual harassment or other
   unlawful harassment from employees must report such complaints to the Vice President of
   Human Resources or a member of the Human Resources team.

   A complaint of alleged sexual or other unlawful harassment will be investigated promptly.
   Failure to report complaints of unlawful harassment hampers the Company's ability to take
   necessary steps to remedy such situations. It is a condition of your employment that you
   cooperate with all Company investigations. The Company cannot guarantee confidentiality with
   regard to complaints of sexual or other unlawful harassment, as the Company may need to
   disclose certain information in connection with any investigation and corrective measures
   taken. Policy violations will result in appropriate disciplinary action, which may include
   termination of employment. The Company will adopt preventative and corrective actions to the
   extent warranted under the circumstances.

   Prohibition against retaliation
   The Company prohibits any form of retaliation against individuals who, in good faith, report
   unwelcome conduct or who cooperate in the investigation of such reports in accordance with
   this policy. Conversely, a report made in bad faith will subject the reporting individual to
   corrective action, up to and including termination.

   Alleged acts of retaliation should be reported immediately to your supervisor or manager, the
   Vice President of Human Resources, a member of the Human Resources team or any other
   member or senior management. Managers and supervisors who receive complaints of
   retaliation form employees must report such complaints to the Vice President of Human
   Resources or a member of the Human Resources team. Any form of retaliation in violation of
   this policy will result in disciplinary action, up to and including termination.

   Management responsibility
   Each supervisor and manager is responsible for enforcing the Company's Policy Against Sexual
   and Other Unlawful Harassment and maintaining a work environment free from sexual and
   other unlawful harassment. This includes understanding the Company's Policy Against Sexual
   and Other Unlawful Harassment, reporting any complaint of harassment received from an
   employee to the appropriate Company representative, cooperating with investigations into
   reported allegations of sexual and other unlawful harassment and taking the necessary and
   appropriate action when such allegations are substantiated.




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             EXHIBIT 9
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All dates,. in tiVelNyyy. foam*,
By User
UserlDi ReshmaAbell
Include Completions for previous training versions
Current Completions
Include equivalent completions
                        User Id                      Last Name   First Name   Proficiency              Completed On                    Training Cad.                      Training Title                  Course Version       Class Code   Training Type I     Score    Training Status   Equlvflag   Version Status    Completion Status
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/2/2014 09:19:06 AM UTC-04:00    SIS-00040                Pacira Incentive Compensation Plan 2013                             1            1 SLS                 QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       Convention Congress and Symposia Booth
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/25/20140153:24 PM UTC-04:00     SLS-00031                Communications                                                      1            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/25/2014 01:57:01PM UTC-04:00    SLS-00049                2014 Pacira's Incentive Compensation Plan                           1            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/2014 09:59:59 AM UTC-04:00   SLS-00045                EXPAREL — Knowing the Knee —SALES                                   1            1 SLS                 QUALIFIED Enabled                    0 Effective          Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/201410:13:10 AM UTC-04:00    SLS-00044                EXPAREL - Surveying the Shoulder                                    1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/201410:42:27 AM UTC-04:00    SLS-00046                EXPAREL— Honing your Skills on the Hip —SALES                       1            1 SLS                 QUALIFIED Disabled                   0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/201410:4435 AM UTC-04:00     SLS-00047                D(PAREL— Calling in the Reinforcements —SALES                       1            1 SLS                 QUAUFIED Enabled                     0 Effective          Non-Expired
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/26/201411:21:30 AM UTC-04:00    PHSM11                   Physician Payment Sunshine Act                                 1.1               1 EFLEX               QUAUFIED Disabled                    0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/26/201411:21:30 AM UTC-04:00    PHSM11                   Physician Payment Sunshine Act                                      2            1 EFLEX               QUAUFIED Disabled                    1 Retired            Non-Expired
ReshmaAbell                                          Abell       Reshma       QUAUFIED      5/26/201411:25:22 AM UTC-04:00    FIN-00002                MedPro Attendee Lookup in Concur                                    1            1 CD                  QUAUFIED Disabled                    0 Retired            Non-Expired
                                                                                                                                                       Obligation of All Employees to Report Adverse
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/2014 11:26:21AM UTC-04:00    REG-SOP-0029             Events                                                              2            1 CD                  QUAUFIED Disabled                    0 Retired            Non-Expired
                                                                                                                                                       Obligation of All Employees to Report Adverse
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/2014 11:26:21AM UTC-04:00    PCV-SOP-0009             Events                                                              3            1 CD                  QUAUFIED Disabled                    1 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/26/201411:27:22 AM UTC-04:00    QAU-SOP-0012             Handling of Product Complaints                                  12               1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/26/201411:27:45 AM UTC-04:00    REG-SOP-0028             Processing of Medical Information Requests                          4            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/26/20141130:11 AM UTC-04:00     HR-00001                 Pacira's Expense Reimbursement & Travel Policy                      1            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
ReshmaAbell                                          Abell       Reshma       QUAUFIED      5/26/201411:49:03 AM UTC-04:00    FIN-00001                Pacira's Financial Policy Overview                                  2            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
ReshmaAbell                                          Abell       Reshma       QUAUFIED      5/26/201411:49:03 AM UTC-04:00    FIN-00001                Pacira's Financial Policy Overview                                  3            1 CD                  QUAUFIED Enabled                     1 Effective          Non-Expired
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                                                     Abell       Reshma       QUALIFIED     5/26/201411:55:05 AM UTC-04:00    HR-00002                 Pacira - General Employee Handbook                                  1            1 CD                  QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       HIPAA and Privacy Guidelines for Pharmaceutical
ReshmQbell                                           Abell       Reshma       QUALIFIED     5/27/201404:52:38 PM UTC-04:00    PRIVACY02                Sales Representatives                                               2            1 EFLEX               QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       HIPAA and Privacy Guidelines for Pharmaceutical
Reshm               bell                             Abell       Reshma       QUALIFIED     5/27/2014 04:52:38 PM UTC-04:00   PRIVACY02                Sales Representatives                                          2.1               1 EFLEX               QUALIFIED Disabled                   1 Retired            Non-Expired
ReshmaAbell                                          Abell       Reshma       QUALIFIED     5/27/2014 11:29:10 PM UTC-04:00   PHSM09                   Introduction to Pharmaceutical Compliance                           2            1 COT                 QUALIFIED Disabled                   1 Retired            Non-Expired
ReshmRbell                                           Abell       Reshma       QUALIFIED     5/27/201411:29:10 PM UTC-04:00    PHSM09-MOB               Introduction to Pharmaceutical Compliance                           1            1 SCORM               QUAUFIED Disabled                    0 Retired            Non-Expired
ReshmS31bell                                         Abell       Reshma       QUALIFIED     5/27/201411:29:10 PM UTC-04:00    PHSM09                   Introduction to Pharmaceutical Compliance                           3            1 EFLEX               QUAUFIED Enabled                     1 Effective          Non-Expired
Reshmabell                                           Abell       Reshma       QUALIFIED     5/27/201411:51:47 PM UTC-04:00    PHSMO1                   Basics of PhRMA Code                                                2            1 COT                 QUAUFIED Disabled                    1 Retired            Non-Expired
ReshmaAbell                                          Abell       Reshma       QUALIFIED     5/27/201411:51:47 PM UTC-04:00    PHSM01-MOB               Basics of the PhRMA Code                                            1            1 SCORM               QUAUFIED Disabled                    0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/27/201411:51:47 PM UTC-04:00    PHSM01                   Basics of the PhRMA Code                                            3            1 EFLEX               QUAUFIED Enabled                     1 Effective          Non-Expired
ReshmaAbell                                          Abell       Reshma       QUAUFIED      5/28/201412:09:05 AM UTC-04:00    COM-00003                Off-Label Promotion                                                 1            1 CD                  QUAUFIED Disabled                    0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/201412:14:07 AM ITC-04:00    SLS-00014                EXPAREL Product Training— Module 1 AAG Card                         1            1 SLS                 QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       EXPAREL - Module 2 Management of Postsurgical
                                                                                                                                                       Pain: Introduction to Multimodal and Local
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/201412:14:07 AM UTC-04:00    SLS-00070                Anesthesia                                                          1            1 515                 QUALIFIED Enabled                    1 Effective          Non-Expired
                                                                                                                                                       EXPAREL Product Training— Module 2 Table Local
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/28/201412:14:30 AM UTC-04:00    SLS-00017                Anethetics                                                          1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       EXPARELProduct Training— Module 2 Table
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/28/201412:21:09 AM UTC-04:00    SLS-00018                Opiods                                                              1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired

ReshmaAbell                                          Abell       Reshma       QUALIFIED     5/28/2014 12:22:24AM UTC-04:00    SLS-00015                EXPAREL Product Training —Module 2 AAG Card                         1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/201412x24:40 AM UTC-04:00    SLS-00016                EXPAREL Product Training — Module 3 AAG Card                        1            1 SLS                 QUALIFIED Disabled                   0 Retired            Non-Expired

Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/2014 12:33:41AM UTC-04:00    SLS-00019                EXPAREL FAQO for Steadman Hawkins Revised                           1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired
Reshma Abell                                         Abell       Reshma       QUAUFIED      5/28/2014 12:34:11AM UTC-04:00    SLS-00020                Rap Training Presentation                                           1            1 515                 QUALIFIED Disabled                   0 Retired            Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/201412:34:56 AM UTC-04:00    SLS-00021                EXPAREL -TAP Infiltration sheet                                     1            1 RS                  QUALIFIED Disabled                   0 Retired            Non-Expired
                                                                                                                                                       Initial Findings Using EXPAREI, via MAP for
                                                                                                                                                       Postsurgical Analgesia in Robotic Prostatectomy;
Reshma.Abell                                         Abell       Reshma       QUAUFIED      5/28/20141235:29 AM UTC-04:00     513-00022                Stemlicht, Shapiro, et. al.                                         1            1 SLS                 QUALIFIED Enabled                    0 Effective          Non-Expired

                                                                                                                                                       Retrospective Review of EXPAREL in TAP Blocks
                                                                                                                                                       in Hand-Assisted Nephrectomy and Colorectal
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/2014 12:35:54AM UTC-04:00    SLS-00023                Procedures; Kesha, Dunn & Hutchins                                  1            1 DS                  QUALIFIED Enabled                    0 Effective          Non-Expired
                                                                                                                                                       TRANSVERSUS ABDOMINIS PLANE (TAP) BLOCK;
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/20141236:16 AM UTC-04:00     SLS-00024                Mukhatar                                                            1            1 515                 QUALIFIED Enabled                    0 Effective          Non-Expired
Reshma.Abell                                         Abell       Reshma       QUALIFIED     5/28/2014 12:58:21AM UTC-04:00    SLS-00035                EXPAREL Studying the Spine                                          1            1 515                 QUALIFIED Enabled                    0 Effective          Non-Expired
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Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:00:26 AM UTC-04:00    SL5-00048      EXPAREL Reimbursement Guide Training                 1    1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    SLS-00013      EXPAREL Product Training Module 3                    1    1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                     EXPAREL - Module 1 Introduction to Pain
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    SLS-00069      Management and the Hospital Setting                  1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL- Module 4 Management of Postsurgical
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    SLS-00072      Pain: Therapeutic Landscape                          1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 5 (Bupivacaine Liposome
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    SLS-00073      Injectable Suspension)                               1    1 513     QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:06:22 AM UTC-04:00     SLS-00050      EXPAREL Product Training Exam                        3    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    SLS-00050      EXPAREL Product Training Exam                        4    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:06:22 AM UTC-04:00     SLS-00050      EXPAREL Product Training Exam                        5    1 EXAMC   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 5 (Bupivacaine Liposome
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:22 AM UTC-04:00    513-00073      Injectable Suspension)                               2    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:06:51 AM UTC-04:00     513-00011      EXPAREL Product Training Module 1                    1    1 513     QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                     EXPAREL- Module 1 Introduction to Pain
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51 AM UTC-04:00    SLS-00069      Management and the Hospital Setting                  1    1 5L5     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 2 Management of Postsurgical
                                                                                                     Pain: Introduction to Multimodal and Local
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51 AM UTC-04:00    513-00070      Anesthesia                                           1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 4 Management of Postsurgical
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51 AM UTC-04:00    SLS-00072      Pain: Therapeutic Landscape                          1    1 513     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 5 (Bupivacaine Liposome
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51 AM UTC-04:00    513-00073      Injectable Suspension)                               1    1 513     QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:06:51 AM UTC-04:00     S13-00050      EXPAREL Product Training Exam                        3    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:06:51 AM UTC-04:00     513-00050      EXPAREL Product Training Exam                        4    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51AM UTC-04:00     513-00050      EXPAREL Product Training Exam                        5    1 EXAMC   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module S (Bupivacaine Uposome
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:06:51 AM UTC-04:00    SL5-00073      Injectable Suspension)                               2    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    513-00012      EXPAREL Product Training Module 2                    1    1 513     QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                     EXPAREL- Module 1 Introduction to Pain
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    SLS-00069      Management and the Hospital Setting                  1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 2 Management of Postsurgical
    PACIRA - 000030




                                                                                                     Pain: Introduction to Multimodal and Local
Reshrrabell           Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    013-00070      Anesthesia                                           1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL- Module 4 Management of Postsurgical
ReshnAbell            Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    SLS-00072      Pain:Therapeutic Landscape                           1    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL - Module 5 (Bupivacaine Liposome
Reshrtgabell          Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    013-00073      Injectable Suspension)                               1    1 513     QUALIFIED Disabled   1 Retired     Non-Expired
ReshnRAbell           Abell   Reshma   QUAUFIED    5/28/2014 01:08:48 AM UTC-04:00    313-00050      EXPAREL Product Training Exam                        3    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshrgaithell         Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    S13-00050      EXPAREL Product Training Exam                        4    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    513-00050      EXPAREL Product Training Exam                        5    1 EXAMC   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     EXPAREL- Module 5 (Bupivacaine Uposome
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:08:48 AM UTC-04:00    SLS-00073      Injectable Suspension)                               2    1 SLS     QUALIFIED Enabled    1 Effective   Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201401:46:25 AM UTC-04:00     PHSM07         Interactions with Healthcare Professionals —Field   1.2   1 CBT     QUALIFIED Disabled   0 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 01:46:25 AM UTC-04:00    PHSM07         Interactions with Healthcare Professionals —Field    2    1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201403:26:25 AM UTC-04:00     513-00050      EXPAREL Product Training Exam                        1    1 EXAMC   QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 03:26:25 AM UTC-04:00    SLS-00051      EXPAREL Product Training Certification               1    1 FORM    QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/2014 03:26:25 AM UTC-04:00    51S-00050      EXPAREL Product Training Exam                        2    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201403:26:25 AM UTC-04:00     SLS-00050      EXPAREL Product Training Exam                        3    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201403:26:25 AM UTC-04:00     513-00050      EXPAREL Product Training Exam                        4    1 EXAMC   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   5/28/201403:26:25 AM UTC-04:00     513-00050      EXPAREL Product Training Exam                        5    1 EXAMC   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     Obligation of All Employees to Report Adverse
Reshma.Abell          Abell   Reshma   QUALIFIED   7/3/2014 08:27:01PM UTC-04:00      PCV-SOP-0009   Events                                               4    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                     Obligation of All Employees to Report Adverse
Reshma.Abell          Abell   Reshma   QUALIFIED   7/3/2014 08:27:01PM UTC-04:00      PCV-50P-0009   Events                                               5    1 CD      QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/11/2014 09:58:58 AM UTC-04:00   LAVO8          Sexual Harassment Awareness for Employees           1.4   1 CBT     QUALIFIED Disabled   0 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/11/201409:58:58 AM UTC-04:00    LAVO8          Sexual Harassment Awareness for Employees            2    1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUAUFIED    10/11/201409:58:58 AM UTC-04:00    LAV08          Sexual Harassment Awareness for Employees           2.1   1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/11/201409:58:58 AM UTC-04:00    LAVO8          Sexual Harassment Awareness for Employees           2.2   1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                     Certification - Promotional and Non Promotional
Reshma.Abell          Abell   Reshma   QUALIFIED   10/14/201407:09:45 PM UTC-04:00    513-00053      Items                                                1    1 CD      QUALIFIED Enabled    0 Effective   Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   11/21/2014 11:47:22 AM UTC-05:00   EHS09          Bloodborne Pathogens — Healthcare Workers            3    1 CBT     QUALIFIED Disabled   0 Retired     Non-Expired
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Reshma.Abell           Abell   Reshma   QUALIFIED   11/21/2014 11:47:22 AM UTC-05:00   EliS09                    Bloodborne Pathogens — Healthcare Workers         3.1   1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
                                                                                                                 Unrestricted ))EXPAREL Publications (Guidance
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:38:46 AM UTC-05:00    SLS-00056                 for Field Teams)                                   1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 Medical Use OnlyBEXPAREL° Publications
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:39:06 AM UTC-05:00    SLS-00058                 (Guidance for Field Teams)                         1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 Guidance for Field Teams (Guidance for Field
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:39:31 AM UTC-05:00    SLS-00057                 Teams)                                             1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:42:47 AM UTC-05:00    SLS-00060                 Pacira Grant Policy                                1    1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:43:13 AM UTC-05:00    QAU-SOP-0012              Handling of Product Complaints                    13    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:43:13 AM UTC-05:00    QAU-SOP-0012              Handling of Product Complaints                    14    1 CD      QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   12/2/2014 09:43:13 AM UTC-05:00    QAU-SOP-0012              Handling of Product Complaints                    15    1 CD      QUALIFIED Disabled   1 Retired     Non-Expired
                                                                                                                 Obligation of All Employees to Report Safety
Reshma.Abell           Abell   Reshma   QUALIFIED   4/4/201507:53:32 AM UTC-04:00      PCV.S0P-0009              Information                                         6   1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 Convention Congress and Symposia Booth
Reshma.Abell           Abell   Reshma   QUALIFIED   4/4/2015 07:59:11 AM UTC-04:00     SLS-00031                 Communications                                      2   1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/20/2015 01:16:23 PM UTC-04:00    PHSM11                    Physician Payment Sunshine Act                      2   1 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 to give historical completions for PHSM11
Reshma.Abell           Abell   Reshma   QUALIFIED   5/20/2015 01:16:23 PM UTC-04:00    PHSM11-ILC                (Sunshine Act)                                     1    1 ILC     QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/30/201510:15:11AM UTC-04:00      LAV21                     Harassment in the Workplace                       1.2   1 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/30/201510:15:11AM UTC-04:00      LAV21                     Harassment in the Workplace                       1.3   1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/30/201510:15:11AM UTC-04:00      UW21                      Harassment in the Workplace                       1.4   1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/30/201510:15:11 AM UTC-04:00     LAV21                     Harassment in the Workplace                       1.5   1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   6/9/201507:14:42 PM UTC-04:00      HR-00002                  Pacira - General Employee Handbook                  2   1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   6/10/2015 03:32:00 PM UTC-04:00    LAV01                     Age Discrimination                                2.1   1 CBT     QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   6/10/2015 03:32:00 PM UTC-04:00    LAV01                     Age Discrimination                                2.2   1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/9/201510:47:44 AM UTC-04:00      SLS-00061                 2015 Pacira's Incentive Compensation Plan          1    1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 PACIRA EXPAREL° CLINICAL REPRINT WORK
Reshma.Abell           Abell   Reshma   QUALIFIED   9/25/2015 09:05:11PM UTC-04:00     31S-00064                 INSTRUCTIONS                                       1    1 51.5    QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/25/2015 09:06:09 PM UTC-04:00    SLS-00062                 Truthful and Non-Misleading Clarification          1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   1/25/2016 10:22:39 AM UTC-05:00    QAU-SOP-0012              Handling of Product Complaints                    16    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
     PACIRA - 000031




ReshrrygAbell          Abell   Reshma   QUALIFIED   7/1/201609:58:21 AM UTC-05:00      IT-00027                  Security Awareness Training                        1    1 SCORM   QUALIFIED Disabled   0 Retired     Non-Expired
ReshnOtbell            Abell   Reshma   QUALIFIED   7/11/2016 01:51:18 PM UTC-04:00    IT-00026                  Creating Strong Passwords                          1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                                 Expense Reimbursement and Proper Entry in
Reshr          Abell   Abell   Reshma   QUALIFIED   7/11/201603:45:44 PM UTC-04:00     FIN-00002                 Concur                                              2   1 CD      QUALIFIED Enabled    0 Effective   Non-Expired
ReshmiAbell            Abell   Reshma   QUALIFIED   8/5/2016 01:39:39 PM UTC-04:00     MED-SOP-0001              Processing Medical Information Requests            8    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
ReshritIDAbell         Abell   Reshma   QUALIFIED   9/6/2016 04:43:11AM UTC-04:00      SIS.00076                 2016 Pacira Incentive Compensation Plan             2   1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
ReshimAbell            Abell   Reshma   QUALIFIED   9/6/201605:56:56 AM UTC-04:00      PHSM11                    Physician Payment Sunshine Act                     3    1 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
ReshnAbell             Abell   Reshma   QUALIFIED   9/7/201607:27:55 AM UTC-04:00      IT-00005                  IT End User Computing Policy Rev 003               3    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/2016 11:26:05 AM UTC-04:00    SLS-00078                 EXPAREL —Third Molar Extraction Module             1    1 SLS     QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                                 Module 12 - EXPAREL Oral & Maxillofaciall
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/2016 11:26:05 AM UTC-04:00    Module 12- EXPAREL OMFS   Surgery                                            1    1 PPT     QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/201611:45:54 AM UTC-04:00     HR-00006                  2016 Objective Setting Guide                       1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/2016 12:25:44 PM UTC-04:00    ETHICS20                  E-Mail and Corporate Communications                1    1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/2016 12:25:44 PM UTC-04:00    RH0018                    Proper Use of Email and the Internet               4    1 SCORM   QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/2016 12:26:21PM UTC-04:00     HR-00002                  Pacira - General Employee Handbook                 3    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   9/19/201612:45:16 PM UTC-04:00     SLS-00079                 Operating Mechanism Guide                          1    1 SLS     QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                                 Obligation of All Employees to Report Safety
Reshma.Abell           Abell   Reshma   QUALIFIED   4/11/2017 09:46:41AM UTC-04:00     PCV-SOP-0009              Information                                        7    1 CD      QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   4/11/2017 10:15:52 AM UTC-04:00    LAVO1                     Age Discrimination                                2.2   1 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                                 HIPAA and Privacy Guidelines for Pharmaceutical
Reshma.Abell           Abell   Reshma   QUALIFIED   5/25/2017 10:12:06 AM UTC-04:00    PRIVACY02                 Sales Representatives                             2.1   2 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired

Reshma.Abell           Abell   Reshma   QUALIFIED   5/25/2017 10:14:28 AM UTC-04:00    HR-00001                  Pacira's Expense Reimbursement & Travel Policy     3    2 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   5/25/201710:53:20 AM UTC-04:00     LAV11                     Violence in the Workplace                           2   3 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/201708:24:26 AM UTC-04:00      SLS-00082                 2017 Incentive Compensation Plan -SAS              1    1 51.5    QUALIFIED Enabled    0 Effective   Non-Expired

Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/2017 08:44:50 AM UTC-04:00     lAVO8                     Sexual Harassment Awareness for Employees          2    2 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired

Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/201708:44:50 AM UTC-04:00      LAV08                     Sexual Harassment Awareness for Employees         2.1   2 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/2017 08:44:50 AM UTC-04:00     LAVO8                     Sexual Harassment Awareness for Employees         2.2   2 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/201709:07:23 AM UTC-04:00      LAV21                     Harassment in the Workplace                       1.3   2 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/2017 09:07:23 AM UTC-04:00     LAV21                     Harassment in the Workplace                       1.4   2 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/3/2017 09:07:23 AM UTC-04:00     LAV21                     Harassment in the Workplace                       1.5   2 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired

Reshma.Abell           Abell   Reshma   QUALIFIED   7/4/201711:03:15 AM UTC-04:00      EHS09                     Bloodborne Pathogens — Healthcare Workers         3.1   2 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell           Abell   Reshma   QUALIFIED   7/5/201707:42:09 AM UTC-04:00      LGL-00002                 Pacira's Insider Trading Policy                    1    3 CD      QUALIFIED Enabled    0 Effective   Non-Expired
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Reshma.Abell          Abell   Reshma   QUALIFIED   7/5/2017 07:43:05 AM UTC-04:00     LGL-00003       Pacira's Disclosure Policy                           1    3 CD      QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   7/5/2017 08:12:49 AM UTC-04:00     PHSMO1          Basics of the PhRMA Code                             3    3 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   7/5/2017 08:53:39 AM UTC-04:00     PHSM07          Interactions with Healthcare Professionals —Field    2    2 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   7/10/2017 10:21:57 AM UTC-04:00    PP-NP-US-0441   Medical Information Overview                         1    1 CBT     QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                      HIPAA and Privacy Guidelines for Pharmaceutical
Reshma.Abell          Abell   Reshma   QUALIFIED   7/10/2017 11:21:38 AM UTC-04:00    PRIVACY02       Sales Representatives                                3    1 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   7/24/201707:17:36 AM UTC-04:00     LGL-00001       Pacira's Code of Business Conduct and Ethics         1    3 CD      QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   7/24/2017 07:51:57 AM UTC-04:00    ETHICS20        E-Mail and Corporate Communications                  1    1 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
ReshmaAb ell          Abell   Reshma   QUALIFIED   8/16/201708:1933 AM UTC-04:00      PP-EX-US-2853   The PILLAR Study                                     1    1 PPT     QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   8/16/2017 08:21:38 AM UTC-04:00    QAU-SOP-0013    Recall Procedure                                    11    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                      Recall, Market Withdrawal, and Corrections
Reshma.Abell          Abell   Reshma   QUALIFIED   8/16/201708:22:16 AM UTC-04:00     QAU-SOP-0013    Procedure                                           13    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   8/16/201708:22:59 AM UTC-04:00     COM-00004       PhRMA Code                                           1    2 CD      QUALIFIED Enabled    0 Effective   Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/2/2017 12:15:49 PM UTC-04:00    LAV08           Sexual Harassment Awareness for Employees            2    1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/2/201712:15:49 PM UTC-04:00     LAV09           Sexual Harassment Awareness for Managers             3    1 EFLEX   QUALIFIED Disabled   0 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/2/201712:15:49 PM UTC-04:00     LAV09           Sexual Harassment Awareness for Managers            3.1   1 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired

Reshma.Abell          Abell   Reshma   QUALIFIED   10/2/2017 12:15:49 PM UTC-04:00    LAV09           Sexual Harassment Awareness for Managers            3.2   1 EFLEX   QUALIFIED Enabled    1 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   10/4/2017 08:14:41AM UTC-04:00     EHS99           SMART Goal Setting                                  1.3   2 CBT     QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   10/4/2017 08:14:41 AM UTC-04:00    EHS99           SMART Goal Setting                                  1.4   2 EFLEX   QUALIFIED Disabled   1 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   10/4/201708:49:53 AM UTC-04:00     IT-00028        Security Awareness Training                          1    1 SCORM   QUALIFIED Disabled   0 Retired     Non-Expired
                                                                                                      Information Technology End User Computing
Reshma.Abell          Abell   Reshma   QUALIFIED   10/4/2017 08:51:19 AM UTC-04:00    ITS-POL-0003    Policy                                               1    1 CD      QUALIFIED Disabled   0 Retired     Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   10/4/2017 08:51:48 AM UTC-04:00    My Team         My Team Dashboard Training for Managers              3    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                      Affirmative Action in the Workplace (for
Reshma.Abell          Abell   Reshma   QUALIFIED   11/8/2017 08:01:03 AM UTC-05:00    LAV02           Employers)                                           3    1 EFLEX   QUALIFIED Enabled    0 Effective   Non-Expired
Reshmatibell          Abell   Reshma   QUALIFIED   12/14/2017 11:41:30 AM UTC-05:00   HR-00002        Pacira - General Employee Handbook                   4    2 CD      QUALIFIED Disabled   0 Retired     Non-Expired
    PACIRA - 000032




Reshm4Abell           Abell   Reshma   QUALIFIED   1/18/201808:57:44 AM UTC-05:00     COM-00007       Sales Personnel Field Compliance Manual              1    3 CD      QUALIFIED Enabled    0 Effective   Non-Expired
     0                                                                                                Executive Summary to Corporate Compliance
ReshmaMbell           Abell   Reshma   QUALIFIED   1/19/2018 09:59:22 AM UTC-05:00    COM-00005       Manual                                               1    3 CD      QUALIFIED Enabled    0 Effective   Non-Expired

Reshma!Abell          Abell   Reshma   QUALIFIED   2/2/2018 11:33:53 AM UTC-05:00     HR-00001        Pacira's Expense Reimbursement & Travel Policy       4    1 CD      QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                      Module 5: Factors Influencing Choice of
ReshmRbell            Abell   Reshma   QUALIFIED   2/5/2018 03:43:01PM UTC-05:00      SLS-00089       Anesthesia                                           1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
Reshm4.0bell          Abell   Reshma   QUALIFIED   2/5/2018 04:04:16 PM UTC-05:00     SLS-00087       Module 3: Roles of Anesthesia Stakeholders           1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
     IN..)                                                                                            Module 2: Practice Settings of Anesthesia
Reshma.Abell          Abell   Reshma   QUALIFIED   2/5/201804:05:47 PM UTC-05:00      SLS-00086       Stakeholders                                         1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   2/10/2018 06:24:22 PM UTC-05:00    SLS-00084       Intro to Pharmacokinetics                            1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
Reshma.Abell          Abell   Reshma   QUALIFIED   2/10/2018 06:36:16 PM UTC-05:00    SLS-00083       Ultrasound Basics                                    1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
                                                                                                      Module 1: Education/training of Anesthesia
Reshma.Abell          Abell   Reshma   QUALIFIED   2/10/201806:45:41PM UTC-05:00      SLS-00085       Stakeholders                                         1    1 SCORM   QUALIFIED Enabled    0 Effective   Non-Expired
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                                                                   Page 10

   1              A.     Mmm-hmm.
   2              Q.     What was the subject matter of that
   3      call?
   4              A.     It was just investigating.          He said he
   5      just needed to speak about the events, hear from me
   6      what happened at the national sales meeting because
   7      it was reported I guess by one of the superiors so he
   8      wanted to just hear my version and that was what the
   9      call was about.
  10              Q.     How long did that call last?
  11              A.     I think the first one was probably
  12      15 minutes.
  13              Q.     And during the call Mr. Kahr asked you
  14      questions about events at the national sales meeting?
  15              A.     Yes.
  16              Q.     Did you have an opportunity to speak and
  17      present any position that you may have had to Mr.
  18      Kahr?
  19              A.     Yes.
  20              Q.     Did he cut you off in any manner?
  21              A.     No.
  22              Q.     And I'm sorry, I asked you this but how
  23      long was that call you think?
  24              A.     About 15 minutes I would say.          It's hard
  25      to recall.

                                  Veritext Legal Solutions
       800-227-8440                                                   973-410-4040
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   1      multiple, I said multiple as in what, 2, 10, 1,000,
   2      help give me a number.        Like two people saw something
   3      on your phone and they were offended by it.              I'm like
   4      you mean on my personal phone?            They're like yeah.
   5      Well, when did they see that?            You were on it for
   6      30 minutes.    First of all, I hate my phone, there's
   7      no way I would be on anything more than 30 minutes,
   8      my attention span is like a goldfish.              Were you
   9      looking at some content that has to do with
  10      Kamasutra, I'm like yeah.           So what does that have to
  11      do with anything?     Well, they were offended.           I was
  12      like, yeah, but that's religious context, I don't
  13      understand.    If I offended someone it was not my
  14      intent can you please give me their name so I can
  15      apologize?    He goes, well, no, we can't do that right
  16      now we need to investigate.           I said Rich, well, do
  17      you mind if I send you this so you can actually
  18      understand what this is in context too because it's
  19      not what you're making it seem and now I'm going to
  20      get offended that you're calling it pornography, you
  21      know what I mean?     He said no, no, I rather you not
  22      do that.    I was like okay.
  23                     So basically you're opening an
  24      investigation and not even want to see?              He goes no,
  25      I prefer you not do that.         I'm was like okay, sorry

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   1              A.     No, it was irrelevant at that point, it
   2      didn't matter.
   3              Q.     Do you keep a diary?
   4              A.     No.    I used to keep a log of the people
   5      I saw, the surgeons, conversations.                Not everyone of
   6      them, if they were important I kept notes.
   7              Q.     So the calls that we were just
   8      discussing would you have put those in your log or
   9      diary?
  10              A.     No.    I didn't know I was going to be
  11      fired the next day otherwise I would have.
  12              Q.     Just focusing on that second call, at
  13      that point I believe you said that Rich Kahr
  14      indicated to you that there was an investigation open
  15      regarding certain something you were reviewing on
  16      your phone, correct?
  17              A.     Mmm-hmm.
  18              Q.     You have to say yes or no.
  19              A.     Yes.
  20              Q.     Did Mr. Kahr indicate to you what he had
  21      done in regard to that investigation at that point?
  22              A.     No.    He asked me were you looking at and
  23      I said yes, I didn't lie.         I said, yes, it was
  24      content that was somebody had sent me and it was just
  25      about Kamasutra.      One of my -- one of my surgeons

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   1      Resources, a member of the Human Resources team or
   2      any other member of the senior management.
   3                       During your tenure at Pacira were you
   4      ever subjected to sexual harassment?
   5              A.       Yes.
   6              Q.       And by whom?
   7              A.       Too many.    I can't list at the moment.
   8              Q.       It doesn't have to be a comprehensive
   9      list, if you can start with some -- if you can
  10      remember who subjected you to harass sexual
  11      harassment?
  12              A.       They still work there so I'm not
  13      comfortable in doing that to their family.            And like
  14      I said, I need people to pay taxes, they can't be
  15      fired.      So I cannot right now.
  16              Q.       All right well, I'm --
  17              A.       I'm not comfortable.
  18              Q.       You have to answer the question though.
  19              A.       Yes, I have been.
  20              Q.       Who?
  21                       MR. STEWART:     Are you asking for
  22      specific instances or people?
  23                       MR. PANZINI:     Specific people.
  24                       MR. STEWART:     Names of people in the
  25      past?

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   1                     MR. PANZINI:       Names of people.         Then I
   2      can break it down to particular incidents.
   3                     MR. STEWART:       To the extent that you
   4      remember.
   5                     THE WITNESS:       I clearly remember, I'm
   6      just not comfortable.
   7                     MR. STEWART:       Some portion of this is
   8      not going to be comfortable.
   9              A.     So you want names, okay.               Do you want
  10      all the names or do you want some?
  11              Q.     Anything you can remember.              I'm asking
  12      you if you were ever subjected to sexual harassment,
  13      and you said you were and again, I'm confining when
  14      you were at Pacira and you said you were.                And I
  15      asked you about the names of the people that
  16      subjected you to sexual harassment.                If you can give
  17      me all the names that you can remember?
  18              A.     Brandon, what's his last name, can I
  19      look up his last name?
  20              Q.     If you can remember it tell me, if not
  21      you can just --
  22                     MR. STEWARD:       Are you referring to
  23      Brandon Kristenon (phonetic)?
  24                     THE WITNESS:       Yes, Brandon -- no.         It
  25      will come to me.

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   1              A.        I remember all of their names.
   2              Q.        Brandon, Justin, Jim?
   3              A.        Yes.   Rob Rock.       And the others I'm not
   4      comfortable saying.        Let's leave it for now.
   5              Q.        Again, the purpose of this is not to
   6      make you uncomfortable but unfortunately in these
   7      procedures there's a little uncomfortableness that
   8      might be required.        So let me just start with the
   9      names you provided to this point.                So Brandon, what
  10      did he -- was there one occasion where you believe he
  11      sexually harassed you or more than one?
  12              A.        It was more than one.              I usually give
  13      them a warning after a second.
  14              Q.        Can you tell me the first time what he
  15      did or said?
  16              A.        Well, because if we're going to talk
  17      about what said that's another list.                   As far as him,
  18      he just put his hand under my skirt the first time.
  19      The second time he grabbed me from the back.
  20              Q.        When you said the first, was this one
  21      occurrence or two different occurrences?
  22              A.        Two different times.
  23              Q.        And so we're talking about the first
  24      time.       One --
  25              A.        It was at a national sales meeting, not

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   1              Q.     Correct?
   2              A.     Yes.
   3              Q.     And so once you told him at that point
   4      you told him if this happens again you were going to
   5      report HR?
   6              A.     Yes.
   7              Q.     Did any -- were there any further
   8      incidents with Brandon?
   9              A.     No.
  10              Q.     Did you ultimately report this to HR?
  11              A.     No.
  12              Q.     Did you report to any other employee at
  13      Pacira?
  14              A.     No.
  15              Q.     You didn't report it to your supervisor
  16      or manager?
  17              A.     No.
  18              Q.     How about the vice-president of human
  19      resources?
  20              A.     No.
  21              Q.     And you indicated no human resources
  22      person?
  23              A.     No.
  24              Q.     And why didn't you report this to human
  25      resources?

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   1              A.        Because it wasn't the first time and it
   2      wasn't going to be the last time.
   3              Q.        And by that you mean at Pacira in
   4      general?       Give me a little color to that.
   5              A.        At Pacira and in general, both.
   6              Q.        So that -- was that not the first time
   7      that a co-worker put his hand under your skirt?
   8              A.        Was that the first time?
   9              Q.        Yes.
  10              A.        No.
  11              Q.        Was it the first time at Pacira?
  12              A.        No.
  13              Q.        So when was the first time that occurred
  14      at Pacira?
  15              A.        First time it had occurred was we had
  16      our meeting in, I want to say -- so I was hired in
  17      May and then we had our national sales meeting in San
  18      Diego in September or October.             We do two meetings a
  19      year.       We do one national sales meeting earlier in
  20      the year, the first quarter.            And another one we do
  21      in the third quarter.        So probably September, not
  22      October.
  23              Q.        Who was the first person that did that
  24      to you at Pacira?
  25              A.        I'm not comfortable saying it.

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   1              Q.     In order for us to understand the
   2      brevity and the extent of your claims these are
   3      things we need to know because you're indicating
   4      that, you know, there was a certain culture within
   5      the industry, and specifically at Pacira, so we're
   6      going to need to know who we're talking about and
   7      what we're talking about.         I'm not sure how else --
   8                     MR. PANZINI:       Jason, if you have any
   9      suggestion?
  10              Q.     Certainly it's a situation where the
  11      claims in your complaint, you know, allege certain
  12      activities occurred and you're seeking to be
  13      compensated for those.        So I think we need to as
  14      defendants and ultimately perhaps the courts going to
  15      need to know or the jury is going to need to know
  16      exactly who or what we're talking about.                 To put an
  17      allegation out there that it occurred and then not
  18      provide the detail is not allowing us to fully --
  19              A.     I'm not seeking compensation for people
  20      touching me or not reporting them.                 It's something
  21      different.    It was my choice to stay quiet.               I don't
  22      want anybody to get fired, that's why I kept so long
  23      and quiet because like I said, my only agenda is
  24      gainfully employed.      These people have families.             Not
  25      everybody thinks that way but that's how I think and

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   1                     So I'm just going to ask you again,
   2      other than the names you've provided to me so far
   3      were you sexual harassed?         And when I say that it can
   4      be verbal, it can be physical, anything that you
   5      constitute as sexual harassment by any other Pacira
   6      employees other than the names you've given me up to
   7      this point?
   8              A.     Yes.
   9              Q.     And by whom?
  10              A.     There's so many to recall right now so
  11      because it's been four years I was there and then
  12      it's been a total of six years since I've seen most
  13      of them.
  14              Q.     Understood that there's been some time
  15      that's elapsed since you were at Pacira but, you
  16      know, if you can try to jog your memory and tell me
  17      anybody else who you felt you were subject to sexual
  18      harassment by or from?
  19              A.     Not at this time.
  20              Q.     I'm sorry, what?
  21              A.     Not at this time.
  22              Q.     Not at this time meaning, sorry, that
  23      you can't recall any of the names?
  24              A.     Yeah, because I'll research it, bring
  25      them up on my phone or review them from the documents

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   1      that I have.
   2              Q.     Just so I'm clear then, you're telling
   3      me other than the names you've given me to this point
   4      there are other people at Pacira, I believe you said
   5      numerous that you felt you were sexually harassed by
   6      but at this point you can't recall any of their
   7      names?
   8              A.     Yeah, because there's so many.
   9              Q.     Understood there's so many and I
  10      understand it might not be comprehensive, there might
  11      be a name you don't include, given there are so many.
  12      Are there any other names you can remember at this
  13      point as we sit here?
  14              A.     Not at this time.
  15              Q.     The incidents you discussed with Brandon
  16      when you say they occurred at a national sales
  17      meeting do you recall where was the national sales
  18      meeting?
  19              A.     Nashville.
  20              Q.     What year was that, do you recall?
  21              A.     I think it was 2016 or 2017.           It might
  22      be one or the other.       I'd have to go back and check
  23      my records.
  24              Q.     After that time where you indicated to
  25      Brandon that if you did anything similar you would go

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   1      to HR, did he ever sexually harass you again?
   2              A.       Not physically but verbally.
   3              Q.       What did he do verbally?
   4              A.       He would just walk by and say you look
   5      so hot today or you look delicious or words like
   6      that.
   7              Q.       Did you ever ask him to stop that
   8      behavior?
   9              A.       No, I would just ignore him.        I was like
  10      stop Brandon and I would just walk away.
  11              Q.       And what about Justin Sherad?
  12              A.       It was mostly verbal with him.
  13              Q.       Mostly verbal meaning there was some
  14      physical?
  15              A.       No.   Every now and then we would see
  16      each other, we would hug and the hands would go a
  17      little too low, and I would be like all right, keep
  18      your hands up.      And he would be like all right, all
  19      right.      But verbally, yeah, he would make racial
  20      comments, racist things he would say and being in
  21      Florida he would have things to say about single
  22      parents and just things in general that were like
  23      offensive, a lot of judging.
  24              Q.       At this point I'm confining more to --
  25      we can get into the other areas, but more of a sexual

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   1      harassment that you suffered at the hands of these
   2      individuals.     So that's -- when it came to Justin
   3      Sherad you indicated that there were times where you
   4      would hug and his hands would be -- you indicated his
   5      hands would be too low, was that on one occasion or
   6      more than one occasion?
   7              A.     More than one.
   8              Q.     Do you recall the first time that
   9      happened with Justin?
  10              A.     It's probably 2016, Nashville sales
  11      meeting.
  12              Q.     And you indicated to Justin that you
  13      weren't comfortable with that behavior?
  14              A.     Not directly.
  15              Q.     And why not?
  16              A.     I was extremely intimidated by all the
  17      athletes that we have because these guys are big, he
  18      was a professional baseball player, Isaac was a
  19      football player.      Brandon was also football player,
  20      nice and big and huge.        And it's kind of intimidating
  21      in this environment, you know what I mean, and I'm a
  22      little girl.     One, it was that.          Two, it's also a
  23      very male dominated industry and it's a boys culture.
  24      If you say anything you kind of get casted out.
  25              Q.     So let me -- were you aware of any woman

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   1              Q.        And she indicated to you she believed
   2      she was retaliated against for reporting that
   3      harassment?
   4              A.        Yes.
   5              Q.        Any other females that you're aware of
   6      at Pacira that reported any type of sexual
   7      harassment?
   8              A.        I don't recall at this time.
   9              Q.        Just so we're clear, you never reported
  10      any sexual harassment about yourself?
  11              A.        No.
  12              Q.        Were you ever told by any employees at
  13      Pacira that if you did report sexual harassment you
  14      would be retaliated against?
  15              A.        No.
  16              Q.        So how did you come to the conclusion
  17      that if you did report sexual harassment you would be
  18      retaliated against?
  19              A.        Because it's kind of understood in the
  20      company, it's just the culture, it's more like a boys
  21      club.       Women don't go on.     Maybe they do, I don't
  22      know, so I can't say for sure but that's not
  23      something that you claim.          It takes a while to
  24      approve a really good rep, especially in this
  25      position.       We have to jump through a lot of hoops to

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   1              A.     No.
   2              Q.     On page Bates stamp 0242 under complaint
   3      received.    Second paragraph on page 0242 reads:            A
   4      complaint of alleged sexual or other unlawful
   5      harassment would be investigated promptly.              Failure
   6      to report complaints of unlawful harassment hampers
   7      the company's ability to take necessary steps to
   8      remedy such situations.
   9                     Were you aware of that statement when
  10      you decided not to report any of the sexual
  11      harassment?
  12              A.     Yes.    But these are words.
  13              Q.     Did you realize that when you chose not
  14      to record these incidents of sexual harassment that
  15      the company couldn't do anything to help you?
  16              A.     Yes.
  17              Q.     Paragraph -- on 0242 that starts
  18      prohibition against retaliation.              I'll read the first
  19      paragraph into the record.          The company prohibits any
  20      form of retaliation against individuals who, in good
  21      faith, report unwelcome conduct or who cooperate in
  22      the investigation of such reports in accordance with
  23      this policy.     Conversely, a report made in bad faith
  24      will subject reporting individual to corrective
  25      action, up to and including termination.

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   1      paragraph?
   2              A.     No.
   3              Q.     Were you aware of a Code of Business
   4      Conduct and Ethics?
   5              A.     No.
   6              Q.     Second paragraph under that topic:               Any
   7      questions regarding how this code should be
   8      interpreted or applied should be addressed to the
   9      employees's manager, the compliance department or the
  10      vice-president of human resources.                 Contact can also
  11      be made through our confidential hotline at
  12      800-799-6371.     Please prefer to the Pacira
  13      Pharmaceuticals, Inc., Code of Business Conduct and
  14      Ethics for more detailed information.
  15                     Were you aware of that particular
  16      paragraph before today?
  17              A.     No.
  18              Q.     On the bottom middle of that page,
  19      excuse me, under the topic of non-retaliation and
  20      hotline policy, I'll read it:            Consistent with the
  21      applicable laws and regulations, any employee who has
  22      a good faith belief that any other employee or
  23      representative of the company has engaged in or is
  24      engaging in conduct that violates applicable law or
  25      any company policies may report such conduct openly

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   1      or anonymously without fear of retaliation.
   2                       Were you familiar with that paragraph
   3      prior to today?
   4              A.       Not those words, but, yes, I've seen
   5      something like that before.           I think it was on the
   6      other page, 244.
   7              Q.       Again, when I say before today I'm
   8      talking about before today?
   9              A.       I was familiar with it, yes.
  10              Q.       You were aware there was a way that you
  11      could report either illegal --
  12              A.       I didn't know about the hotline policy,
  13      no.    All I knew was that yeah, every company has it
  14      where it says you will not be retaliated against if
  15      you complain to HR.      That I was aware of, hotline I
  16      was not aware.
  17              Q.       First bullet point under this says:          To
  18      act in good faith means that you have given specific
  19      information regarding an activity or practice that
  20      you reasonably believe to be a violation of law or
  21      company policy and which is provided without malice
  22      or consideration of personal benefit.              Second bullet
  23      point:      While complaints may be made anonymously, and
  24      no attempt will be made to identify the person who
  25      raised the issue, the company cannot guarantee

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   1              A.       I don't recall.
   2              Q.       While you were employed by Pacira were
   3      you provided with a number of trainings?
   4              A.       Yes.
   5              Q.       And did those trainings include review
   6      of the handbook?
   7              A.       Yes, but I don't think it was under
   8      compliance.      There's different kind of trainings.              We
   9      have compliance training, there's e-learning which is
  10      if there's new information about the product or label
  11      change.      So there's different kinds of training we
  12      have.
  13              Q.       If you go on the first page about 18
  14      lines down there's an entry from 5/26/14 at 11:55:05
  15      under training code HR00002.           Says Pacira-general
  16      employee handbook.       Do you recall at that point if
  17      you reviewed the handbook?
  18              A.       Oh, yes, because I signed it.
  19              Q.       How about the next page, if you turn
  20      that eight rows up from the bottom.                From 7/3/2014
  21      obligation of all employees to report adverse events.
  22      Do you recall if you were trained in that topic?
  23              A.       Oh, yeah, that's serious stuff.            We have
  24      to have the numbers and the hotlines in the field.
  25      So that one, yes.

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   1              Q.     How about two down from that under
   2      10/11/14 sexual harassment awareness of employees.
   3      Were you trained in that?
   4              A.     Yes.
   5              Q.     Next page, 12 lines down from the top
   6      date 5/30/15, harassment in the workplace.                 Were you
   7      trained in that?
   8              A.     Yes.
   9              Q.     Four lines down from that 6/9/15 under
  10      HR-00002, Pacira general handbook.                 Were you trained
  11      in that?
  12              A.     Yes.    But like I said I signed it, I
  13      didn't read it.
  14              Q.     Were you provided an online copy of that
  15      to review?
  16              A.     Yeah, because before you sign they give
  17      you the copy and you go at the end to sign.                 The
  18      general employee handbook is a lot more wordy and a
  19      lot more I guess complicated for me to understand.
  20      The harassment and workplace there are slides.                 It's
  21      a different kind of training.            Up here it shows up as
  22      training, but the other ones you have 10 or 12 pages
  23      and it's like slides and it's easier to read.                 An
  24      employee handbook, no time to read for three hours
  25      otherwise I would never be in the field.                 I mean, we

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   1      don't have an office, right.
   2              Q.     So 16 rows up from the bottom on that
   3      same page under 9/19/16 again under HR00002, Pacira
   4      general handbook.      Would you acknowledge reviewing
   5      the handbook at that point?
   6              A.     Like I said, I signed all the handbooks,
   7      I never read them.      Too long, too wordy, just not
   8      enough time.
   9              Q.     And then seven rows down from that on
  10      7/3/17 sexual harassment awareness employees
  11      training.    Did you acknowledge that you attended that
  12      training?
  13              A.     Yes, and those I remember, like I said,
  14      because they were slides.         So, yes, those I reviewed
  15      and signed.
  16              Q.     Underneath the three sexual harassment
  17      awareness five rows up from the bottom, 7/3/17
  18      harassment in the workplace.           Did you acknowledge
  19      that training?
  20              A.     Yes.
  21              Q.     And then the last page which is 0032, 11
  22      rows down on October 2, 2017 did you acknowledge
  23      sexual harassment awareness training for employees?
  24              A.     For managers, right?
  25              Q.     First one is for employees.

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   1              A.     Yes.
   2              Q.     Did you acknowledge that?
   3              A.     Yes.
   4              Q.     And how about the sexual harassment
   5      awareness for managers?
   6              A.     Yes.
   7              Q.     And then I believe it's seven rows down
   8      from that on 12/14/17, again, under HR00002, did you
   9      acknowledge reviewing the Pacira general employee
  10      handbook?
  11              A.     Yes.    I didn't review it but I signed
  12      it.
  13              Q.     So on at least four occasions you
  14      acknowledge reviewing the handbook but you're saying
  15      that you didn't review it on any of those occasions?
  16              A.     No, but I signed them because they were
  17      part of your compliance training.
  18              Q.     Did you think it was important to
  19      understand the policies of the company before
  20      acknowledging that you read them?
  21              A.     Yes.
  22              Q.     But even though you thought it was
  23      important to read them you didn't read them?
  24              A.     Even if I read them I would be lying if
  25      I said I understood every word in there because I

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   1      So it's designed so that you can go a page at a time.
   2      So I'll read the first couple lines and move on and I
   3      attempted to read it anyway and it's like, what does
   4      that mean, who was I going to call then, do I waste
   5      time?       I could be in the field.         Do I sit there and
   6      read this in my car or should I, you know, so it was
   7      one of those, because I'm always in the field.
   8              Q.        You're a highly educated person, you
   9      didn't understand any of the paragraphs?
  10              A.        So, I didn't say that, I didn't say I
  11      didn't understand any of it.            I said I would be lying
  12      if I said I understood everything in there.              Because
  13      language in there some of it just doesn't make sense
  14      and for me to try to comprehend that at the time at
  15      the level -- because there are deadlines.              It's not
  16      like you have a year to review.              If I did, yeah, I'll
  17      take my sweet time and I'll sit there on a Christmas
  18      Eve and read it but I'm a work alcoholic.              I work 20
  19      something hours.       I'm always in the field.         I'm not
  20      the type that goes golfing and fishing.              And so did I
  21      understand the importance of it, yes, that's why I
  22      signed it.       Did I understand it, all of it, no, no, I
  23      can't.
  24              Q.        Let me read on page 0241 I'm going to
  25      read you under complaint procedures that paragraph

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   1      again.      If you believe that you've been subjected to
   2      sexual harassment or other unlawful harassment or
   3      have witnessed or otherwise become aware of such an
   4      incident, you should consider making it clear to the
   5      offender that such behavior is offensive, if you are
   6      comfortable in doing so.         You also must immediately
   7      notify a supervisor or manager, the vice-president of
   8      human resources, a member of the human resources team
   9      or any other member of senior management.              Did you
  10      understand that paragraph?
  11              A.       Yes, because that was part of my sexual
  12      harassment training.       That I do remember reading, not
  13      here, somewhere else.       So it's one of the other
  14      training.
  15              Q.       First paragraph on page 0242 under
  16      prohibition against retaliation:              The company
  17      prohibits any form of retaliation against individuals
  18      who, in good faith, report unwelcome conduct or who
  19      cooperate in the investigation of such reports in
  20      accordance with this policy.           Conversely, a report
  21      made in bad faith will subject the reporting
  22      individual to corrective action, up to and including
  23      termination.      Did you understand that paragraph?
  24              A.       Yes.
  25              Q.       Do you recall what paragraph you

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   1      couldn't understand?
   2                     MR. STEWART:       Note my objection.
   3              A.     No, there's so many pages.
   4              Q.     Just take D-6.          Just for the record,
   5      D-6, Pacira-0016.      Miss Abell, is that your signature
   6      on D-6?
   7              A.     Yes.
   8              Q.     And the date is 4/26/14?
   9              A.     Yes.
  10              Q.     Is it your handwriting on top above
  11      where it says print name above?
  12              A.     Yes.
  13              Q.     Do you recall signing this document?
  14              A.     Yes.
  15              Q.     And the three paragraphs acknowledging:
  16      I have received and carefully read the code of
  17      business conduct and ethics of Pacira
  18      Pharmaceuticals, Inc., did you do that?
  19              A.     The first time around I did, yes.
  20              Q.     I understand the Code of Business
  21      Conduct and Ethics?
  22              A.     Yes.
  23              Q.     I have complied and will continue to
  24      comply with the business terms of the Code of
  25      Business Conduct and Ethics.           All accurate?

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   1              A.     Yes.
   2              Q.     Can you briefly explain to me what your
   3      position was at Pacira, what did you do?
   4              A.     I started out as -- are you asking how I
   5      started or how I ended?
   6              Q.     What did you start at?
   7              A.     I started as a title called surgical
   8      account specialist, SAS.
   9              Q.     What did that job consist of?
  10              A.     Many hats that you wear so from sales to
  11      presentations to in-servicing,
  12      nursing/residents/departments.            It's mostly I did --
  13      all falls under the umbrella of education and once
  14      it's done, speaking with pharmacy, getting a
  15      formulary, discount and cost and billing and so on
  16      and so forth.     And then after formulary training the
  17      OR staff itself and surgeons and how to use the
  18      product appropriately.        Sometimes they let you do a
  19      trial, sometimes they don't.           And if there is a lack
  20      of any clinical knowledge or information that's when
  21      we contact our MSL's and we also act as liaison
  22      between national accounts.          We have different
  23      resources in the company.         If a rep is not able to
  24      answer a question, not because of lack of knowledge
  25      because of the compliance.          Reps can only do certain

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   1              Q.       Did you have any certain amount of days
   2      in the week that you needed to go to the office?
   3              A.       Office as in Parsippany?
   4              Q.       Yes.
   5              A.       Yes -- no, no, no because we are in the
   6      field.      We're called field reps.           We're in the field
   7      unless there's a required training and/or if you have
   8      an invitation or reason to go.             Otherwise, no, we all
   9      met twice a year as a whole company even though we
  10      spoke with each other on the phone we only met
  11      physically twice a year.
  12              Q.       So there could be weeks that you
  13      wouldn't go to the Parsippany office?
  14              A.       Oh, yes.
  15              Q.       So when you were hired at Pacira who was
  16      your immediate supervisor?
  17              A.       Peter Murphy.
  18              Q.       Who did Peter report to, do you know?
  19              A.       Dennis McLoughlin.
  20              Q.       Who did Dennis report to?
  21              A.       David Kaplan and Dave Stack.           He also
  22      reported to Tanya Markvicka.            She's not there
  23      anymore.
  24              Q.       Dave Kaplan reported to Tanya also?
  25              A.       Yes.   She was COO.

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   1      programs for me.
   2              Q.     At some point you received a promotion?
   3              A.     Yes.
   4              Q.     And what did your title change to?
   5              A.     It went from surgical accounts
   6      specialist to senior account specialist, senior
   7      surgical account specialist.
   8              Q.     Instead of an SAS you were an SSAS?
   9              A.     Yes.
  10              Q.     Did that come with an increased
  11      compensation?
  12              A.     Yes, it was a year delayed.             That was
  13      the other problem that Dennis and I had.               He's gone
  14      to HR and spoken to them about it, I wasn't
  15      comfortable enough to call HR to find out if he had
  16      or not but it took over a year and half for him to do
  17      because it came with a merit increase.               And even then
  18      they could only give me one or the other increase.
  19      So they only gave me merit increase for that but not
  20      my annual review increase because you couldn't have
  21      both.
  22              Q.     But you received an increase, you just
  23      couldn't receive both increases?
  24              A.     Yes.    But the title change was supposed
  25      to happen a year before it happened.               And they said

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   1      before.
   2              Q.        So did your job functions change from an
   3      SAS to SSAS?
   4              A.        Yes, yes.    So it's basically because
   5      before off the record everyone in the country would
   6      call if they have issues with different specialties.
   7      Now it was announced when you're a senior it's like
   8      okay, just call her it's easier.               Once you have that
   9      title that means you've been here long enough, you
  10      know what you're doing, you have answers for
  11      98 percent of things.         Not hundred but most of it.
  12      And that's the person you would go to.               So it was
  13      just -- that's all that changed with responsibility
  14      because now you're managing and helping all your
  15      peers.       Before you weren't required to but now you're
  16      looked up to and required to.
  17              Q.        Was the SSAS the position you had when
  18      you were terminated from Pacira?
  19              A.        On the books, yeah, but it wasn't the
  20      title, the title change was supposed to happen 2nd of
  21      January and it didn't happen.             Again, it's a pattern
  22      here.       Signatures have to be done, and so on and so
  23      forth.       So they would tell you one date but things
  24      are always months behind because either somebody
  25      dropped the ball or somebody is not in the right mood

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   1      or somebody is afraid to ask somebody to do this.
   2              Q.     But any job or title change couldn't be
   3      finalized until all the appropriate signatures
   4      were --
   5              A.     Yes, but I was already doing that job
   6      for over a year and a half.           I was doing more than
   7      senior SSAS stuff.
   8              Q.     How long were you -- when did you become
   9      an SSAS?
  10              A.     You mean like officially on the business
  11      cards?
  12              Q.     Yes.
  13              A.     I want to say 2016.            It was supposed to
  14      happen 2015, but 2016.         What month, I don't know.
  15      Whenever the reviews are, March maybe.
  16              Q.     At some point subsequent to that was a
  17      new position discussed with you?
  18              A.     Which new position?
  19              Q.     Any new position, was there a new
  20      position that was discussed with you?
  21                     MR. STEWART:       After the 2016?
  22              Q.     After you became the SSAS that's what
  23      I'm saying, after that, at some point subsequent to
  24      that a different, you know, position within Pacira?
  25              A.     Yeah, we were always having discussions

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   1              A.     Glenn and Pete.
   2              Q.     Was that in writing anywhere?
   3              A.     No.
   4              Q.     Did Glenn or Pete ever tell you that
   5      Dave Stack had approved of this position?
   6              A.     Verbally, but they needed to get the
   7      signature.
   8              Q.     Did you understand they needed to get
   9      the signature meant that this was not official, this
  10      position was not official yet?
  11              A.     Well, I was already doing that role for
  12      over a year and a half.        So it was not official only
  13      because they didn't announce it.              So I couldn't have
  14      new business cards or I could not do the things that
  15      a director level would do.          It was supposed to be
  16      announced, that's what the national sales meeting
  17      argument was about.      The meeting we had before the
  18      national sales meeting started is why haven't you
  19      received the signature yet, we're in February now.
  20      And this argument had been going on for about five
  21      weeks.
  22              Q.     Were you told then that it was
  23      officially approved at any point?
  24              A.     Yes, because why else would we have
  25      contacted people, all the reps and speak with each

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   1      retro, my pay will be retro.           His signature will be
   2      relevant to having my pay be retro.                That's what
   3      you're worried about and I said no, but I still need
   4      that change, my title change, it hasn't changed.                  He
   5      goes different rules apply when it comes to
   6      compliance, that's why the title change was important
   7      in writing for me.      I was already doing the job.
   8              Q.     Just so I'm clear though, was it your
   9      understanding that Dave Stack needed to officially
  10      sign off on this new position for it to be an
  11      official position?
  12              A.     Yes.
  13                     MR. STEWART:       As of what time though?
  14      She testified about this and her understanding is
  15      that it shifted.      Do you understand what I'm saying?
  16                     MR. PANZINI:       No.     Maybe I can ask that.
  17              Q.     Let me ask it this way, so January 2nd
  18      came and went, do you believe the position was
  19      officially yours?
  20              A.     I knew that in June of 2017 it was mine,
  21      that's why I invited them to go to the Alibaba
  22      meeting in August.
  23              Q.     So you assumed that in June of 2017 that
  24      you were officially given this position?
  25              A.     Yes, Alibaba meeting is only for

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   1              Q.        When did that occur?
   2              A.        The title would be officially announced
   3      on January 2nd.          It was never announced.
   4              Q.        But did they tell you that prior to
   5      January 2nd you were the director of post-op pain
   6      management?
   7              A.        Yes.   And the reason why is because
   8      they're the ones who set up area calls with all the
   9      managers on the west coast and the managers on the
  10      east coast around November, maybe around Thanksgiving
  11      time.       Here's Reshma, her title is going to be
  12      changing and this is what she's going to be bringing
  13      to the table so please have ex-amount of reps ready
  14      that we can interview for this.                We're going to be
  15      recruiting one rep from each region, and so on and so
  16      forth.       And then we did the same call with the east
  17      coast.       They were all aware of it that the shift was
  18      coming in January.        That's why we prepped everybody
  19      in November, December.
  20              Q.        But that shift never officially came?
  21              A.        No, because Rob Rock didn't like it.
  22              Q.        Are you aware of Dave Stack ever putting
  23      his signature approval on the director of post-op
  24      pain management?
  25              A.        No, that was supposed to happen that

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   1      national sales meeting week.
   2              Q.        But as far as you know that didn't
   3      happen?
   4              A.        No.
   5              Q.        Was it your understanding that Dave
   6      Stack needed to approve such a position in order for
   7      it to exist?
   8              A.        Well, yeah, he's a CEO.           He has to
   9      approve every position.         So even when I was like I
  10      said, senior SAS when you asked earlier there were
  11      some signatures that were missing and I think it was
  12      Tanya's signature missing at the time or somebody.
  13      You had to get, again, I'm not aware of at what
  14      capacity, but all the CEO, CFO, president, everybody
  15      has to sign, right, approving, the board maybe, I
  16      don't know if they do or not, compliance department.
  17      So each department has their I guess signature on
  18      different positions, that's my understanding.                So
  19      when they said the only signature they were missing
  20      was from Dave everything else had been approved then
  21      there's no assumption, there's just when are we doing
  22      this.       And relax, Reshma, your pay will be
  23      retroactive by January 1st.
  24              Q.        But they were clear they never had
  25      Dave's signature, correct?

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   1              A.     I already had my credentials because we
   2      have to get them done in January, but I did not have
   3      the announcement and they were supposed to make it in
   4      front of the whole country.           So Pete's explanation to
   5      me was it's better to do it in person, it looks
   6      better than me sending an e-mail out, if we do it in
   7      front of everybody because twice a year we get the
   8      country together.      So January and later in the year.
   9      I'm sorry, February and later in the year.            So he
  10      felt that it would be better if he made an
  11      announcement because that's where they usually do it.
  12      Whenever there's big promotions and happenings they
  13      announce it at national sales meeting so you can
  14      congratulate each other and do your part.            So that
  15      was my understanding that's what they were waiting
  16      for.
  17              Q.     As part of the 2018 sales meeting were
  18      you invited to a national woman's event for this
  19      year?
  20              A.     Yes.
  21              Q.     Did you know what the itinerary for that
  22      event was?
  23              A.     It was from 6:30 to 9:30.
  24              Q.     And what was the -- do you know what
  25      they were going to discuss?

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   1              A.        The content?
   2              Q.        Yeah, content.
   3              A.        No, it was about how to be a leader if
   4      you're a woman in this industry and how you juggle
   5      family and a job, that was my understanding.
   6              Q.        Were you told that you were required to
   7      attend that meeting?
   8              A.        No.   It said in the e-mail that it was
   9      optional.
  10              Q.        Were you encouraged by anyone to attend
  11      that meeting?
  12              A.        It was not honoring the optional option.
  13      So I called my boss, Roxy Dorothy at the time and I
  14      said it's not allowing me to do it.                  She goes oh, I
  15      don't know. So I called the IT department and they
  16      said they couldn't fix it either.                And then I called
  17      Pete Murphy, it's saying optional, it's not letting
  18      me do it, you know I can't be at that meeting, I have
  19      to interview with these guys.              So he's like no, it's
  20      okay.       And I forget who I spoke to and they manually
  21      did it at headquarters and they opted me out of it.
  22      I don't know who did it, but in any case that was
  23      done in way back in January.             I think because you
  24      have to respond to it by a certain deadline and my
  25      response kept coming up as not, you know, that I

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   1      was for everybody.      We always did one -- it was
   2      traditionally on that second night or third night we
   3      did something together as a country not as regions.
   4      First night we have the reception, it's optional, you
   5      can come or not come just to settle in, say hello to
   6      your teammates.     Second night you have regional
   7      dinner with another region perhaps or somebody on the
   8      west coast so you have like either one restaurant
   9      where they do that.      And then the third night they
  10      get the whole country together you do like a team
  11      building and/or something together each year.
  12              Q.      So I think you testified --
  13              A.      So this is the first year they didn't do
  14      it, that's why I assumed we were all going to be
  15      together.
  16              Q.      Either Glenn or Gio you believe invited
  17      you to the outing?
  18              A.      They didn't invite me to the outing,
  19      they just said, hey, we're going to be doing this
  20      golfing thing and I was like, yeah, how can we be
  21      doing both, they're doing the women's leadership
  22      meeting.     No, that's just for women.            And I said, oh,
  23      they're like and you have to go to that.               So I said
  24      no it says optional, I looked at the form.
  25              Q.      Did you understand or learn that this

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   1      event was put together by certain regions?
   2              A.      The women's leadership meeting?
   3              Q.      No, I'm sorry, the Top Golf.
   4              A.      No, because, like I said, when I worked
   5      with other reps in different areas they're like I'm
   6      going to Top Golf.      I'm like no, you're not, it's
   7      only two regions.      They're like it's not for two
   8      regions it's like Michael Gorso (phonetic) or the
   9      California rep.     He's like I'm in California I'm
  10      going, you coming?      I said, no, I think it's only for
  11      like Gio's region and Rob Rock's region, why would
  12      that be?     So then I found out from Tom Schneider that
  13      he's going too and I guess Von is going so I was like
  14      oh, so it's for everyone then.            I was like good, I'll
  15      have everyone there, it will be perfect.
  16              Q.      How many Pacira employees or personnel
  17      were at the Top Golf event?
  18              A.      I have no idea.
  19              Q.      How were you aware that it was designed
  20      to be for only certain regions?
  21                      MR. STEWART:      Note my objection.      I
  22      don't think that's what she testified to.            You can
  23      answer it.
  24              Q.      We can have it read back at some point
  25      where she said during her conversations.            Were you

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   1      ever made aware that the Top Golf event was only for
   2      certain regions?
   3              A.     Yes.
   4              Q.     How did you learn that?
   5              A.     Rob Rock told me it's only two regions
   6      that's invited.
   7              Q.     What two regions were they?
   8              A.     They were Gio's and Rob Rock's region.
   9              Q.     What regions are they?
  10              A.     Gio is Pennsylvania and Rob Rock is
  11      southeast Florida, Louisiana, all that, Atlanta,
  12      Georgia.
  13              Q.     Was anyone else from your region, any
  14      other SAS or SSAS invited to the Top Golf outing?
  15              A.     Yes, that's why I was confused because
  16      Jim is like I'm going.        I'm not even in that region,
  17      Jim -- I'm blanking out on his last name.            Jim was
  18      from my region and he was there.
  19              Q.     Anybody else from your region that went
  20      to the Top Golf event?
  21              A.     I don't recall because we were disbursed
  22      all over the entire floor.          So you can only be
  23      ex-amount of people per booth.
  24              Q.     Anybody else from a region that wasn't
  25      either Rob Rock's region or Gio's region?

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   1      just going to leave.       And Mike Korn and Jim, four or
   2      five other guys, really nice, just stay for a bit
   3      we'll all go together.         Let's just finish this game,
   4      you're already here, stay, do what you need to do.
   5      At that I point I ended up staying with the guys that
   6      I felt comfortable with that knew what I was there
   7      for, that respected me and that loved the fact like,
   8      let's just celebrate that you're going to be doing
   9      this.       And they were happy with that.          Pat Nolan was
  10      happy with that, Mike was happy for me.               Ken Wolfe
  11      was happy for me, they're like this is great news.
  12      And two new guys, I don't know their names because
  13      they had just been hired.          So I said all right, I'll
  14      stay until everybody on that team is gone.
  15              Q.        And then you took Uber or taxi back to
  16      the hotel?
  17              A.        Yeah, but not by myself.          It was a
  18      mini-van so I don't know how many people were in
  19      there.
  20              Q.        That conversation you had with Rob Rock
  21      at the Top Golf, how long did that last?
  22              A.        Maybe less than, I don't know, three,
  23      four minutes.       It felt longer.
  24              Q.        Did either one of you raise your voice
  25      during that conversation?

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   1              A.        Yes, we both did.
   2              Q.        Did either one of you use profanity
   3      during that conversation?
   4              A.        Yes, we both did.
   5              Q.        What did Rob say that had used
   6      profanity?
   7              A.        I don't understand what you don't
   8      understand, we're fuckin friends and I'm on your
   9      side.       I'm trying to tell you that.             I'm like but
  10      your actions are saying otherwise and you were
  11      visibly upset when we got here and you told me time
  12      over and over again and I thought you were joking but
  13      until I saw you tonight, the way you acted you
  14      seriously didn't want me here.             I said last few weeks
  15      oh, it's just a boy thing or it's this or that, I
  16      thought you were joking because we joked around a lot
  17      every time he called for advice we would joke around
  18      about stuff.       So I never knew when he was serious or
  19      when he wasn't.       This was serious.             So when he asked
  20      he used that and I don't recall what other instances
  21      or exact words, but I know that there were a couple
  22      words.       It wasn't the whole conversation that way but
  23      a couple times we did.
  24              Q.        What profanity did you use during that
  25      conversation?

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   1      entrance of the hotel is all the way to the right.
   2      So when you enter the right-hand side is the bar, you
   3      pass the bar and then there's the lounge area over
   4      there, the circular table, it's a restaurant area
   5      basically.
   6              Q.     And then once you went up to your room
   7      that night did you come back down later that night?
   8              A.     No.
   9              Q.     Next time you came back down was the
  10      next morning?
  11              A.     Yes.
  12              Q.     That next morning did you see Rob Rock?
  13              A.     No.
  14              Q.     Did anyone from Pacira speak with you
  15      about what happened the night before that next
  16      morning?
  17              A.     Yes.    Almost everybody passing by, woman
  18      and everybody was like what happened last night.              So
  19      at this point the word had spread.
  20              Q.     And did you report any of this to HR?
  21              A.     No.
  22              Q.     Were you aware if anybody reported it?
  23              A.     Yes, Glenn Reiser.
  24              Q.     Did Glenn tell you they reported it to
  25      HR?

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   1      accomplishments, and consistently outperformed her
   2      peers, and met or exceeded her sales quotas despite
   3      an overtly hostile, male dominated office where
   4      raunchy, sexually-based jokes and innuendo were the
   5      norm.
   6                     So my question is, did you ever report
   7      any of those sexually-based jokes and innuendos or
   8      raunchy behavior to anyone within Pacira?
   9              A.     No because the company wouldn't exist.
  10              Q.     19:    It was business as usual for Abell
  11      to hear in a typical workday, in sum or substance,
  12      that the reason she was so successful was because she
  13      was "sleeping with her clients," or "blowing
  14      someone," or words to that effect.
  15                     Who said those things to you?
  16              A.     Justin for sure.          This is now bringing
  17      back all the memories so going back when he said, did
  18      anybody offend you over the years and I said yeah,
  19      many, many, times and these are the things.             So when
  20      they were at a national sales meeting they're like
  21      yeah, you're only doing well because you're probably
  22      sleeping with your clients or blowing someone.             How
  23      else can someone perform this consistently and this
  24      aggressively.     The numbers I was producing were not
  25      normal in the industry.        So that was the joke.       And I

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   1              Q.       And did he tell you in detail what the
   2      -- did he mention Kamasutra?
   3              A.       Yeah, he said the site was regarding
   4      something called Kamasutra and he's like -- so first
   5      he asked me, did you look at this on your phone?                 I
   6      said yes, I did.      And he said did you show it to
   7      anyone?      I said no, absolutely not.             He said okay,
   8      well, what happened?       Well, couple people passed by
   9      and I was like how is that my fault they're peeking
  10      and peering in my phone.         He's like it's still
  11      offensive.      Yeah, I know the sexual harassment
  12      classes were taken.      But I was like but it was on my
  13      private phone and it wasn't in the presence of
  14      anybody else around.       If they're passing by and
  15      seeing this, again, how did I offend them, can I
  16      apologize to them and he's like no at this point it's
  17      an investigation, we haven't concluded yet.                 So after
  18      a couple days we'll know.
  19              Q.       Did you have a work cell phone and a
  20      private phone?
  21              A.       No, just we use our own phone.
  22              Q.       And Mr. Kahr indicated to you that two
  23      people witnessed this?
  24              A.       He said multiple.        I said define
  25      multiple, is it two or a thousand.                 He goes it was

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   1      on there because it was a website.                  It was my older
   2      phone, as soon as you picked up the phone.                  So then
   3      when I went in I closed it out and then I checked my
   4      text messages.       Like right now my camera goes on.             So
   5      that's the second time it got turned on probably and
   6      that was it.
   7              Q.        So can you tell me how long you believe
   8      the website was opened from the time you touched it
   9      until the time you closed it out?
  10              A.        I don't know but definitely less than
  11      five minutes.       And I told that to Rich Kahr as well,
  12      he asked me and I told him it was a few minutes but I
  13      don't know the exact time.
  14              Q.        I'm sorry, what did Roxy say when Mike
  15      went to show it to her?
  16              A.        He goes -- she went with her right arm,
  17      she was facing us and she goes, you guys, stop it and
  18      I was like give me my phone back.               So I took my phone
  19      back.       I'm like sorry, sorry.        You guys, what are you
  20      doing, you can't just -- because Mike is very, very
  21      close to Roxy so he felt comfortable enough to show
  22      it.
  23              Q.        So other than Mike, Dave and Roxanne,
  24      are you aware of any other employee of Pacira that
  25      may have viewed any of the photos or text on your

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   1      phone with regard to the Kamasutra?
   2              A.     No, I'm not aware of it.
   3              Q.     Did anyone at that time during the
   4      meeting bring it to your attention that that was
   5      inappropriate?
   6              A.     Not one single person.
   7              Q.     Did you take Roxy's hand wave and oh,
   8      you guys, as meaning that she in any way disagreed?
   9              A.     Of course, that's exactly how I reacted.
  10      When I am treated that way that's exactly -- I'm
  11      like, you guys, come on, just stop.                 So I know --
  12      like I don't know if most women do this but the body
  13      language I can read it.        And I'm like oh, my God
  14      because she saw it as sexual positions.                 She saw it
  15      as something else, not as what it was portraying.
  16      She only looked at the pictures because Mike was
  17      scrolling.    So that's all she saw.               I knew it the
  18      second she saw it, that's why I took the phone away
  19      and that was it.
  20              Q.     Did you have any conversation with Roxy
  21      about it?
  22              A.     No, because she didn't bring it up and
  23      I'm not the one who showed it.            Why would I have a
  24      conversation?     Grant it, it was my phone and he took
  25      it from me but I didn't say here Mike, show it to her

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   1      or stick it in her face.         I know how culturally
   2      people can be uneducated.         I'm sensitive to cultures,
   3      I knew this would not be perceived -- from her body
   4      language that it won't be perceived the way my
   5      perception was.     So I kind of knew she was
   6      uncomfortable.     Not that she was offended, that's why
   7      I took the phone away.        I know how I get when I'm
   8      uncomfortable.
   9              Q.     Did you believe she was uncomfortable
  10      because it was depictions of sexual positions?
  11              A.     I can't speak on her behalf because she
  12      never said anything like that.            She was a very cool
  13      manager.
  14              Q.     Did you believe it was appropriate to
  15      have a Kamasutra website opened on your phone during
  16      a business meeting?
  17              A.     We were on a break.            So it wasn't opened
  18      during the business meeting.           I didn't go and Google
  19      to find the site, somebody sent it to me.              I clicked
  20      on it and it opened.       I knew it was coming from a
  21      trusted source so I knew it wasn't a virus.              Plus it
  22      was in a text message, it wasn't an e-mail.              So it
  23      was not intended to harm anyone.              It was, again,
  24      unintentional and I offered to apologize, either
  25      written or personal in any way.             I was never not

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   1      sorry, but I was never afforded the opportunity to
   2      apologize.
   3              Q.      And what were you -- if you were
   4      afforded the opportunity what were you going to
   5      apologize for?
   6              A.      That I'm really sorry if I offended you.
   7      However, to me it has a different culture I come from
   8      and these are the names of the temples -- you don't
   9      have to look at it -- that are around the world in
  10      several different countries that have these hundred
  11      positions carved out in all the stones of these
  12      temples.     So what is offensive to you, I just want
  13      you to understand where I'm coming from not where
  14      you're coming from.      For me it's not what it is.
  15              Q.      So you didn't find the website to be
  16      offensive?
  17              A.      And I still don't, no, it's cultural for
  18      me and I don't flaunt it, for the record.
  19              Q.      Did you understand how some would find
  20      it offensive?
  21              A.      Of course, that's why I offered to
  22      apologize immediately the second I was made aware I
  23      offered.      I wasn't given that opportunity.
  24              Q.      Did you tell anyone at the meeting my
  25      people invented sex?

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   1              A.     No, I said this guy -- I said the person
   2      who sent it to me they were like he's saying my
   3      people invented it.      How they interpreted it, I can't
   4      control that, but I did say that.
   5              Q.     I'm sorry?
   6              A.     I said the person who sent it to me said
   7      did your people invent this?           I said yes, my people
   8      invented this.     That was my response.           So again,
   9      reading this text somebody saying my people invented
  10      it, that's where they got it.            So that was the length
  11      of the conversation with Mike and Dave, or both.
  12              Q.     Did you tell them about that exchange?
  13              A.     Yeah, that's what I'm saying, they're
  14      like why is he sending you that?              I said because my
  15      people invented it, quote, unquote.
  16              Q.     And then once you closed the website
  17      when's the next time you were made aware that it was
  18      an issue?
  19              A.     I was never made aware of any of this
  20      until March 13th, the first time I heard of this was
  21      on March 13th.
  22              Q.     And that's when Rich Kahr spoke to you?
  23              A.     Yes.
  24              Q.     And I believe you admitted to Rich that
  25      you opened the website?

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   1      amazing.    But that's your incentive.             When they
   2      invite national accounts and when they invite people
   3      from medical affairs now you're commingling the
   4      incentive.    You cannot, those are salaried employees,
   5      we are incentive comp.        So there's two different
   6      departments.     If any of our competitors got wind of
   7      it -- so my concern was, I'm moving up in this
   8      company, eventually I'm going to be, I don't know,
   9      not just VP of sales, my goal was to be COO.               I have
  10      to lay down the building blocks now.               I cannot have
  11      people making mistakes like these and so when I'm
  12      ready to take over I tank the company because of
  13      these actions that are happening.              Do you see what I
  14      mean?
  15                     So looking ten years ahead or five years
  16      ahead my complaint to them, you guys -- and earlier
  17      when you said how did they retaliate or
  18      discriminated, because this company would tell me to
  19      keep my mouth shut.      And it's like, but it's the
  20      right thing to do.      Because everybody was in it for
  21      short-term, I was in it for a long hall.               This is my
  22      life's work.     I told them they need to either explain
  23      this to me but they cannot be there with the
  24      executive and the commercial team as an incentive
  25      because they're not incentivize to win.               Why are they

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   1      incentive.    The reps, every company has, again, I
   2      don't know if you can find one, I'll really
   3      appreciate it.     But I don't know any company in our
   4      industry that has invited all on the same trip as
   5      commercial.
   6              Q.     Understand that.          You said you're not
   7      aware of any companies that did that, but my question
   8      to you was, is that a violation of a rule or
   9      regulation?
  10              A.     It is a violation of a rule in my mind
  11      because it's a violation of a rule if worked with
  12      this peril in the universal peril, now this is
  13      completely gray.      My concern was five years down the
  14      road if this comes back how will it look?                I needed
  15      an explanation.     Who approved this?             How can they
  16      approve this?     It's clear if anybody saw this and I
  17      have enough investor friends in the industry to tell
  18      me if they saw this, why are medical first people
  19      going on a sales trip, this is a sales trip.                 That
  20      was the only concern.
  21              Q.     You indicated that in your mind it was a
  22      violation but my question was more, are you aware of
  23      any law or regulation it violated?
  24              A.     No, but I also have not ever seen this.
  25      And our compliance it said you should not be

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   1      like no, I'm proud of you, don't go.                 Some people
   2      were comfortable with it, others were upset about it.
   3      How come she's getting out of it and we're not.                 And
   4      I said no, it's optional, you don't have to go.
   5      They're like no, we opted out no but there's not an
   6      option to say no and then when we spoke with our
   7      managers they said we hadn't responded and that we
   8      had to go.    It's not an optional meeting.               I'm like,
   9      it's an optional meeting.         And even Pete said guys,
  10      it's an optional meeting.         He made it clear that it
  11      was.    Apparently it wasn't so optional.
  12              Q.     Were you aware if Rob Rock was
  13      terminated from Pacira?
  14              A.     He wasn't terminated.               Rich, I told you
  15      I didn't want anybody fired.           No, he resigned on his
  16      own will, and Pete Murphy was on that phone call on
  17      March 13th when he said that.            Exact words were he
  18      was not terminated.      He resigned on his own will.
  19              Q.     Did you ever find out that he was
  20      terminated?
  21              A.     No.
  22              Q.     As we sit here today you still don't
  23      know?
  24              A.     Jason said no, that's not true.               I think
  25      there's some kind of mistake because he wasn't

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           EXHIBIT 11
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From:               Rich Kahr
                         Kahr[/O=SKYEPHARMA/OU=EXCHANGE
                              [/O=SKYEPHARMA/OU=EXCHANGEADMINISTRATIVE
                                                          ADMINISTRATIVE GROUP
                    (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=RICH KAHR2E4]
Sent:               Tuesday, February 06, 2018
                                          2018 5:51:49
                                               5:51:49 PM
                                                       PM
To:                 Hassan Danesi; Stephen
                                      StephenMarinaccio;
                                                Marinaccio;Lisa
                                                              Lisa Zhang;
                                                                   Zhang; Erin
                                                                           Erin Fitzpatrick;
                                                                                Fitzpatrick; Daina
                                                                                             Daina Borteck;
                                                                                                     Borteck; Julia
                                                                                                               Julia Yang;
                                                                                                                     Yang;
                    Earl
                    Earl Adamy;
                          Adamy;Scott
                                   Scott Braunstein;
                                         Braunstein; Roy Winston; Anita Walsh; James         Nugent;Mary
                                                                                     James Nugent;     MaryDiGiorgi;
                                                                                                              DiGiorgi;
                    Lauren Riker;
                             Riker; John
                                    John Gallagher;
                                          Gallagher; Jason
                                                      Jason Gallagher; Kenneth
                                                                         Kenneth Leslie;
                                                                                   Leslie; Robert Weiland;
                                                                                                    Weiland; David
                                                                                                               David J.
                    Smith; Matt   Lehmann; Leslie
                            Matt Lehmann;     Leslie Hyman; Mary Beriont; Sharon
                                                                               Sharon Cohen;
                                                                                       Cohen; Ron
                                                                                                Ron Ellis;
                                                                                                      Ellis; Susan
                                                                                                             Susan Mesco;
                                                                                                                    Mesco;
                    Richard
                    Richard Scranton;
                              Scranton; Barbara Koch;
                                                  Koch; Charles
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                                                                   Reinhart; Amber Sears; Michael Rozycki;
                                                                                                       Rozycki;Matthew
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                    Carangelo; Paul Maccaro;
                                      Maccaro; Vincent
                                                 Vincent Yu;
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                                                               YayraTuprah;
                                                                      Tuprah; Beth
                                                                                Beth Blumhoefer;
                                                                                      Blumhoefer; Randall Pinchuk;
                    Derek Lee;
                            Lee; Dorothy
                                 Dorothy Saewert;    Thomas Cichon;
                                           Saewert; Thomas     Cichon; Francine
                                                                        Francine Giocondo;
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                                                                                               SharonMcCarroll;
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                                                                                                                     David
                    Mitchell; Cindy
                               Cindy Alvarado;
                                      Alvarado; John Bartolick; Chad Brightwell; Chris Borsa; Christal Rowe; Dan
                    McKerracher; Emily
                                    EmilySmith;
                                            Smith; Gio
                                                    GioVendemia;
                                                         Vendemia;Glenn
                                                                     Glenn Reiser;
                                                                            Reiser; Huston
                                                                                    Huston Ellis;
                                                                                             Ellis;Peter
                                                                                                    Peter Murphy;
                                                                                                           Murphy; Robert
                                                                                                                     Robert
                    Rock;
                    Rock;Roxanne
                            Roxanne Doherty;
                                      Doherty; Thomas
                                                Thomas Schneider; Vaughn Schouten;         Joyce Davis;
                                                                               Schouten; Joyce     Davis; Sharon
                    McCarroll;
                    McCarroll; Anita
                                 Anita Walsh;
                                       Walsh; Erin
                                                Erin Fitzpatrick;
                                                     Fitzpatrick; Mary
                                                                   Mary Beriont;
                                                                         Beriont; Derek
                                                                                   Derek Lee;
                                                                                          Lee; Christa
                                                                                               Christa D'Agnese; Tatyana
                    Shuster;  Kristin Rudisill;
                    Shuster; Kristin  Rudisill; Matt
                                                Matt Lehmann; Dennis McLoughlin;
                                                                          McLoughlin; Karla
                                                                                         Karla Moore;
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                    Elise
                    Elise Bradley;
                          Bradley;Darrin
                                     Darrin Christiansen;
                                            Christiansen; Dave Dezan;
                                                                  Dezan; Tricia
                                                                          Tricia Glenn;
                                                                                 Glenn; John
                                                                                         John Grigsby;
                                                                                               Grigsby;Jeremy
                                                                                                          Jeremy Horton;
                                                                                                                  Horton;
                    Vladimir
                    Vladimir Kharitonov;
                               Kharitonov; Chuck
                                            Chuck Laranjeira;
                                                    Laranjeira; Kathy
                                                                 Kathy Los;
                                                                       Los;Bernie
                                                                             Bernie Morales;
                                                                                     Morales; Ron Ortiz;
                                                                                                     Ortiz; Deanna
                                                                                                             Deanna Ryan;
                    Ryan
                    Ryan Shore;
                           Shore; Jeremy
                                  Jeremy Wenzel
CC:                 Kristen Williams;
                            Williams; Anthony
                                      Anthony Molloy; Dave Stack
Subject:            Sensitivity Training
Attachments:        Client
                    Client Version
                           Version of
                                   of Sensitivity
                                      Sensitivity Training
                                                  TrainingPacira
                                                           Pacira02.05.2018.pptx
                                                                  02.05.2018.pptx

Pacira Leaders,

Thank
Thank you
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          for your
              your recent
                    recent participation in our Sensitivity
                                                Sensitivity Training
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                                                                      andyour
                                                                          yoursupport
                                                                                support for
                                                                                         for providing
                                                                                             providingaaharassment
                                                                                                         harassment free
workplace at Pacira. Attached
                     Attachedisisaa PPT
                                    PPT copy of the presentation
                                                    presentationledledby
                                                                       byJavier
                                                                          JavierGarcia
                                                                                 Garcia from
                                                                                         from Perkins
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                                                                                                       Coie.

Please let me know if you
                      you have
                          have any
                               any follow-up
                                   follow-upquestions
                                             questions on this
                                                          this material.



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            Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 144 of 268 PageID: 532




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                                        Sensitivity Training




                                                                                                  Pacira - 001454
                                        January 30, 2018


Perkins Coie LLP
Javier Garcia




Perkins Coie LLP
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               Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 145 of 268 PageID: 533




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                    Why Are You Here?




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              Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 149 of 268 PageID: 537




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                    The Negative Consequences of




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                    Workplace Harassment




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                                 • Training for
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                                                                                                                   stopping sexual harassment that occurs on the job




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                                               • Anti-harassment rule applies to employers with one




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                                                 agencies, labor organizations, state licensing boards, and




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   Circumstances of Sexual Harassment
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                       •        Unlawful sexual harassment may occur without
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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 159 of 268 PageID: 547




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                                                 the employees to remove the pictures.


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                                               • After a year, her supervisors allowed her co-




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                                                 office walls. Even though Mary had not been




                                                  •-i- 0- = =                                             < —,
                                                 she joined in when her co-workers would have




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                                                 offended by the remarks, she believed that the




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                                                 workers to post sexually explicit pictures on their
                                               • Mary has worked for A Corp. for 3 years. At first,




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                                                 supervisor twice, but her supervisor refused to ask




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                                                 pictures demeaned women. She complained to her




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                                                 sexual discussions. She herself would make sexual




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                                                 ethnicity, asking her if she was a member of Al


                                                 Resources Dept. of the hospital. She was fired




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                                               • Ani filed at least 18 complaints with the Human




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                                                 with, including being stabbed with a needle and
                                                 repeatedly harassed by the doctors she worked
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                                               • Ani is a physician assistant. She claims she was




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                                                 made disparaging comments about her Armenian




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                                                 being called "stupid chick." She claims one doctor




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                                                 slapping her on the butt. She claims another doctor
                                                 greeted her each morning by saying "I'm horny" and




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 168 of 268 PageID: 556




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   When is Harassment Improper?
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                        • Not all conduct that an employee might




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                        • Only harassment based on certain




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                        • Illegal harassment does not cover the
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                          equal opportunity harasser (a.k.a. a bully
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                          or a jerk). This could still violate
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                          company policy, however.
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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 169 of 268 PageID: 557




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   What are the Protected Characteristics?



                                                 Sexual
                                                Orientation




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                                               Pregnancy &
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                                      Sex
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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 170 of 268 PageID: 558




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                        • Sex (includes sexual harassment)




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                        • National origin/ancestry/citizenship
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                        • Religion
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                        • Disability (physical or mental)




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                        • Pregnancy/childbirth                               ))
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                        • Genetic Information
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                        •      Sex (pregnancy, perceived
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                               breastfeeding, or related                                 (e.g., cancer)




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 172 of 268 PageID: 560




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                          does not violate the anti-harassment policy




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                          because self-deprecating humor is OK.




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                        • Sending a joke by email or IM is OK so long
                          as you tell the recipient to delete it right away.




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 178 of 268 PageID: 566




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                        • Ann alleges she lost a promotion for which she




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                          had never subjected Ann's co-worker or any other




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                          employee to unwelcome sexual advances. Ann
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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 179 of 268 PageID: 567




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                          supervisor regularly harassed the co-worker in




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                          front of other employees, demanded sexual

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                          favors as a condition for her promotion, and then

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                          audibly boasted about his "conquest."
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                                                 recognized that their opportunities for




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                                                 of those employees willingly consented to the

                                                 and awards. Others consented because they




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                                               • Same as 4, except Ann's supervisor and other




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                                                 advancement would otherwise be limited. Ann




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                                                 favors from subordinate employees and offered




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                                                 job opportunities to those who complied. Some




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                                                 sexual requests and in turn received promotions




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                                                 management personnel regularly solicited sexual




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 181 of 268 PageID: 569




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   Equal Opportunity Harassment???



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                        • What if the alleged harasser treats
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                          everyone equally badly, and thus there is




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                          no harassment based on sex or other
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                          specific characteristic?




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               Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 182 of 268 PageID: 570




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                     Who is Covered?




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 183 of 268 PageID: 571




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                          the harassment involves a vendor.




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 184 of 268 PageID: 572




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      Who is Covered?

                        Employees are protected from harassment by:
                        •      Other employees (supervisors and co-workers)
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                               Vendors
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                        •      Visitors
                        •      Anyonewho does business
                               Anyone           businesswith the Company
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                                 You as the supervisor have a duty to stop
                                 harassment of your staff, not just by
                                 employees, but by third parties as well.

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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 185 of 268 PageID: 573




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                     When Does Harassment
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                        with co-workers, act professionally.
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                     Who is Liable?




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   Who is Liable for Harassment or Retaliation?




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   Who is Liable for Harassment or Retaliation?




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                          You could be PERSONALLY liable!!!
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    Who is Liable for Harassment or Retaliation?




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                       Individual personally liable for "aiding and
                       abetting" harassment if:
                       (1) The person that you assist performs a




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                           wrongful act that causes an injury;
                       (2) You must be aware of your role as part of
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                           an overall wrongful activity at the time of
                           providing the assistance; and
                       (3) You must knowingly and substantially




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                           assist the principal violation.




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 193 of 268 PageID: 581




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                        • Back pay
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                        • Reinstatement
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                        • Emotional distress
                        • Punitive damages
                        • Attorneys' fees
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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 194 of 268 PageID: 582




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                     Preventing and Responding to
                     Reports of Harassment




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 195 of 268 PageID: 583




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                        • Effective communication of the policies
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                        • Management and supervisory training




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                        • Immediate and appropriate action when
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   Harassment
                        Appropriate proactive steps:
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                        • Encourage employees to report
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                          harassment to management before it




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                          becomes severe or pervasive




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                        • Designate more than one individual to
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                          take complaints
                        • Ensure individuals designated to take
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                        • Instruct all supervisors to report
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                          complaints to appropriate officials
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   What Are Your Obligations?




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                           What should the manager do?




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                Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 198 of 268 PageID: 586




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   What Are Your Obligations?
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                        • A subordinate tells you informally over




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                          lunch that her coworker makes her feel




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                          uncomfortable. She makes it clear that




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                          she is not making a complaint and asks




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                          you to keep it confidential.




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   What Are Your Obligations?




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                        True or False
                        • Managers are not required to report either
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                          informal complaints of harassment or
                          complaints in which the employee requests




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                          that nothing be done.




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   What Are Your Obligations?

                        Obligation to report
                        • Complaints
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                        • Inappropriate conduct
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                               • If you:
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                                        ✓ See it
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                                        ✓ Hear about it




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   What Do You Do if Someone Reports
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                        • Confirm organization's commitment




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                               • We take these issues seriously




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                        • Confirm no retaliation
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                        • Immediately consult HR
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                        •      judge whether the conduct is harassment




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                        •      express opinions
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   What if Someone Accuses You of
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                        • If it is reported to you, follow the steps we
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   Harassment?
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                        • Lead by example
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                        • Confront and report inappropriate
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                        • Avoid jokes, words, gestures with sexual,
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                        • Be careful with your emails, IMs, social
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                         • Remind employees of the policy




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                         • Be responsive to complaints
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                         • Have an open door policy
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                         • Remember that behavior at Company      5




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   Affirmative Steps to Avoid Problems

                        • Be respectful of differences and different
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                          levels of sensitivity
                        • Comply with the Company's policy as it




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                          may be stricter than the law
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                        • If someone complains, it is an issue, even


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                          if the conduct does not violate Company




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                                                  Risky Conduct.

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                          John is so nervous after attending




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                         this harassment prevention training
                           that he decides never to invite any
                          female co-workers or subordinates




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                          out for dinner or drinks after work,
                           and always to keep his office door
                            open when he meets with female
                                       employees.



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                                                                                                            **CONFIDENTIAL**
                         Bennie says to Louise, "Go out with
                          me, and I'll make sure you get that




                                                                                                            Pacira - 001522
                                       promotion."




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                        Ellen offers Bennie a massage to




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                       relax his shoulders because he has




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                                                                                                            **CONFIDENTIAL**
                       Sam is good friends with all of the
                     people that she supervises. She talks




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                      with them a lot about their personal
                       lives, including graphic details of
                            their dating experiences.




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                         Julie told Max (who reports to her)
                       that she put in a "good word" for him




                                                                                                            Pacira - 001525
                        about an upcoming promotion. She
                         also said, "Stick with me and I will
                                 take you to the top."




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                           Emily filed a complaint of sex




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                       harassment against Miles. Andrea, a

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                        co-worker, tells Emily, "Don't bother
                        hanging around us anymore. You're
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                       just causing trouble for the rest of us
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                              women who work here!"        0
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                          John asks Sam out on a date to the




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                                      movies.




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                        of Matthew McConaughey, shirtless.
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                        On her desk she puts up a picture of




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                        her boyfriend wearing a bathing suit
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                              and flexing his muscles.
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                               Michelle puts a posting on the
                              Company's bulletin board in the




                                                                                                                   Pacira - 001529
                             kitchen about the "Sexiest Man at
                                      Work" contest.
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                     When some of the customers who are
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                       from the South meet Company




                                                                                                                   Pacira - 001530
                      employees, they give a full frontal
                     hug and a kiss them on both cheeks.




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                                                                                                            **CONFIDENTIAL**
                          Rory says to Lou, "You are really




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                        looking hot since you've lost all that




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                                      weight!"




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                                                                                                            **CONFIDENTIAL**
                       While at dinner, a contractor invites
                      three employees to a strip club, at the




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                              contractor's expense.




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                                                                                                            **CONFIDENTIAL**
                        A vendor tells Debbie, a Company
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                      staffer, that he's glad she is there and




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                         hands her his card with his cell
                                       number.




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                       While on a break at a trade show, a
                       vendor sends Debbie a text inviting




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                          her to a dinner away from the
                      convention site and asks if she wants
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                                  to share a cab.




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                                                                                                                       **CONFIDENTIAL**
                       While having drinks in a hotel lobby
                       bar after trade conference events are




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                         over, a vendor puts his hand on
                                    Debbie's back.




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                           Susan, a vendor, sends a LinkedIn
                             request to David, a Company




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                                      employee.




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                           Carrie, a Company employee,
                       receives a Facebook "friend" request




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                               from John, a vendor.
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                         Kathy, a Company employee, gets a
                          text message from vendor Daniel




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                         along with a nude picture of Daniel
                             and his hotel room number.




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                                                   Suzy had a consensual sexual




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                                                to her. Patrick ends the relationship.
                                               Later, Suzy is promoted and is asked




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                                               relationship with Patrick, who reports




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                     Joe, a long-time customer, sees Patti
                    at a Company meeting. Joe asks Patti




                                                                                                           Pacira - 001540
                    how she is, and she bursts into tears,
                    telling him that she is going through a
                     divorce. To comfort her, Joe puts his
                     arm around her shoulder and kisses
                               her on the cheek.


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                                                                                                               **CONFIDENTIAL**
                           Alex, a Company manager, gives
                          overall higher reviews to Company




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                          employees who are willing to go to
                          parties and clubs with customers at
                                     conferences.
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                     Pam approaches her manager, Sheila,




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                     before an event, and tells her that she



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                      has been receiving sexual texts and
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                       calls from customer Thomas. Pam
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                       does not want to attend the event.
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                     Thank you!




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           EXHIBIT 12
Case 2:18-cv-16509-MCA-AME Document 82-3 Filed 05/07/21 Page 235 of 268 PageID: 623
                                                   **CONFIDENTIAL**




From:       Reshma Abell
                     Abell[/O=SKYEPHARMA/OU=EXCHANGE
                            [/O=SKYEPHARMA/OU=EXCHANGE ADMINISTRATIVE
                                                       ADMINISTRATIVE GROUP
                                                                      GROUP
            (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=RESHMA ABELL430]
Sent:       Friday, February 17, 2017 2:54:18 PM
To:         Peter Murphy;     Glenn Reiser
                  Murphy; Glenn     Reiser
Subject:    Plan for
                 for Soft tissue
                          tissue growth
                                  growth


Hi Pete, Hi Glenn,

How are you? Thank you again for my promotion to Sr. SAS. The purpose of this email is to summarize what
we discussed on February 6th in Nashville.

As a Sr. SAS, 1 wanted
                   wanted to
                           to offer
                              offer myself
                                    myself to
                                           to my
                                              my peers in
                                                       in their own
                                                                own territories to assist them in growing their soft
tissue/anesthesia business. Keeping in mind our new goals from NSM last week, to concentrate on soft tissue, I
think the timing couldn't be better. We're also going to be sharing ortho space with Depuy at the beginning of
Q2 and by the end of the year, have them sell 100%. Our plan is to grow the soft tissue but most of our sales
force is still facing issues with how and where to get all this business. It's wide open but to navigate through
each system or each hospital is somewhat challenging. Our sales force is elite and intelligent enough to figure
this out on their own, however, time is not the luxury we can afford this year. With hopes of NB launch next
year, concentration on 3 calls per week on OMFS, getting Depuy up and ready by the end of the year, and
conquering all that soft tissue business sitting out there, is not exactly ideal. However, if I can only help with
one or two of these, I would like to do so. I owe this to our shareholders and my peers. As a Sr. SAS, I hope that
your faith in me will make this a success.

This idea came about after having several SASs and RDs wanting to have a field rides with me. Although I have
had many successful corporate, KOLs, NASA, training, sales, etc ride alongs in past couple of years, it makes
sense to have me ride within their territory so that I can assist them with their own day to day challenges. It's
wonderful to see me in my own territory do well but how are they taking this back into their own territory and
applying it? It's more effective if they have their own peer work with them for a day or two to replicate (within
their own comfort zone) what's already been successfully and consistently working for me. It's difficult enough
to grow our business as it is unique, let alone trying to protect the existing business or recover the lost business.
I'm not looking for a raise nor a cut in my quota. I will gladly and consistently deliver my number, however,
you must consider this as an opportunity for me to grow professionally. I'm getting stale in my own skin &
need this opportunity.

All I'm asking is that you allow me to ride with 6-10 SAS in the country or just the EAST coast, with the
permission of their RD, for the next 6 months. I also have names of the SASs who have asked me to assist them
in their territories if that helps get things moving. If this pilot works, we'll be set for the NB launch next year
and I can do this full time. If this pilot doesn't work, I'll still guarantee growth in each of those territories, while
delivering & exceeding my own quota. Let me know your thoughts.

             Reshma Abell
             917-794-0227
             Surgical Account Specialist, NY
             Pacira Pharmaceuticals




                                                     Pacira - 001008

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          EXHIBIT 13
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                                                Page 110                                                     Page 112
 1       A. She was -- in 2014, 2015 probably.                1   meetings on a biannual basis?
 2   Maybe even before that.                                  2       A. Normally annually.
 3       Q. What was her role or title there?                 3       Q. Normally it's annual?
 4       A. She was an SAS, account specialist in --          4       A. Yeah. There might be a regional in
 5   I believe in North Carolina.                             5   between.
 6       Q. Would she have fallen under your purview          6       Q. When are the national sales meetings
 7   as the area director?                                    7   usually held?
 8       A. Yes.                                              8       A. Usually like February.
 9       Q. Are you aware of Joy Fischer making any           9       Q. Would you normally attend these national
10   complaints to human resources?                          10   sales meetings?
11       A. To what?                                         11       A. Yes.
12       Q. Generally.                                       12       Q. Does most of the company attend these
13       A. Not that I remember. A lot of times              13   meetings?
14   human resources doesn't share with us who is making a   14       A. Most of the field team and marketing
15   complaint.                                              15   would be there. Some of the other support services.
16       Q. Was it ever brought to your attention            16       Q. When you say support services, are you
17   that any allegations of improper conduct by you with    17   referring to medical affairs?
18   respect to Joy Fisher were made?                        18       A. Medical affairs, sales operations, IT,
19       A. No.                                              19   you know, they would do a lot of, you know, upgrades
20       Q. Did you ever have any issues with Joy            20   and things of that nature while they had everybody
21   Fisher as an employee?                                  21   there.
22       A. Well, we ended up terminating her.               22            Human resources would be there.
23       Q. For what reason was she terminated?              23            We might be having some type of special
24       A. There were performance issues, but               24   program within the company for benefits or things of
25   ultimately she was terminated for a compliance          25   that nature.
                                                Page 111                                                     Page 113
 1   violation, which we have -- once that happens,           1       Q. Did you ever present at any of these
 2   there's nothing sales management can do.                 2   national sales meetings?
 3       Q. Do you recall what the compliance                 3       A. Yes.
 4   violation was?                                           4       Q. Have you ever led some of the events?
 5       A. I don't remember exactly what it was.             5       A. Yes.
 6   Kristen Rudisill was the RD and Joy Fisher was told      6       Q. What would be the types of topics upon
 7   specifically not to do something with data. It was       7   which you would speak at the national sales meeting?
 8   like data that wasn't approved by the company, and       8       A. I don't know if I so much spoke a lot as
 9   she went ahead and had a meeting with the doctor and     9   I facilitated or worked with, you know, the groups to
10   shared all this off-label stuff that she wasn't         10   develop the selling skills or clinical knowledge,
11   allowed to do and she was told not to do it             11   whatever the topic might be. I could be out
12   beforehand and went ahead and did it anyway.            12   facilitating, providing a format for business plans,
13            And it was reported back to us through         13   things of that nature.
14   DePui Synthes. So it was a pretty legitimate chain      14       Q. Generally, how long would the national
15   of evidence that went all the back and had multiple     15   sales meetings last? Couple of days?
16   people involved.                                        16       A. Couple of days. Two to three days,
17       Q. Are you aware if Joy Fisher ever made            17   sometimes, depending on travel.
18   any complaints about inappropriate conduct at Pacira?   18       Q. Every year, would you host them at
19       A. I don't remember any of them.                    19   different locations?
20       Q. Specifically of a sexual nature?                 20       A. Yes. We used to do that. We don't do
21       A. I don't know what you're talking about.          21   that anymore.
22       Q. I'm only asking what you know. I don't           22       Q. You just have a fixed location that you
23   know what you know or --                                23   do it at the same place every year?
24       A. I don't remember any.                            24       A. That's our goal.
25       Q. Does Pacira conduct national sales               25       Q. Where are they held now?




                                                                                   29 (Pages 110 to 113)
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                                                Page 114                                                    Page 116
 1       A. Tampa.                                            1        Q. At some point in time, were you made
 2       Q. Were you present at the national sales            2   aware that a women's leadership meeting was scheduled
 3   meeting that took place in 2018?                         3   to take place during the course of the 2018 national
 4       A. Yes.                                              4   sales meeting?
 5       Q. And do you recall where that was                  5        A. Yes.
 6   located?                                                 6        Q. Had Pacira ever hosted at any of its
 7       A. That might have been Nashville. I don't           7   prior national sales meeting a women's leadership
 8   separate them by the years. I mean, I don't know the     8   meeting?
 9   year. There was Atlanta, Nashville. That's how I         9        A. Not with the formality of this one.
10   remember them.                                          10        Q. So was this the first of its kind?
11       Q. Do you recall there being a national             11        A. Yeah, I think there were breakfast
12   sales meeting in Orlando?                               12   meetings at past and working groups, but never a
13       A. Yes. Yes. That was Orlando. I'm                  13   large-scale program like that.
14   sorry.                                                  14        Q. Did you have any involvement with
15       Q. So in 2018, in February of 2018, when            15   developing or planning the women's leadership
16   the national sales meeting took place, would you have   16   meeting?
17   then been serving in the role of chief commercial       17        A. Not a whole lot. I mean, I advocated
18   officer?                                                18   for it early on. When they considered doing it, I
19       A. No.                                              19   thought it was a great idea and I'm a big proponent
20       Q. What role -- were you still in the               20   of it. I wasn't involved in the detailed planning.
21   executive director position at that time?               21        Q. Do you know who was?
22       A. Yes.                                             22        A. I believe probably Kristen Williams and
23       Q. When would your promotion to chief               23   she had a small team involved in it.
24   commercial officer have taken place?                    24        Q. What is Kristen Williams's role at
25       A. Maybe September.                                 25   Pacira?
                                                Page 115                                                    Page 117
 1       Q. Does Pacira ever use the national sales           1       A. She is chief legal counsel.
 2   meeting as an opportunity to announce promotions?        2       Q. Do you know if all of the Pacira
 3       A. Yes. Not all the time, but they've done           3   employees were invited to this women leadership
 4   that in different formats.                               4   meeting?
 5       Q. And who puts together the agenda for              5       A. I don't remember if everyone was
 6   national sales meeting? Is that a committee, a           6   invited. I know there was an invitation extended. I
 7   certain individual, something else?                      7   don't know if everybody with sales operations there
 8       A. It's a committee and, you know,                   8   and marketing maybe not have invited everybody.
 9   everybody wants to have time at the national meeting,    9   They're different departments.
10   and then they select the theme of the meeting and       10       Q. Do you recall being invited to the
11   what's going to be the major topics.                    11   meeting?
12       Q. Are you involved in any way in the               12       A. I don't remember.
13   planning process?                                       13       Q. Did you understand the women's
14       A. I wasn't in that one outside of just             14   leadership meeting to be an optional event?
15   doing what we were doing for the DePui Synthes          15       A. That was my understanding.
16   partnership.                                            16       Q. And do you have a recollection as to
17       Q. When were you first provided with the            17   whether or not the invitation were extended to just
18   agenda for the 2018 national sales meeting?             18   females, just males, or to some combination?
19            Would you have been given it in advance        19       A. I knew I couldn't attend the event, so I
20   of the meeting, at the meeting, or some other time?     20   didn't really get involved with the interpretations.
21       A. I was given it may be month in advance.          21   I knew I had a prior commitment for a program, but I
22   Prior to that, we ended up changing some things for     22   didn't really pay attention to who was invited or
23   my area specifically, and we ended up adding a lab in   23   not.
24   and some -- a lot of off-site training. We literally    24       Q. What were you committed to do at that
25   had to get on a bus and go to a separate location.      25   time?




                                                                                   30 (Pages 114 to 117)
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                                               Page 178                                                    Page 180
 1   officer; correct?                                       1   my position. I don't remember where I ended up. It
 2       A. Are you talking about now or back then?          2   could be a level 13.
 3       Q. Currently.                                       3       Q. As a chief titled position, what range
 4       A. Chief operating officer, chief clinical          4   of levels are appropriately applied to those
 5   officer, chief customer officer. I don't know if        5   positions?
 6   everybody's title are chief or VP, but I can only       6       A. I don't know. I mean, I don't sit there
 7   think of four.                                          7   and look at the HR levels for all the positions.
 8       Q. Are VPs -- does VP stand for vice                8       Q. Are you currently at a level 13?
 9   president?                                              9       A. I would have to go and look. Honestly,
10       A. Yes.                                            10   I don't know what my level is right now. I know what
11       Q. Are vice presidents perceived to be on          11   my job is and I go out and do it.
12   the same level as the chief titled employees?          12       Q. When you were promoted from executive
13       A. I don't know all their levels. They             13   director of alliances to the chief commercial
14   could be. It could be just a different....             14   officer, did that come with an increase in pay?
15       Q. At any point in time were you party to          15       A. I'm sorry, what was the question?
16   any discussions about Reshma being promoted to a       16       Q. When you were promoted from executive
17   director level position?                               17   director of alliances to chief commercial officer,
18       A. No.                                             18   did that come with an increase in pay?
19       Q. Have you ever heard or have you ever            19       A. Yes.
20   been part of any conversations within Pacira           20       Q. Did that also come with a corresponding
21   regarding the formation of a position for a director   21   increase of level?
22   of post-op pain management?                            22       A. Yes.
23       A. No.                                             23       Q. And as a chief, holding a title with
24       Q. And have you ever heard that title              24   chief, does that allow you the opportunity to hit the
25   before used within Pacira?                             25   highest level of pay within Pacira?
                                               Page 179                                                    Page 181
 1       A. No.                                              1            MR. PANZINI: Objection to form, but you
 2       Q. Have you ever heard the terminology the          2   can answer.
 3   Boys' Club used within Pacira?                          3       A. I don't know what the highest form is.
 4       A. No.                                              4   I would imagine -- I think the chief executive
 5       Q. Have you ever been told that any                 5   officer would be higher.
 6   certain, particular events were designated for guys     6       Q. Underneath the chief executive officer
 7   only or men only within Pacira?                         7   would then be the remainder of the chief title
 8       A. No.                                              8   positions?
 9       Q. When you were discussing the salary              9       A. Yes.
10   grades and you told me there could be as many as 16    10            MR. STEWART: I appreciate your time
11   different grades, would the examples of 7EX, 8EX, or   11   here today. I believe I'm finished. Thank you for
12   9EX, would that be an example of certain pay grades    12   your patience and for participating.
13   that Pacira assigns to different employees?            13            THE WITNESS: Thank you.
14       A. It could be.                                    14            MR. PANZINI: All right. I have just a
15       Q. Are you familiar with that terminology?         15   couple of quick follow-ups and I will be done, I
16       A. Yes. Not so much the way you're                 16   promise. When you hear the word couple quick,
17   describing it. But, yes, I think I know what you       17   usually it's long. But I honestly really mean that.
18   mean.                                                  18   EXAMINATION BY
19       Q. How would you describe it?                      19   MR. PANZINI:
20       A. They would have a level, whether it's a         20       Q. Did Reshma ever come to you directly to
21   six or a seven, and EX would be they were an           21   report that she felt she was being discriminated
22   executive in that level.                               22   against based on her gender?
23       Q. Understood. And as executive director           23       A. No.
24   of alliances, what level would that be?                24       Q. Did she ever tell you that she thought
25       A. So I was moved up a couple of levels in         25   the men were making more because they were men?




                                                                                  46 (Pages 178 to 181)
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           EXHIBIT 14
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From:                        Julie Longthorne <jlongthorne@westfieldgroupusa.com>
Sent:                        Wednesday, February 7, 2018 11:54 AM
Subject:                     Before You Go! 2018 Pacira National Meeting - Orlando, FL
Attachments:                 image003.emz; Before You Go - Pacira 2018 National Meeting.pdf




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           Before You Go
                                   2018 National Meeting
                                   February 11 - 15, 2018

                               Loews Sapphire Falls Resort
                                      Orlando, FL

FINAL MEETING CONFIRMATION
TENTATIVE AGENDA

Sunday, February 11, 2018
   • Welcome Dinner at 6:30 PM

Monday, February 12, 2018
  • Breakfast
  • Meetings
  • Lunch
  • Meetings
  • Regional Dine Arounds

Tuesday, February 13, 2018
   • Breakfast
   • Meetings

                                                       1
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   •   Lunch
   •   Meetings
   •   Night on Own
   •   Women in Leadership Event




  • Meetings
  • Lunch
  • Meetings
                     –ReservationsRecommended
Wednesday, February 14, 2018
  • Breakfast



  • Awards Dinner

Thursday, February 15, 2018
   • Breakfast
   • Meetings
   • Box Lunch
   • Flight Departures after 2:00 PM


Pacira appreciates that you will be traveling away from your loved one's this Valentine's Day. The gift
selected during registration will be mailed to the recipient of your choice the week of February 12,
2018 courtesy of Pacira Pharmaceuticals.


 0 HOTEL INFORMATION
imi
Loews Sapphire Falls Resort at Universal Orlando
6601 Adventure Way
Orlando, FL 32819
Phone: (888) 430-4999

Pacira will cover the cost of your sleeping room and tax over the program dates of February 11 – 15,
2018. Upon check-in, you will be required to provide a credit card to cover any incidental charges
that you may incur during your stay (i.e. room service, in-room movies, in-room internet, honor bar,
laundry services, sundries, etc.).

Early arrivals or extended stays will be at the requesting guest's expense and will not be covered by
Pacira unless special circumstances have been previously approved.

Please know additional room nights as well as the group rate, cannot be guaranteed and is subject
to the hotel’s availability.

Accommodations have been reserved for you based upon the information that you provided on
your registration. If you have any questions or concerns regarding your arrival/departure dates,
please notify Julie Longthorne immediately at (973) 240-0180 x229 or via email at
jlongthorne@westfieldgroupusa.com.

The Loews Sapphire Falls Resort is a smoke-free hotel and all guest rooms are non-smoking.

Check-in and Check-out

                                                     2
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Check-in time at the Loews Sapphire Falls Resort is 4:00 PM and check-out time is 11:00 AM. The
Loews Sapphire Falls Resort will make reasonable efforts to accommodate early arrivals, however
early check-in cannot be guaranteed.

Guest Room Internet
Guest room Wi-Fi is complimentary for all meeting attendees staying at the Loews Sapphire Falls
Resort.

Parking
Parking at the hotel will be covered by Pacira over the dates of the program for local attendees
driving to the meeting.

Required Meeting Materials
Please make sure you bring your Pacira issued iPad and charger with you as you will be using it
throughout the duration of the meeting. Please ensure to synchronize your iPad before arrival at the
meeting.




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                                             Pacira - 001548                     **CONFIDENTIAL**
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 pm! HOTEL INFORMATION (cont.)
Hospitality Desk and On-Site Contact
Upon arrival to the hotel, please stop by the Pacira Hospitality Desk in the Grand Caribbean Pre-
Function East Foyer located on the Lobby Level to receive your welcome packet.

Please check the packet for any meeting updates. Please see the Westfield Group Program Staff at
the Hospitality Desk should you have any questions or needs on-site during your stay.

The desk will remain open in the Grand Caribbean Pre-Function East Foyer throughout the duration of
the meeting at the times listed below.

HOSPITALITY DESK – DESK HOURS

           DATE                        LOCATION                     OPEN       CLOSE
 Sunday, February 11        Grand Caribbean Pre-Function East      8:00 AM    6:00 PM
 Monday, February 12        Grand Caribbean Pre-Function East      6:30 AM    5:00 PM
 Tuesday, February 13       Grand Caribbean Pre-Function East      6:30 AM    5:00 PM
 Wednesday, February 14     Grand Caribbean Pre-Function East      6:30 AM    5:00 PM
 Thursday, February 15      Grand Caribbean Pre-Function East      6:30 AM    2:00 PM

On-Site Support
On-site IT support will be available. If you should have any hardware or software issues with iPads or
laptops there will be a drop off point and an opportunity to speak with a member of the IT team. The
IT team can be found in St. Croix 1 on the Lobby Level from Sunday, February 11th – Thursday,
February 15th.

Fitness Center
The Fitness Center is located on the 2nd Floor of the hotel and is open until 11:00 PM, seven days a
week.

Hotel Business Center
The Hotel Business Center is located on the Lobby Level. Computer use is available 24 hours a day,
seven days a week.




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                                              Pacira - 001549                      **CONFIDENTIAL**
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El      TRAVEL INFORMATION
All travel has been booked through Travel Leaders Corporate. You should have received your air
itinerary through email. If you have any questions or are in need of another copy of your travel
itinerary, please contact Travel Leaders Corporate below:

Travel Leaders Corporate
Open Week Days: Monday – Friday
Hours: 9:00 AM – 5:30 PM (EST)
Phone: (844) 485-2677

Please note that it is approximately a 20-minute drive from Orlando International Airport (MCO) to the
Loews Sapphire Falls Resort.

Departures
All flights should be scheduled to depart from Orlando International Airport (MCO) on Thursday,
February 15, 2018.

Because of the current security procedures in place at most US airports, all ticketed passengers must
present an official government–issued photo ID. Starting January 22, 2018, travelers who do not have
a license or identification card from a compliant state or a state that has been granted an extension
will be asked to provide alternate acceptable identification. If you cannot provide an acceptable
form of identification, you will not be permitted through the security checkpoint.

For schedule updates and to see if your state is compliant, visit the DHS REAL ID schedule and
enforcement brief. https://www.dhs.gov/real-id.

For domestic travel, it is recommended that you check in at least 2 hours prior to your scheduled
departure time. Only ticketed passengers will be permitted beyond the security checkpoint into the
gate areas. Please reconfirm your frequent flyer number directly with the airline agent upon checking
in. Several airline carriers have enforced checked luggage fees.

IMPORTANT: Please check with your airline carrier for up-to-date policies on checked luggage.

Please ensure that any checked luggage contains a luggage tag with your name, address, and
telephone number. This will help us identify your luggage at the hotel.




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                                             Pacira - 001550                      **CONFIDENTIAL**
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 A      GROUND TRANSPORTATION
Ground transportation will be provided by Hello! Florida. If you cannot locate your driver, please
contact Jarrod Fucci at (954) 643-6089.

Upon arrival at the Orlando International Airport (MCO), please proceed to your designated
baggage claim area, even if you have not checked luggage. Staff in purple polos will be holding a
sign with the Pacira Logo. Drivers will be standing at the entry point from the terminals into baggage
claim.

Attendees traveling outside of the meeting dates of Sunday, February 11th – Thursday, February 15th,
will be responsible for arranging their own transportation to and from the airport.

Arrival
Prearranged ground transportation will be provided from Orlando International Airport (MCO) to the
Loews Sapphire Falls Resort on Sunday, February 11th.

Departure
Return transportation to Orlando International Airport (MCO) from the Loews Sapphire Falls Resort will
be provided at the conclusion of the meeting on Thursday, February 15th. A departure notice will be
provided during the meeting with details regarding return transportation.




0       GENERAL INFORMATION
General Meeting Information
Name badges will be provided to you in your welcome packet, which you will receive on-site. You
will be required to wear your name badge to all business sessions and planned meal functions so
Meeting Staff may easily identify you.

As always, please be certain to protect your personal belongings (laptops, iPads, briefcases,
pocketbooks, etc.) and do not leave them unattended. Please do not leave any personal property
or company-related printed materials in the meeting rooms or hotel corridors. All materials that are
left behind will be destroyed.

Meals will be provided for the group over the duration of the program dates. Meals are not
reimbursable expenses when a group meal is provided as part of the meeting agenda. Pacira will
reimburse for (1) one checked bag fee per flight.

Weather
The weather in Orlando, FL for the month of February is a low of 52°F and a high of 74°F.




                                                     6
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         MEETING ATTIRE

                                       DAY TIME ATTIRE
    Sunday, February 11                        Casual (jeans permissible)
   Monday, February 12                               Business Casual
   Tuesday, February 13                              Business Casual
  Wednesday, February 14                       Casual (jeans permissible)
   Thursday, February 15                       Casual (jeans permissible)

                                     EVENING ATTIRE
    Sunday, February 11                          Casual (jeans permissible)
   Monday, February 12                           Casual (jeans permissible)
   Tuesday, February 13                          Casual (jeans permissible)
  Wednesday, February 14         (Cocktail Attire) for Women and Business Attire for Men
   Thursday, February 15                         Casual (jeans permissible)

Here is an attire guideline to help you plan for packing:

Business Casual Recommendations


Men:
• Khaki, linen, gabardine or cotton dress slacks, neatly pressed
• Cotton long-sleeved button-down shirts, pressed, polo shirts with a collar
• Light Sweaters
• Sport Jackets optional
• Ties optional


Women:
• Khaki, linen, twill or cotton dress slacks, skirts or dresses, neatly pressed
• Blouses, light sweaters, twinsets, cardigans, polo/knit shirts
• Blazers optional


Below is an attire guideline for the Awards Dinner on Wednesday, February 14th.

Semi-Formal (Cocktail Attire) Recommendations


Men:
• Full Suit or Sport Coat
• Dress Slacks
• Business Shirt
• Tie

Women:
• Cocktail Dress
• Pants Suit
• Dress Suit

                                                         7
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      Looking forward to seeing you in Orlando!
         If you have any questions regarding any of the information noted above, please notify
Julie Longthorne immediately at (973) 240-0180 x229 or via email at jlongthorne@westfieldgroupusa.com.




                                                    9
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            EXHIBIT 15
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                                                              Pacira 2018 National Meeting - Women's Leadership Dinner
                                                                                February 11- 15, 2018
                                                                       Loews Sapphire Falls Resort - Orlando, FL
                        First Name      Last Name                     Email           Registration Status   Registered Date    Decline Note
                       Lindsey       Adams           lindsey.adams@pacira.com        Accepted                           1/19
                       Nicole        Adams           nicole.adams@pacira.com         Accepted                           1/23
                       Cindy         Alvarado       cindy.alvarado@pacira.com        Accepted                           1/16
                       Meegan        Anderson       meegan.anderson@pacira.com       Accepted                           1/16
                       Alexis        Beckel         alexis.beckel@pacira.com         Accepted                           1/18
                       Julie         Berard         julie.berard@pacira.com          Accepted                           1/17
                       Mary          Beriont        mary.beriont@pacira.com          Accepted                           1/17
                       Monica        Birchmeier     Monica.Birchmeier@pacira.com     Accepted                           1/16
                       Shawn         Boykin         shawn.boykin@pacira.com          Accepted                           1/16
                  10   Nicole        Brandt-Young   nicole.brandt-young@pacira.com   Accepted                           1/17
                  11   Kasey         Chuisano       kchuisal@its.jnj.com             Accepted                           1/22
                  12   Helene        Cissell        helene.cissell@pacira.com        Accepted                           1/18
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                  13   Nikki         Cracknell      Nikki.Cracknell@pacira.com       Accepted                           1/18
                  14   Carrie        Crutchfield    carrie.crutchfield@pacira.com    Accepted                           1/18
                  15   Christa       D'Agnese       christa.dagnese@pacira.com       Accepted                           1/22
                  16   Joyce         Davis          joyce.davis@pacira.com           Accepted                           1/16
                  17   Stephanie     Davis          stephanie.davis@pacira.com       Accepted                           1/24
                  18   Laura         Day            laura.day@pacira.com             Accepted                           1/16
                  19   Rachel        Delauder       rdelaude@its.jnj.com             Accepted                           1/25
                  20   Christine     DiDonato       christine.didonato@pacira.com    Accepted                           1/23
                  21   Roxanne       Doherty        roxanne.doherty@pacira.com       Accepted                           1/16
                  22   Tracy         Dominguez      tracy.dominguez@pacira.com       Accepted                           1/17
                  23   Daphne        Durant         daphne.durant@pacira.com         Accepted                           1/18
                  24   Lani          Dvorak         lani.dvorak@pacira.com           Accepted                          1/16
                  25   Erin          Fitzpatrick    erin.fitzpatrick@pacira.com      Accepted                          1/16
                  26   Francine      Giocondo       Francine.giocondo@pacira.com     Accepted                          1/16
                  27   Melissa       Giordano       melissa.giordano@pacira.com      Accepted                          1/17
                  28   Madeline      Gooding        madeline.gooding@pacira.com      Accepted                          1/16
                  29   Kristy        Harlin         kristy.harlin@pacira.com         Accepted                          1/22
                  30   Jennifer      Hedden         jennifer.hedden@pacira.com       Accepted                          1/16
                  31   Jody          Hogan          jody.hogan@pacira.com            Accepted                          1/18
                  32   Elizabeth     Holland        liz.holland@pacira.com           Accepted                          1/21
                  33   Michelle      Jones          michelle.jones@pacira.com        Accepted                          1/22
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                  34   Nancy        Kerrigan       nancy.kerrigan@pacira.com         Accepted     1/16
                  35   Gigi         Kisling        gigi.kisling@pacira.com           Accepted     1/16
                  36   Brandi       Knepley        Brandi.Knepley@pacira.com         Accepted     1/16
                  37   Kerry        Landtroop      kerry.landtroop@pacira.com        Accepted     1/16
                  38   Christy      Lee            christy.lee@pacira.com            Accepted     1/24
                  39   Jackie       Lu             jackie.lu@pacira.com              Accepted     1/18
                  40   Lauren       Lynn           lauren.lynn@pacira.com            Accepted     1/16
                  41   Sharon       McCarroll      Sharon.mccarroll@pacira.com       Accepted     1/16
                  42   Nannette     McCollum       nannette.mccollum@pacira.com      Accepted     1/16
                  43   Karin        McGarry        Karin.McGarry@pacira.com          Accepted     1/17
                  44   Sally        Miller         sally.miller@pacira.com           Accepted     1/23
                  45   Amy          Molitoris      amy.molitoris@pacira.com          Accepted     1/23
                  46   Nicole       Nejeschleba    nicole.nejeschleba@pacira.com     Accepted     1/18
                  47   Elizabeth    Norcross       elizabeth.norcross@pacira.com     Accepted     1/18
                  48   Lizette      Pardo-Crespo   lizette.pardo-crespo@pacira.com   Accepted     1/18
                  49   Janet        Poppe          janet.poppe@pacira.com            Accepted     1/21
                  50   Danielle     Resseguet      danielle.resseguet@pacira.com     Accepted     1/16
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                  51   Deborah      Ross           deb.ross@pacira.com               Accepted     1/22
                  52   Christal     Rowe           Christal.Rowe@pacira.com          Accepted     1/17
                  53   Kristin      Rudisill       kristin.rudisill@pacira.com       Accepted     1/16
                  54   Wendy        Runckel        wendy.runckel@pacira.com          Accepted     1/17
                  55   Melissa      Ryan           melissa.ryan@pacira.com           Accepted     1/16
                  56   Julie        Sarmanian      julie.sarmanian@pacira.com        Accepted     1/16
                  57   Tatyana      Shuster        Tatyana.shuster@pacira.com        Accepted     1/24
                  58   Emily        Smith          emily.smith@pacira.com            Accepted     1/17
                  59   Abby         Solcoff        abby.solcoff@pacira.com           Accepted     1/20
                  60   Ellen        Speier         ebspeier@yahoo.com                Accepted     1/24
                  61   Jo           Stevenson      jo.stevenson@pacira.com           Accepted     1/16
                  62   Lisa         Surbey         lisa.surbey@pacira.com            Accepted     1/16
                  63   Kimberly     Sventy         kimberly.sventy@pacira.com        Accepted     1/17
                  64   Gretchen     Tiede          gretchen.tiede@pacira.com         Accepted     1/19
                  65   Mary Helen   Tran           maryhelen.tran@pacira.com         Accepted     1/16
                  66   Kristen      Villano        kristen.villano@pacira.com        Accepted     1/17
                  67   Joni         Walker         joni.walker@pacira.com            Accepted     1/17
                  68   Anita        Walsh          anita.walsh@pacira.com            Accepted     1/16
                  69   Fanta        Waterman       fanta.waterman@pacira.com         Accepted     1/16
                  70   Nancy        Wells          nancy.wells@pacira.com            Accepted     1/18
                  71   Tiffany      White          tiffany.white@pacira.com          Accepted     1/25
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                  72 Kristen     Williams     Kristen.Williams@pacira.com       Accepted       1/16
                  73 Catherine   Williamson   catherine.williamson@pacira.com   Accepted       1/16
                  74 Ellen       Woolard      ellen.woolard@pacira.com          Accepted       1/16
                     Melva       Covington    melva.covington@pacira.corn       Cancelled
                     Leslie      Hyman        leslie.hyman@pacira.corn          Cancelled
                     Reshma      Abell        reshma.abell@pacira.coin          Decline
                     Linda       Hasty        linda.hasty@pacira.com            Decline               I have a previous engagement.
                     Erica       Keane        erica.keane@pacira.com            Decline                Will not be attending meeting.
                     Amber       Sears        ambersears@pacira.com             Decline               Not attending meeting
                                                                                                      I was trying to rearrange the dinner I had
                  7 Linda        Sherman      linda.sherman@pacira.com          Decline               scheduled to another night while we were there.
                                                                                                      It was prearranged for our free night.
                  8 Cheryl       White        cheryl.white@pacira.com           Decline               another obligation
                  1 Mindy        Edgar        medgar2@its.jnj.com               No Response
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            EXHIBIT 16
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 From:            Glenn Reiser VO=SKYEPHARMA/OU=FIRST ADMINISTRATIVE
                  GROUP/CN=RECIPIENTS/CN=GLENNRI
 Sent:            Tuesday, February 20, 2018 8:14:42 AM
 To:              Rich Kahr
 Subject:         RE: Incident at National Meeting


 Not sure if I mentioned on our Friday call, but in addition to Rob leaving the
 meeting/his team, he did not inform me (his direct manager) of the incident nor hi
 meeting departure/resignation. Also, in regards to Reshma; Lance Noble appr ached
 Chris Borsa to give him feedback from Wednesday night that Reshma was using
 explicitly sexual language.

 Thank y u,
 Glenn

      Original Message
 From: Glenn Reiser
 Sent: Tuesday, February 20, 2018 7:01 AM
 To: Rich Kahr
 Subject: RE: Incident at National Meeting

 Good morning Rich,

 My apologies, Pat Nolan.   I'll try you later AM to catch up.

 Glenn

      Original Me sage
 From: Rich Kahr
 Sent: Tuesday, February 20, 2018 6:59 AM
 To: Glenn Reiser
 Subject: RE: Incident at National Meeting

 Hi Glenn,

 Who is Pat that you referenced below?



 Rich Kahr
 Vice President, Human Resources
 Pacira Pharmaceuticals
 5 Sylvan Way
 Parsippany, NJ 07054
 (973) 254-4341 Office
 (848) 702-0512 Cell
 rich.kahr@pacira.com

      Original Message
 From: Rich Kahr
 Sent: Thursday, February 15, 2018 11:25 AM
 To: Glenn Reiser; Peter Murphy
 Subject: RE: Incident at National Meeting

 Thanks Glenn.   I will follow-up with you guys next week.

      Original Message
 From: Glenn Reiser



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  Sent: Thursday, February 15, 2018 11:15 AM
  To: Rich Kahr; Peter Murphy
  Subject: Incident at National Meeting

  Having issues logging in with my laptop so sending from phone:

     Rob and Reshma at Hotel lobby waiting on transportation to Top Golf: From what I
  understand Rob approached Reshma there and told her she she wasn't welcome to attend
  the Top Golf event and it was closed invitati n and she should be attending the
  Women's Leadership forum instead (according to Reshma)   Isaac Smolk may have been
  there.

  2) At lop Golf: Reshma and Pat were hitting g if balls and Rob appr ached Reshma and
  ended up in a heated discussi n (c nfirmed by Pat)   Gi and his team were witness to
  it: Ken Wolfe, Mike Corn.

  3) In Hotel later: Pat escorted Reshma over to Roxanne Doherty based recognizing she
  was seemingly still having a hard time from earlier.

  Thank you,
  Glenn

 Sent from my iPhone




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           EXHIBIT 17
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                                                     **CONFIDENTIAL**




From:        Scott Braunstein
             Scott Braunstein    [/O=SKYEPHARMA/OU=EXCHANGEADMINISTRATIVE
                              [/O=SKYEPHARMA/OU=EXCHANGE    ADMINISTRATIVE GROUP
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=SCOTT    BRAUNSTEINOEE]
             (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=SCOTT BRAUNSTEINOEE]
Sent:        Thursday, February 15, 2018 1:24:07
                                           1:24:07 PM
                                                   PM
To:          Rich Kahr
CC:          Peter Murphy
Subject:     Rob rock

Rich, for clarity , thought it was best you had an email from rob to me yesterday am at 6 am.

Scott,
Tonight, as a couple of regions were leaving to go to TopGolf an SAS showed up staring, "I'm crashing your
party!" Which
          Which led
                  led me
                      me toto ask,
                              ask, "Aren't you supposed to be attending the    the Women
                                                                                   Women in  in Surgery
                                                                                                Surgery dinner?"
                                                                                                         dinner?" The
response was,
"F#%k that.
         that. It's BS."
I walked away. We   We all
                       all jumped
                            jumped in anan Uber & we're off to TopGolf. One    One of
                                                                                    of my
                                                                                       my team
                                                                                            team let
                                                                                                  let me
                                                                                                      me know
                                                                                                         know that this SAS
thought I was mad.     In response
                 mad. In   response I spoke to them and said I was surprised, but     but not
                                                                                          not upset.  This was not received
                                                                                               upset. This
in the manner I had expected.
                       expected. II was
                                     was cursed,
                                            cursed, called
                                                    called a liar, and more.
Later, I received two calls from my team letting me know that this SAS was blowing me up to anyone in
earshot.
It got worse as more more drinks were consumed.
Knowing this person and knowing their volatility,
                                                volatility, II expect
                                                               expect to
                                                                      to be
                                                                         be pulled
                                                                            pulled aside
                                                                                   aside tomorrow.
                                                                                          tomorrow. I also know this SAS
has bullied leadership in the past.
                                  past. II dont
                                           dont expect
                                                expect toto be
                                                             be allowed to present my side.
I want you to know
                know you
                       you have
                             have mymyutmost
                                        utmostrespect.
                                                 respect. II wish
                                                               wish you
                                                                    you all the best.

Like Douglas McArthur, I'm just going to fade away.

Vaya con dios

RRR


Scott Braunstein, MD
Chief Operating Officer
Pacira Pharmaceuticals, Inc
5 Sylvan Way, Suite 300
Parsippany, NJ 07054
(973)-254-4352
Help Patients Find EXPAREL
Join the EXPAREL Surgeon Selector
 Link:
https://surgeonselector.exparel.com/




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            EXHIBIT 18
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From:                             Robert Rock <rockr082418@pacira.mail.onmicrosoft.com>
Sent:                             Saturday, February 17, 2018 5:54 PM
To:                               Rich Kahr
Subject:                          RE: Call Next Week
Attachments:                      Notes for Rich Kahr call.docx




From: Rich Kahr
Sent: Saturday, February 17, 2018 2:51 PM
To: Robert Rock
Subject: Call Next Week

Hi Rob,

I have been made aware of an incident that occurred at the National Sales Meeting this week. I would like to have a call
with you next week to discuss what happened from your perspective. I will need about 30 minutes of your time. Can
you give me some times on Tuesday and Wednesday that would work for you? I will match those times up with my
availability and confirm a time back to you.

Thank you.



Red ,taipt
Vice President, Human Resources
Pacira Pharmaceuticals
5 Sylvan Way
Parsippany, NJ 07054
(973) 254-4341 Office
(848) 702-0512 Cell
rich.kahr@pacira.com




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   Notes for Rich Kahr call

   At NSM Train-the-trainer in Morristown, Glenn Reiser asked East RDs to consider using Reshma Abell for
   TAP education in our regions. She was doing a pilot as part of a development program. Steve Huddy
   took advantage of this offer and RA came to Mobile to work a few days with Steve. I then received a call
   from RA to debrief on the time she spent in the field with Steve. The first this she said to me was, "You
   would be so proud of me. I only picked up one guy while I was down there." I made to reply. Steve had
   already called me concerned that RA had "pissed off two anesthesiologist." He also mentioned that
   while they were out to eat the manager came to their table and asked RA to stop dropping the F-bomb.
   He was concerned that she was scheduled to come back to Mobile as a follow-up and he didn't think
   that was a good idea. He asked if he could cancel or postpone her follow-up trip.

   During my debriefing call, the topic of the upcoming Miami Breast Conference was brought up by her.
   Glenn had asked me to invite her. I shared with Glenn that Dennis McLoughlin had a dust-up with RA at
   a previous MBC and I did not think that her attending was a good idea. RA said, "If my husband doesn't
   fuck me hard before I come down there, you may have to." During this call she also said she wasn't
   going to the Women in Surgery dinner. "Fuck that. It's Bullshit." I mentioned I thought the dinner was
   mandatory. She then said, "I'm going to TopGolf with you." My reply was, "Gio Vendemia and I have
   already paid for our regions, plus we invited Glenn Reiser and Vaughn Schouten. It's already booked."
   RA said, "You can't stop me. I'll pay for myself." No more was said about the MBC or TopGolf.

   During a breakout exercise on TUE, RA said she had a surprise for me saying she "would give it to me in 3
   hours." At 6:30pm (3 hours later), while loading up our teams to go to TopGolf, RA walked out to our
  Uber and said, "Surprise!" My only comment was, "I guess you're going to TopGolf" and helped her into
  the SUV. After maybe 30-45 minutes at TopGolf, Isaac Smolko pulled me to the side and said, "Reshma
  thinks you're mad at her. Can you tell her you're not." I said, "No problem." I walked over to RA and
  said, "I am not mad at you. You are welcome and please feel free to eat and have whatever you want to
  drink." Her reply was, "I thought we were friends. Just because I have tits doesn't mean I have to go to
  some bullshit dinner." She added, "If you had to come back to work after two c-sections, you'd know
  how it feels." This left me a little confused as far the relevancy. So I repeated, "You are welcome to
  anything to eat or drink. Please have fun." Those were the last words I spoke to her. I can assure you, I
  did not raise my voice, I did not curse, nor was there any physical contact. I just walked away.

  I left at 9:30pm with Brian Willey, Matt Eck, and Steve Huddy. Upon arrival at the Loew's I went to bed.
  At 11:45 I received a call from Justin Sherrod telling me that RA was down in the bar "Mother-fucking
  me" and telling anybody that would listen, "I'm gonna get that Mother-fucker fired."

   I spoke to Matt Lehmann and Kristen Williams about this the next morning.

  From a personal perspective, I feel RA realized she surprised me and after realizing this (and after a few
  more drinks) projected her disappointment in herself towards me. I have seen the profanity and
  volatility from her before. I am not mad or even upset with her. There are behavioral issues that are
  beyond my abilities to assess, so I will leave it there.




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   Additional info:
   RA comments to Isaac Smolko, "I like him. We're both adults. If we want to fuck, we can."

   RA comments to Brian Willey and Seth Whaley, "Look at this Kama Sutra app on my phone. I have been
   looking at this for the last 30 minutes. You know Indians invented sex." Both said they were really
   uncomfortable with this and asked if they should contact HR and I said they should contact Rich Kahr.

   Chris Borsa informed me that Lance Noble had been approached by RA on TUE night and said, "I want
   you to fuck me with that big Midwestern cock." Lance mentioned this to me the next morning.

   Steve Huddy also asked who he should call to report RA's profanity during their field time. I said he
   could report it formally to me or he should contact Rich Kahr.




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 1   had been present at the events?                       1   happened?
 2      A. The next morning when we were at our --         2      A. No.
 3   getting ready for our breakout session was when I     3      Q. Was it unusual that Rob Rock had chosen to
 4   heard she had been there, because Rob Rock had        4   leave the national sales meeting that following
 5   left the meeting.                                     5   morning?
 6      Q. So who did you hear this from?                  6      A. Yes.
 7      A. I believe it was Isaac, but when I sat          7      Q. Did any explanation -- was any explanation
 8   down at the table that morning, everybody was kind    8   ever offered to you as to why he left?
 9   of talking about it because Rob was gone. And         9      A. No.
10   everybody was going, Why is Rob gone, you know.      10      Q. Did he at some point return back to the
11   And Isaac said something and that's when he said     11   meeting?
12   something, Well, Reshma showed up at Top Golf last   12      A. He did.
13   night and something happened between those two.      13      Q. Was any explanation offered as to why he
14      Q. And did you come to learn anything further     14   returned?
15   about what happened between Rob Rock and Reshma at   15      A. No details. They just said -- one of the
16   the Top Golf event?                                  16   managers called him and said, Rob, come back. I'm
17      A. I did, just only that they had a               17   trying to remember who our vice president was at
18   disagreement and that it was something that Reshma   18   the time. But whoever that was had called him and
19   was very unhappy about and possibly going to HR,     19   said, you know, You need to come back to the
20   is what I've been told, and that Rob left. We        20   meeting, turned him around.
21   thought Rob left the meeting.                        21      Q. Did you ever have any conversations with
22      Q. Did you observe any disagreement with          22   Rob Rock about what transpired between him and
23   Reshma and Rob Rock at the Top Golf event?           23   Reshma?
24      A. No.                                            24      A. I did, but he didn't give me details as to
25      Q. Did anybody provide you an account of what     25   what happened. He just said that we'd had a

                                             Page 28                                                   Page 29
 1   disagreement, she was very upset and was trying to    1      Q. And the interaction between you and Reshma
 2   get him in trouble. But he didn't give details as     2   that occurred, can you describe to me what
 3   to what was said.                                     3   transpired?
 4      Q. And other than that, did you ever come to       4      A. Yeah. So Brian Wiley and I were walking
 5   learn of anything further that transpired between     5   out of the room, casual conversation. And again,
 6   Rob Rock and Reshma?                                  6   at these breakout sessions, you go out and get
 7      A. No.                                             7   coffee, food, that type of thing. But as we were
 8      Q. Through the course of the 2018 national         8   congregating maybe 4, 5 feet outside the door,
 9   sales meeting, do you recall having any               9   Reshma kind of came in between us and said, you
10   interactions with Reshma?                            10   know, something along the lines of, These meetings
11      A. I do.                                          11   are so boring, this is the way I get through them,
12      Q. Do you know how many interactions you          12   and held out her phone and showed us -- like, she
13   recall having?                                       13   started scrolling on her phone and it was pictures
14      A. Just one.                                      14   of, like, Kama Sutra sexual positions.
15      Q. And when did that interaction occur?           15      Q. So just walk me through the sequence of
16      A. It was following a breakout session, so        16   events here. You're sitting in a breakout
17   the end of a breakout session while we were          17   meeting; correct?
18   walking out of the room.                             18      A. Correct.
19      Q. And which of the four days did this occur?     19      Q. And how long had that breakout meeting
20      A. I don't remember. I don't remember the         20   lasted for?
21   exact day that was. Maybe day two.                   21      A. An hour.
22      Q. Do you know if it was before or after Rob      22      Q. And you don't recall what day that
23   Rock had left the sales meeting?                     23   breakout meeting was taking place, do you?
24      A. I believe it was before. It was before,        24      A. I don't. I don't remember exactly. We
25   yeah, definitely.                                    25   had breakouts every day, lots of them.

                                                                                 8 (Pages 26 to 29)
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                                             Page 30                                                   Page 31
 1      Q. And so this doesn't stand out in your mind      1   Is it hundreds? How many, if you could?
 2   as to which breakout meeting this occurred            2      A. It's smaller than -- I would say usually
 3   following?                                            3   each breakout's somewhere 25, 30 people, maybe 20.
 4      A. No.                                             4      Q. And approximately how long do the breakout
 5      Q. Do you know who else was present at that        5   meetings last?
 6   breakout meeting aside from yourself and Brian        6      A. An hour.
 7   Wiley?                                                7      Q. And then at the close of the hour, is
 8      A. I'm 99 percent sure Matt Eck.                   8   there a break that's provided to the participants
 9      Q. And do you have a recollection of the           9   to use the rest room, grab food, something like
10   subject matter that this breakout meeting            10   that?
11   entailed?                                            11      A. Yes.
12      A. No.                                            12      Q. And approximately how long are those
13      Q. This would have been one of many across        13   breaks between each meeting?
14   the course of --                                     14      A. Usually they're 10, 15 minutes.
15      A. Yeah, I could remember sitting -- I mean,      15   Sometimes, if we're running behind, then it may be
16   I could remember lots of breakout sessions, but I    16   shortened a little bit.
17   could never tell you which one happened at what      17      Q. When you -- are there more than one
18   place and in terms of, like, what period of time     18   breakout room so that participants can go to
19   of the meeting it happened. We have lots of          19   different breakout meetings during the course of
20   breakouts.                                           20   the day?
21      Q. And these breakout meetings, do they take      21      A. Yes. It's according to your schedule.
22   place in conference rooms or ballrooms at a hotel?   22      Q. And as you exit out of these breakout
23      A. Yes.                                           23   rooms, is there a central, like, congregating
24      Q. And how many people are generally in each      24   corridor or meeting area where there's coffee
25   of these breakout rooms? Is it, you know, dozens?    25   stations set up and the like?

                                             Page 32                                                   Page 33
 1      A. Yeah, multiple.                                 1   started. So Brian and I are walking out kind of
 2      Q. And so, now, while you're walking with          2   side by side and then Reshma was in between us.
 3   Brian Wiley, how far, in terms of distance, is it     3   And she said, This is how I get through these
 4   from the exit of the breakout room to that central    4   meetings. So she was trying to be funny.
 5   corridor area?                                        5      Q. And how far apart were you and Brian
 6      A. It was -- we were 5 or 10 feet outside of       6   standing when this occurred?
 7   the room, so probably another 5 or 10 or 15 feet      7      A. We were pretty close, like, I mean, you
 8   away from a coffee -- you know, a coffee setup.       8   know, a foot and a half. She didn't have to push
 9   So we weren't in the mob but we were just right       9   us out of the way to get between us.
10   outside the door.                                    10      Q. And when she got between you, did she --
11      Q. And so before Reshma had made -- shown you     11   did she reach her arm out? Did she physically
12   what you described to me just earlier, had you had   12   step between you? Or what -- how did she get
13   any conversations with her during the course of      13   between you, as you described it?
14   the national sales meeting, Hello, nice to see       14      A. She -- I mean, she just slowly kind of
15   you, or anything of that nature?                     15   came between us and then stuck her hand out with
16      A. I can't remember.                              16   her phone. And it was -- but it was low. She
17      Q. Before Reshma had shown to me (sic), you       17   wasn't holding it high or anything. It was low
18   know, what you described earlier -- showed it to     18   and she said, This is how I get through this, and
19   you on her phone, do you have any recollection of    19   she kind of directed Brian and my eyes down to
20   any conversation with her at all from that           20   what she showed us.
21   national sales meeting?                              21      Q. So do you know what kind of phone she had?
22      A. I do not.                                      22      A. I do not.
23      Q. And so what was the context by which she       23      Q. Was it a smartphone of some sort?
24   started the conversation with you and Brian?         24      A. Yes.
25      A. So, she just kind of split Brian and I and     25      Q. And when she held this phone out between

                                                                                 9 (Pages 30 to 33)
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                                             Page 34                                                   Page 35
 1   you, what did you observe on the screen?              1   it was first put in front of you, right, was she
 2      A. Kama Sutra, typical Kama Sutra pictures         2   -- it stagnant or was it moving when it was first
 3   where it's drawings of men and women in certain       3   put in front of you?
 4   positions, different sexual positions, and they're    4      A. It was stagnant.
 5   typically atypical.                                   5      Q. And so that first screen that you saw in
 6      Q. Before February of 2018, had you had any        6   that moment, what did you see?
 7   experience or exposure with the Kama Sutra?           7      A. I just saw a sexual position, a little --
 8      A. Yes.                                            8   a drawing of a man and a woman in a certain sexual
 9      Q. In what nature?                                 9   position.
10      A. I've seen it in books before. I mean, do       10      Q. And would you describe these drawings as
11   you guys remember the movie "Scrooged" with Bill     11   cartoon drawings? Images? How would you describe
12   Murray? I mean, you know the book that he gets       12   them? Were these anatomically accurate, like
13   his girlfriend?                                      13   figurines?
14      Q. So you knew it from pop culture                14           MR. PANZINI: Object to the form.
15   references?                                          15      A. More like figurines. Like, they resemble
16      A. Yes, yes.                                      16   -- I think of Kama Sutra drawings as the same
17      Q. And when you saw what was shown to you on      17   almost every time I've seen them. So the original
18   the phone, did you immediately recognize what was    18   books, as you see like when I referred to
19   shown to you?                                        19   "Scrooged," there's drawings and you know it's a
20      A. Yes.                                           20   man and a woman and they're put in sexual
21      Q. Can you describe to me what you saw on the     21   positions.
22   phone?                                               22      Q. (By Mr. Stewart) Do you remember, were
23      A. I saw -- well, she scrolled -- there was       23   there any colors applied to these figurines? Were
24   multiple positions, so --                            24   they skin tone? Were they a different color?
25      Q. Well, let's take it in steps, then. When       25   Something else?

                                             Page 36                                                   Page 37
 1      A. I don't remember.                               1      A. Yes.
 2      Q. And for -- you then said at some point          2      Q. And in addition to showing you what was on
 3   Reshma began to scroll through the phone; correct?    3   the screen of her phone, did Reshma offer any
 4      A. Yes, correct.                                   4   commentary?
 5      Q. For approximately how long did she scroll       5      A. She did, yes. She said, My people
 6   through the phone?                                    6   invented this.
 7      A. I mean, ten seconds.                            7      Q. Did she say anything else beyond that?
 8      Q. And in the ten seconds that she was             8      A. No.
 9   scrolling through the phone, how many figurines       9      Q. Did you say anything to her in response?
10   were you able to observe?                            10      A. No.
11      A. I probably saw eight or -- I -- eight or       11      Q. After that 20-to-30-second interaction,
12   ten in that time. It doesn't take long to scroll.    12   did you continue to walk in the same direction as
13      Q. So it was moving somewhat quickly when it      13   her? Did you walk in different directions? Or
14   scrolled through?                                    14   what happened next?
15      A. Yeah.                                          15      A. We walked in different directions.
16      Q. And it was apparent to you through that        16      Q. At that time, did you make any commentary
17   viewing point that you were observing Kama Sutra     17   to Reshma that -- to reflect the fact that you
18   imaging?                                             18   thought this was somewhat inappropriate?
19      A. Yes.                                           19      A. No.
20      Q. How long did the entire interaction            20      Q. At the time, did you think it was
21   between Reshma and yourself and Brian last for?      21   inappropriate that Reshma had showed you this
22      A. I'd say 30 seconds, 20. It could have          22   material?
23   been 25 seconds, 20 seconds.                         23      A. Yes.
24      Q. Fair to say somewhere between 20 and           24      Q. And why did you feel that way?
25   30 seconds?                                          25      A. It was a -- it's a business setting. It's

                                                                               10 (Pages 34 to 37)
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                                             Page 38                                                   Page 39
 1   -- and also, Reshma -- I would think it was           1   Wiley.
 2   inappropriate if any female or male showed me that    2      Q. You and --
 3   in a business setting when a manager could be         3      A. Yeah, me and Brian were the ones that were
 4   standing behind us or -- it's just a very             4   standing there.
 5   inappropriate time to show stuff like that.           5      Q. Are you aware --
 6      Q. And, now, was -- what was shown to you,         6      A. So either -- Matt Eck might have been, and
 7   was it a website, was it an application, or           7   again -- and I don't remember exactly -- I just
 8   something else?                                       8   know that Brian and I were right -- were right
 9      A. I don't know.                                   9   next to her. She was showing us. We were
10      Q. And other than that single 20-to-30-second     10   standing -- you know, when she came in between us,
11   interaction with Reshma at the 2018 national sales   11   we were three people.
12   meeting, did you have any other interactions with    12      Q. And so the question is, other than you and
13   her during that four-day period at the national      13   Brian, are you aware of Reshma showing this to any
14   sales meeting?                                       14   other individuals at the national sales meeting?
15      A. No.                                            15      A. No. No.
16      Q. And other than what you described to me at     16      Q. And did you discuss this incident that
17   the 2017 POA summer meeting, did you have any        17   you've described here today with any Pacira
18   other interaction with Reshma besides those two      18   employees?
19   occasions?                                           19      A. I did.
20      A. I mean, besides just, like, seeing her         20      Q. And who among the Pacira employees did you
21   passing, no.                                         21   discuss this with?
22      Q. Are you aware of Reshma showing this Kama      22      A. Steve Huddy, Isaac, Justin, who's now the
23   Sutra material to any other individuals aside from   23   -- I can't remember his name -- Rob -
24   yourself?                                            24      Q. Justin Sherrod, is that who you're
25      A. And Brian Wiley? It was me and Brian           25   referring to?

                                             Page 40                                                   Page 41
 1      A. Justin Sherrod, yes.                            1       A. Nicole Adams.
 2      Q. I didn't mean to cut you off. You said          2       Q. And who is Nicole Adams? What's her
 3   Rob, meaning Rob Rock?                                3   title?
 4      A. Rob Rock, yes.                                  4       A. I don't know what her title is now. She
 5      Q. Other than those four individuals, did you      5   was an account manager but has moved into
 6   share this occurrence with any other Pacira           6   different roles.
 7   employees?                                            7       Q. And other than Nicole, anybody else?
 8      A. After the fact.                                 8       A. I don't remember.
 9         MR. PANZINI: I'm sorry. I was just going        9       Q. Did you ever go to the human resource
10   to say after the meeting or ever?                    10   department and make a complaint concerning Reshma
11      Q. (By Mr. Stewart) So I can break it up in       11   showing you Kama Sutra materials at the 2018
12   a temporal time basis here. Focusing just while      12   national sales meeting?
13   at the meeting, other than describing the            13       A. I did, yes.
14   occurrence to Steve Huddy, Isaac Smolko, Justin      14       Q. And to do that, did you have to describe
15   Sherrod, and Rob Rock, did you talk about this       15   the incident to a Pacira employee?
16   Kama Sutra material that Reshma showed you to        16       A. To Rich Kahr, yes.
17   anyone else during the time while you were at the    17       Q. And was that a -- Withdraw.
18   national sales meeting?                              18          When you described the occurrence to Rich
19      A. Not that I can remember, no.                   19   Kahr, did you contact him or did he contact you,
20      Q. And then the question -- same question but     20   or was it somebody else?
21   with respect to any period of time after the         21       A. I contacted him.
22   national sales meeting, did you discuss it with      22       Q. And when did you contact Rich Kahr?
23   any Pacira employees?                                23       A. I can't remember the exact day, but it was
24      A. Yes.                                           24   shortly after the meeting I sent him an email to
25      Q. Who?                                           25   schedule a call.


                                                                               11 (Pages 38 to 41)
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                                             Page 42                                                   Page 43
 1      Q. And would that email have come from your        1   call last?
 2   Pacira email account?                                 2      A. Five minutes.
 3      A. It did.                                         3      Q. And in the course of that five minutes,
 4      Q. And did it go to Rich Kahr's Pacira email       4   what, if anything, did you say to Mr. Kahr?
 5   account?                                              5      A. I just told him exactly what I saw happen
 6      A. It did.                                         6   at the national sales meeting, so what Reshma
 7      Q. And would that have been sent during the        7   showed me and -- and, I mean, I just described it
 8   month of February 2018?                               8   as it happened, as I've told you.
 9      A. Yes.                                            9      Q. Did you convey to Mr. Kahr that this
10      Q. And can you say, was it within a certain       10   occurrence in any way made you feel unsafe or
11   period of time after the national sales meeting?     11   uncomfortable?
12      A. It was probably within four days,              12      A. Yes.
13   five days.                                           13      Q. And what specifically did you tell Mr.
14      Q. If you were to perform a search of your        14   Kahr?
15   emails, would you be able to locate that email       15      A. Just that it was offensive.
16   within your "Sent" mailbox?                          16      Q. In what way?
17      A. Yes.                                           17      A. It was sexually inappropriate in the
18      Q. So I'll follow up with counsel, but I will     18   workplace and was -- made me uncomfortable and it
19   ask that you provide a copy of that email            19   was offensive.
20   following the close of this deposition.              20      Q. And that was conveyed to Mr. Kahr that you
21      A. Okay.                                          21   found that this was offensive material and it made
22      Q. And after you emailed Rich Kahr, did a         22   you feel uncomfortable?
23   telephone conversation transpire?                    23      A. Correct.
24      A. It did.                                        24      Q. What, if anything, did Mr. Kahr do to
25      Q. And approximately how long did that phone      25   address the complaint that you made?

                                             Page 44                                                   Page 45
 1      A. I do not know what Rich Kahr did with that      1   not there to witness anything that happened.
 2   information.                                          2      Q. Do you know if Brian Wiley made any
 3      Q. Were you ever contacted in any form to          3   complaints to HR concerning the material that
 4   follow up regarding your report?                      4   Reshma showed you?
 5      A. I was contacted afterwards. There was           5      A. I do not.
 6   several people who were contacted about whether or    6      Q. Did you have any conversation with Brian
 7   not they were present when Reshma and Rob had a       7   Wiley about what had transpired?
 8   disagreement at Top Golf. And I do not remember       8      A. I don't remember if I did.
 9   who contacted me from HR. Could have been Rich        9      Q. Did you have -- you told us earlier that
10   Kahr, could have been somebody else. I don't         10   you had conversations with Steve Huddy about what
11   remember.                                            11   had transpired. What, if anything, did you tell
12      Q. So were you contacted by HR -- are you         12   Steve?
13   saying you were contacted by HR to inquire as to     13      A. Exactly the same thing I told you, that
14   whether or not you observed anything at Top Golf?    14   she showed us Kama Sutra poses.
15      A. Yes.                                           15      Q. And what, if anything, did he say in
16      Q. And was that before or after you had made      16   response?
17   your complaint to Rich Kahr about the content that   17      A. I don't remember.
18   Reshma showed you?                                   18      Q. And what -- and the same question as with
19      A. It was after.                                  19   respect to Isaac. When you told him that she had
20      Q. And to your recollection, when you were        20   showed you this material, did he have any response
21   contacted about the Top Golf event, what, if         21   that you recall?
22   anything, did you tell the HR representative?        22      A. Yeah. He told me something -- a story
23      A. That I was not -- I didn't know about what     23   about something that Reshma had said to him that
24   happened between Rob and Reshma until the next       24   was inappropriate.
25   morning, so no, I had no -- I was not there, I was   25      Q. What was that story?

                                                                               12 (Pages 42 to 45)
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         EXHIBIT 21
   **Exhibit 21 is a Recording. This will be
   provided to the Court via USB**
